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                                     CAUSE NO.
                                                        12764
      THE     STATE   OF   TEXAS
                                                         IN    THE
      VS.                                                                 DISTRICT
                                                                                     COURT   OF
                                                        TITUS
      BILLY    JOE                                                   COUNTY      TEXAS
                      WARDLOW
                                                        76TH
                                                                    JUDICIAL
                                                                                 DISTRICT



                                STATEMENT           OF FACTS
               JURY    PANEL
                                QUALIFICATIONS
                                                          AND
                                                                     EXEMPTIONS
                                   October
                                                   61994
                            VOLUME    6   of       43
                                                        volumes




                                                                                                  _..
                                                   FILED      IN
                                       COURT OFCPThAýýý
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                                                                     Clerk
                                               OCT
                                                              1995


                                               c                                                   5.

                                      Troy
                                                   Bennett    Jr.
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                  21                                                                          FILED        IN
                                                                                      COURT   OF CRIMIN4    APPEALS

                  22

                                                                                              OCT 111995
                  23

                                                                                      Troy C. Bennett       Jr.   Cierk

..                 24



                   25




                                              LLOYD    E.    BILLUPS.    CSR.        149
                                                 omcaicoURr             R9   OR161


                                                      76TH   ND   cM. CIMICT

                                                       Mr.   RLALW.TDCAS
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      1
                                                    VOLUME                     6



    .                    JURY    PANEL    QUALIFICATIONS                               AND   EXEMPTIONS

     3        OCTOBER      6    1994                                                                PAGE/VOLUME

     4        APPEARANCES                                                                                   1/6


     5        MORNING      SESSION                                                                          3/6


     6        POTENTIAL        JURORS    SWORN                                                              4/6


      7       1ST   JURY    PANEL      GROUP   QUALIFIED                                                    4/6


     8        POTENTIAL        JURORS    SWORN                                                             32/6


     9        2ND   JURY    PANEL      GROUP   QUALIFIED                                                   32/6


     10       SECOND     GROUP    SEATED                                                                  111/6


     11       COURT    ADJOURNED                                                                          151/6


     12       COURT     REPORTERS        CERTIFICATE                                                      152/6


     13




     14




     15




     16




     17




     18




     19




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     21




     22



     23



     24




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                                                 LLOYD    E.    BILLUPS      CSR 149
                                                    OFHQAL COURT            REPORTDT

                                                         76TH   LAIc14      amrCT
                                                         MT.    PLEASANT.    TDAS
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      1
                                           CAUSE NO.                        12764

     2        THE   STATE   OF TEXAS                                          IN       THE    DISTRICT    COURT    OF


      3       VS.                                                             TITUS          COUNTY     TEXAS

      4       BILLY   JOE   WARDLOW                                           76TH          JUDICIAL    DISTRICT

      5




      6                                   STATEMENT                   OF            FACTS

      7                JURY    PANEL      QUALIFICATIONS                               AND    EXEMPTIONS

      8                                     October                  6           1994


      9                               VOLUME         6     of          43           volumes

     10




     11                       Before Honorable                       Gary              R.    Stephens

     12                           Judge    by    Judicial                        Assignment

     13                Venue       changed       from Morris                            County        Texas

     14




     15                                         APPEARANCES

     16




     17       ATTORNEYS     FOR    THE    STATE       OF          TEXAS

     18                     MR.    RICHARD       TOWNSEND
                            District Attorney
     19                     Morris County Texas
                            Morris County Courthouse
     20                     Daingerfield              Texas                   75638


     21                                  and


     22                     MR. RANDY          LEE
                            Assistant          District                     Attorney
     23                     Cass    County Texas
                            P.O.    Box 940
     24                     Linden        Texas          75563


     25




                                                LLOYD    E.    BILLUPS        CSR 149
                                                     OFRCtAL COURT          REPORTER

                                                      76TH     AAICIAL      pSTRICT

                                                         MT.   PIF.ASAHT.    TDWS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 5 of 156 PageID #: 1608

         1
             ATTORNEYS   FOR    THE    DEFENDANT

      2                  MR.    BIRD    OLD      III
                         Old Rolston              Old
      3                  P.O.    Box    448
                         Mt.    PleasantTexas                           75456-0448
      4

                                      and
      5

                         MR.    LANCE
                                    HINSON
      6                  Law Offices of Danny                               Woodson
                         P.O.    Box    399
      7                  Mt.    Pleasant         Texas                  75456-0399


      8




      9



     10




     11




     12




     13




     14




     15




     16




     17




     18




     19




     20



    21




    22



    23



     24



     25




                                                                                      2
                                              LLOYD    E.    BILLUPS.   CSR f149
                                                 oRHc          COURF    MUM
                                                      76TH   LDICUI     D    CT

                                                      W.     REALWr.    T7fA$
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 6 of 156 PageID #: 1609                                                          V   .




      1
                                               On     the     6th             day         of       October          1994         the

      2      above-entitled                   and     numbered                cause                came       on    for        trial

      3      before      said       Honorable            Court                Judge            Gary        R.      Stephens           of


      4      Midlothian             Texas           serving         by        judicial assignment                          in the


      5      District Court of Titus                        County                Texas                 on change        of venue


      6      from Morris            County            Texas        and            the      following proceedings


      7      were    had

      8



      9                                         The following occurred                                     in the presence



     10
             of    the   potential              jury     panel

     11




     12
                                                                        THE         COURT                 Counsel         may         be


             seated.
     13




     14
                                               We have        summoned a number of people                                       down


     15
             here       for    jury       service             we        need         all           of     you      in    the     room


     16
             when    I   start and             obviously           we         cant             get       everybody        in this



     17
             room since          we       have      as   many            of       you          in       the   hallway          as     we


             do    in    this    room.
     18




     19
                                                I   am Gary Stephens                                I    am a Judge            out    of


             Ellis       County          up    close     to        Dallas.                     I    have        been     assigned
     20



     21
             the    case       that       arose        over         in        Morris               County          and    it     is    a


     22      capital          murder          case.


                                                What     we    are going                       to do this           morning is
     23


             discuss          with       prospective                jurors                the           principles         of        law
     24


              involved         in    a    capital           murder case.                            I    will      explain           how
     25




                                                         LLOYD     E.   BILLUPS    CSR.   149
                                                              oRICKL CoURr Gý0iiI8t

                                                               76TH     AEO   I      cr
                                                                 Mr.    RFASANI. TDA1
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 7 of 156 PageID #: 1610

             the            selection           starts               and           then                   will
      1

                    jury                                                                        we                          start      jury

      2
             selection       next      week.


      3
                                           Before we do                          so        as    I    said              I    must have

     .
             everybody       in      the       courtroom                     and      I     cant               do       it        without

      5
             getting      rid     of    some    of     you.

      6
                                           Now       when            I       say          getting                  rid       of    you.     I



      7      dont mean          to     sound    like        I        dont want                        some          of       you    but     I.


      8      know    theres            going      to       be                several                 of       you           that       have


      9      exemptions         or disqualifications                               so what                I   want to do with


     10      the    group    in      the   room right                    now         is     briefly go                       over      your


     11      qualifications               in    order           to            be       jurors.                      I       will       then


     12
             discuss      your       exemptions          and             any         of     you           that          believe         you

     13      are    exempt      or     disqualified                      I       will       talk              to    individually

     14      then    I   will     do    the     same     with                the          next        group.


     15                                     Hopefully                we will               then narrow this group


     16      down to where           we    can get all                   of you             in the courtroom                           then


     17      I    will     start       into      my     normal                     voir          dire              which          is    the


     18      explanation          of    the     law    and           the           procedures.


     19                                     Now       none            of          you       are           under             oath     right.



     20      now    so what      I   want      you    to      do             I     know we            dont have                     a list


     21      of    everybody         in the     room yet but                          I    want           everybody                 in the


     22      room to        raise      your      right               hand           to      take              your           oath      as    a


     23      prospective          juror.


     24



     25                                     Potential                        jurors             sworn.



                                                                                                                                             4
                                                      LLOYD     E.   BILLUPS      CSR 149
                                                           amW counr             aýoarat

                                                            761H.VICUILDWRCT

                                                              a. nFAwa.          MM
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 8 of 156 PageID #: 1611                                                                    1




                                                                          THE       COURT               You may lower your

      2      hands.       Now        each      of     you are sworn                           in and every statement


      3      that    you make            to    us will           be       under oath.                        All    right.                 Let

      4      me     get        my     notes           out           and             we         will          go         over           your

      5      qualifications.


      6                                        Im          going               to        introduce                 all           of        the


      7      parties       after we             narrow           the           group              down       so    if        you       will


      8
             just    bear       with       me        we     cant               figure              a    quicker          way          to    do


             it    than    we    are       doing          it.
      9


                                               All        right.               In      order to be                  a    juror             you
     10



             must be at             least       18    years           of       age            you          just    be    a       citizen
     11




             of    this        state      and        of     Titus              County.                     You    also           must       be
     12



             qualified          under          the        Constitution                            and      laws     to        vote          in
     13



     14
             Titus      County.               You    dont           have            to        be       registered to                   vote

             but    you    have       to      be     eligible to vote.
     15



                                               You        also         have           to          be    of       sound       mind          and
     16



     17
             good moral character                         you must be able to read and write.

             You    also must not                   have        served              as        a    juror          for    a       six       day
     18



             period        during          the       preceding                  three              months          in        a       county.
     19



             court        or    during          the        preceding                     six           months       in       district
     20


             court.
     21



                                                A     county              court               is       a   court         where             you
     22


             would      have        served         with         five       other people                          you would             have
     23


             had    a     jury      of     six       people                a    district                   court        is       a    court
     24


             where      you     would          have       served               with           11       other people                  with        a
     25




                                                                                                                                                 5
                                                            LLOYD    E.   BILLUPS    CSR. f149
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     1      total    of        12       people        on        the          jury.


     2                                          So        if        you         have             been         a    juror       in      a   case


     3      in the past             six months                  and          there were                      11   other jurors you


     4      may     not    be           qualified                   if        you              have      served           in       the     last



     5
            three     months              with            five           other                  people            you        may       not      be


            qualified so you                    need to                  talk             to       us    if       you    have          been     on
     6



      7     jury service.                  I    dont mean being brought down here and

            being     dismissed                  I        mean           actually                      sitting          on    a    jury       and
     8



      9
            hearing        a    case.


                                                If         you           have             ever          been        convicted              of    a
     10



             felony       or if          you are currently under                                             indictment             or other
     11




             legal    accusation                 of        a        felony               or       theft           whether          a     felony
     12



             or    misdemeanor                 then            you        also                 will         not     be       eligible           to
     13



             serve    on       the       jury.
     14




     15
                                                 So        if       any of               you have                 ever       had    a felony


             conviction             whether               you       spent              time in               jail    or whether               you
     16


             were    on    probation we                        need           to         talk          to     you.
     17



                                                 If             anyone                    has           ever            had        a       theft
     18



             conviction             we     need           to        talk            to     you.
     19



                                                 And theft would also include                                                  in the past
     20


             few                         hot    check                if         you            have         had a        hot       check        and
                    years           a
     21



             that    check              results           in a           case            being           filed           you       had to go
     22


             to    court       on        that    case               you may                    not      be    qualified.
     23


                                                 So            if        you           think            that         applies             to     you
     24


             lets talk                  about        it     and          find            out           whether          or    not      you      are
     25




                                                                                                                                                     6
                                                                    LLOYD      E.   BILLUPS.    CSR 149
                                                                         o           COUM Boater
                                                                             76TH   AMAL       0Wicr
                                                                              W.    REASAM.IDKS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 10 of 156 PageID #: 1613                                                                     f   J




             qualified.
      1




      2                                          Also             if             you                 are         currently              under

      3      indictment             awaiting a trial                             on          some           felony        charge        or    if


      4      you    are    waiting              trial        on        some            kind               of    misdemeanor theft


      5      charge       you would             not         be    qualified                          and       we    need to discuss


      6      it.


      7                                          Now         those                   are             the       qualifications                you


      8      must        possess        in        order            to           be           a        juror           those       are        the


      g      disqualifications                          I    guess               I    should                say that         might keep


     10      you        from being          a    juror but                      you          also have                exemptions.


     11
                                                 An exemption                          is            something            you     may    take



     12
             on     a    case    to    case           basis.                    It         does            not       disqualify          you

     13
             its         just   a    right that                  you have                        to       be    excused         from     jury


     14      service.


     15
                                                 If     you are                  over                65    years of age            you may


     16
             claim your exemption                           for the case                             and be dismissed.                   That


     17
             doesnt         mean that you will                             be removed                          from the jury pool


     18      you will           be   brought            back           in         when               needed          on   other cases.


     19
                                                 If     you        have               legal               custody         of a    child       or


     20      children           younger           than           10      years                   of       age       and your       service


             on     the      jury       would               require                   you             to        leave       that        child
     21




     22      unattended              then       you         may        takenan                        exemption             but    if    its

             a     two parent         home and               one       parent normally picks                                     the child
     23



             up     and    if    the       other            parents                    service                  on    the    jury would
     24



     25       not       impede       the        ability            to pick                           up     your      child       then       you



                                                                                                                                                   7
                                                                 LLOYD     E.   BILLUPS.     CSR.     149
                                                                       OR1cMl     COLN ýcm
                                                                         76TH   JES   A CWR
                                                                          W.    RSAW       R.IEXAS
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      1
             really       dont          have        an        exemption.                       The        exemption              is     to

      2
             protect         your children.

      3
                                               So        if       your                  service            would            actually

      4      require         you       to   neglect            your child                      or        children          we     dont

      5      want       you       on    the         jury        and               we        want     you        to        take        this

      6      exemption.


      7                                        If     you         are              a    student            in     a       public        or

      8      private          school           college                       junior           college                if     you        are

      g      actually          attending            school              you            may take           your       exemption.

     10                                        If    you are                  an officer                 or employee of the


             legislative               branch       of        state               government              then        you        have    a


     12      right      to     an    exemption            and         if          you are          a primary caretaker


     13      of    an    individual                 regardless                         of    that        persons            age        but


     14      again        like         on   the      child                   if    you        have        somebody           else       in


             your       home      that      takes         care                of       this        individual              then
     15                                                                                                                                you

     16      might       not        have      an     exemption                         but    if         you    are        the        sole


     17      caretaker            or    primary caretaker                               and        your        service           on    the


     18      jury would             cause      you       to      leave                 an Invalid              unattended              you

     19      then       have      an    exemption               that               we       would        encourage               you    to


     20      take.


     21                                        Now             each                of         you         have         heard           the


     22      exemptions              each     of you have                      heard the disqualifications.


     23
             You    have       not      heard        anything                     about        work              I     cannot          let


     24      you    off      of     this      jury for            work                 reasons.


     25                                        I     anticipate                         that        it     will           take    us     a




                                                                                                                                         .
                                                              LLOYDE. BILLUPS. CSR 149
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                                                                      76TH   LCICUL DARICT
                                                                      W.     REASMII.TDW
     Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 12 of 156 PageID #: 1615                                                                      1
                                                                                                                                                                 1




                  month                     six weeks                                                                During that                time
           1

                               maybe                                  to pick                 a    jury.

           2
                  period        none        of    you         will             have             to        be        down       here        at      the

           3
                  courthouse           from day              to       day.

           4
                                                      You     will             be        here             most of              this      morning

            5     then you will              be brought                 back             for         individual                    questioning

            6
                  on    one    day     that       you will              probably                         be    required to               be     down

            7     here    another           half        day.


           8                                           If     you          are          selected                    for    the          jury       you

            9     will        then     be        sent         home              and               told          that           you      will          be

Mj         10     contacted          and         told to              come           back           when            the    trial         starts.


           11
                  If     you    are        not        selected                 then                 of        course           you      will          be


           12     released.            If        you        are       selected                    you         are        not       going      to      be


           13     required to stay down                           here though                                 while we             are picking


           14     the    rest of the              jury.               You can             go about                  your own            business


           15     until        the   trial         starts              then            you          will            be    required            to      be


           16     here.


           17                                          And        I    anticipate                             that       the       trial        will


           18     last    approximately two                            weeks             so we                will       need whoever-is


           19     on    the     jury to          be     able          to       give           us         about       a two          week        space


           20     of    their time probably                             in November                            of    this          year.


           21                                          Okay.             Now              I       want          to       excuse         everyone


           22     to     the    hallway           --        well           I      dont know                          how       I    want      to      do


           23     this         we    are     going           to       have            you          --         how    many          people        have


           24      an   exemption           or disqualification                                           raise your                 hand

           25                                          Okay.             Thats                    not         as     many          of   you      as    I




                                                                                                                                                         9
                                                                       LLOYD    E.    BILWPS.     CSR.    149
                                                                           OFF        ucouarrýaarer

                                                                               76tH   JAICUl000a
                                                                               W.     RFASAw.     TOMS
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             thought       we    might       have.
      1




      2
                                             Ill      tell        you             what           Ill        tell     you       what

      3
             we   will     do        if    the     ones      out           there               that     are     not       in    the


      4      room can      remain quiet               like      you have we will                             just go ahead


      5      and bring          forward          everybody              that                  believes        they    have       an


      6      exemption          or     disqualification                           starting              with       the     first


      7      row.


      8                                      Sheriff           you           just --              I    will    leave       it    up


      9      to   you     to    bring       them up        one         at         a       time.


     10                                      What     is     his           name

     11                                                           A        VOICE                  His       name     is    Jaime


     12      Yepez        hes exempt because                    sometimes we                          dont have anyone

     13      to   keep     our       kids    and      also       he          cannot              read       or write           that


     14      much    of    English.


     15                                                              THE              COURT             Does       the     State


     16      have    any       objection         to   him claiming the objection


     17                                                              MR.          TOWNSEND                  None.


     18                                                              MR.          OLD            No.


     19                                                              THE              COURT             Do     you        have     a



     20      juror      number            ma.am

     21                                                              MR.              OLD         270.

     22                                                              THECOURT                          Juror       270.


     23                                      Excuse        me         just a                  minute.         Okay maam

     24
             if   you     will    just       hand     that            to      him you                 are    free    to    go.


     25                                      Okay.         We         have              a     hearing       problem            what




                                                                                                                                 10
                                                       LLOYD    E.    BILLUPS.        CSR 149
                                                             cRiCYLL COLWF fl0ow

                                                               76TH   aD   DPJ.   D   MNa
                                                                W.    RbISAM.         T7CAS
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             is            name
      I

                   your

                                                                                          POTENTIAL                 JUROR
      2
                                                                  THE

      3
             Ottinger            O    T    T   I   N    G E   R.
      4
                                                                  THE          COURT              Do    you    have your

      5
             jury     summons

      6                                                           MR.          OLD              257.

       7                                                          THE          COURT              257.             And      your

      8      problem

       9                                                          THE          POTENTIAL               JUROR            I   have


      10     a    hearing    problem.


      11                                                          THE          COURT              All    right.


      12                                                           THE            POTENTIAL             JUROR.              I   am


      13     also on medication.


      14                                                           THE             COURT               What        is       your

      15     medication          for

      16                                                           THE            POTENTIAL            JUROR            Fluid

      17     I     collect      fluid.


      18                                                           THE            COURT           Does        it    require


      19     you      to   go    to       the      bathroom                often                 Are     you       under         a


      20     doctors         care     at       this     time

      21                                                           THE             POTENTIAL            JUROR               Yes

      22      sir.


      23                                                           THE            COURT          Would you be able


      24      to     sit   for   an       hour     to    an   hour             and          a   half    without             going


      25      to    the    restroom



                                                         LLOYD   E.    B1LLUPS.    CSR 149                                      11
                                                              CIMLco              RBOQt81

                                                               76TH    JAIQL   D19WCT

                                                                 Mf.   REASW.1O      AE
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                                                                      THE      POTENTIAL JUROR                           No    sir.
       1




      2      Not     when    I    take   my medication.

       3
                                            I   didnt         take          it         this       morning           Im        going

     .       to     have    to    take   it     when     I     get          back.


       5
                                                                      THE        COURT              Were           you    on    the

       6     first     row        sir

       7                                                              THE        POTENTIAL                JUROR                Yes.

      8      sir.


       9                                                              THE      COURT              Could you hear                me.

     10                                                               THE        POTENTIAL                JUROR                Yes

     11
             sir.      I    could    hear       you      I     --        some.


      12                                                              THE       COURT              You could             see    me

      13     you     couldnt        hear

     14                                                              THE       POTENTIAL JUROR                       Not real


      15     good.


      16                                                             THE          COURT                  Mr.        Old         Mr.


      17
             Townsend


      18                                                             MR.         TOWNSEND                      I     have        no


      19     objection           Your Honor.


     20                                                           MR.          OLD            I   have    no objection.


     21                                                              THE       COURT               Sir we           are going


     22      to    excuse        you you        are    free            to       go.


     23
                                          Thank       you         for coming                      down.        I    will       keep


      24     your     jury       summons.


      25




                                                       LLOYD    E.    BILLUPS    CSR.   149                                      12
                                                             ommC1ALCouR       RBOR1

                                                              76TH    ACecuu o     cr

                                                               art.   PIEAW.    rows
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      1

                                                 A     discussion                     at         the   bench        out           of   the


      2      hearing       of     the       jury      panel.

      3



      4
                                                                       MR.            OLD              Judge            I    think      at


      5      all    stagesif               the    decision              has           to      be      made        the       State      has


      6      to    make    the       first        decision.


      7                                                                 THE          COURT              But       once they say.

      8      they     have       no     objection                and         you         have          an    objection                 its

       g     going     to       be     bother              you    to          tell               me    that        you        have       an


      10     objection          in     front          of    the      citizen


      11                                                                MR.           OLD              If     I    try        to       keep


      12
             them     on   the       jury        it    is.



      13                                                                THE          COURT             Why        dont you             just


      14
             tell     me        if    you        say       you     dont                 have           an    objection                  you


      15
             dont think               hes exempt                  you           just             say        Judge             Im        not


      16
              sure    that           hes     exempt                that               lets            me    know            you    dont

      17     agree.


      18




      19                                         The following occurred                                      in the presence


      20      and hearing             of    the       potential                jury              panel

      21




      22                                                                    THE        COURT                Okay.            Sheriff

      23      next.


      24                                         Sir        let    me         have            your jury certificate


      25      please.




                                                             LLOYD     E.   BILLUPS    CSR 149                                           13
                                                                  orRcIA     cauar    aaBaarae

                                                                     761H J.EICanL    oaOCT
                                                                     MT.    REASAM.    mans
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       1
                                          This       is   number 16                         Bobby Brown.


                                          Yes        sir
      2
                                                                 Mr.           Brown.


                                                                                                      JUROR
       3
                                                                 THE             POTENTIAL                                All

       4
             right.         My    wife      works           for            Jimmy            White        and    I     have

       5     discussed       this    case       with      him.


       6                                                         THE             COURT                Sir      this        is


       7     normally something             that      has to be discussed when                                 we bring

       8     you    down    for    the    individual                  questioning.

       9                                                             THE       POTENTIAL           JUROR            Yes.


      10                                                             THE       COURT             Just because             you

      11     know    or think      you    know       about             the case             doesnt disqualify

      12     you    and thats        why we          have            individual              questioning.


      13                                  All    I    can       excuse                you   for today would                be


      14     your     exemption      or    disqualifications                                so   we    will    have        to


      15     talk to       you    about    this       problem individually.


      16                                                             THE       POTENTIAL           JUROR            Yes.


      17                                                             THE       COURT             Next.


      18                                  May    I    have            your            summons         please

     .1                                   This       is     number 125                       Charles        Taylor.

      20                                  Yes        sir             Mr.       Taylor.


      21                                                             THE         POTENTIAL            JUROR           I    am


      22     leaving       for .th       Service          in         six weeks.


      23                                                             THE     COURT           Any objection            from


      24     the    State    or    Defendant


      25                                                             MR.       TOWNSEND               None.



                                                                                                                           14
                                                      LLOYD    E.    BILLUPS   CSR.   149
                                                          omic1AL     coUm   REPcm

                                                              76TH   LUCK ClSITCT
                                                               MT.   RFASAH.1D   At
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 18 of 156 PageID #: 1621

                                                         MR.            OLD             No.


      2
                                                         THE             COURT                All    right         sir.


      3      You     are   excused.     Good    luck.


      4                                How    are   you           doing             maam

      5                                                  THE            POTENTIAL              JUROR            Fine.


      6                                                  THE               COURT                    Number         230

      7      Felicia Cannon.


      8                                Yes maam.

       9
                                                          THE              POTENTIAL                JUROR              Im

      10
             under     indictment      for    theft.


                                                          THE           COURT            Are you currently
      11




             under     indictment      for    the   charge                  now     or have           you      been    to
      12



             court
      13




      14
                                                          THE              POTENTIAL            JUROR           No.


      15
                                                          THE            COURT            And       is    it    here   in



      16
              this    county

      17
                                                          THE              POTENTIAL            JUROR           Yes.


      18
                                                          THE              COURT               Does       the     State


      19
              have    any   objection


      20
                                                              MR.          TOWNSEND                 No.


      21
                                                              THE          COURT              Mr.    Old

      22                                                      MR.      OLD          I    didnt understand.

      23
                                                              THE           COURT               She        is     under


      24
              indictment       for    theft    she      has            a    pending            theft       case.


      25
                                                              MR.          OLD          No     objection.



                                                                                                                       15
                                                LLOYD    E.   BILLUPS      CSR 149
                                                     OF R C K LC Ouar       caret

                                                       761H   LuacuM    US P CT

                                                        Mr.   c   MAM.     rows
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            1
                                                                  THE           COURT         Let    me    have       this

            2
                  if    you    would.


            3
                                               You    are     excused.


            4                                  This    is     juror             A.E.      Dunn       number         144.

            5
                                               Yes     sir.           And your reason                for not being


            6     able    to    serve

            7                                                     THE         POTENTIAL JUROR                  I   am 83.

            8                                                     THE           COURT          You    are      free     to


            9     go.     You    have    a   good day.

           10                                  How    are     you        doing          sir

           11                                                     THE           POTENTIAL          JUROR           Fine.


           12                                                     THE            COURT             Billy           White

           13     juror       295.

           14                                  Yes     Mr.      White.


           15                                                     THE           POTENTIAL          JUROR           Number


           16     one      I    have     got    prostate               gland           trouble         Im          taking

           17     medication           every    hour        hour         and       a   half    I    am up       five    or


           18     six times       and number two                Im        involved            in a    lawsuit         with


           19     an    insurance       company        supposed                 to     start       depositions          in


           20     those.


           21                                                     THE           COURT         Well        be    able    to


           22     work    around        your    schedule          or       they        can     work       around       our


           23     schedule       if    you   are     selected.


           24                                  My     concern              would          be        your       medical
..

           25     problem        we will       normally go an                     hour maybe          an       hour    and




                                                        LLOYD    E.   BILLUPS   CSR 149                                 16
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                                                                MT.   REASW.    TEAS
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                 half     before                   would         break                                                               needs
      1

             a                               we                                         and           if       any     juror                       to

      2
             break       before          if       that      juror                raises                       their       hand       we       would

      3
             certainly             break          for   you.

      4                                                                    THE            POTENTIAL JUROR                                Im        not

      5
             saying       I        want        to       get.      off               I           just            want        to      be        sure

      6
             normally          I    am up           and    down            during                        the     day       I     have         to    go

       7
             about       every       hour.


      8                                                                    THE                COURT                  It     wont          bother

       9     you    to    have          to     raise       your           hand                 and            tell     me      you       need       to


      10     go

      11                                                                    THE               POTENTIAL                   JUROR           No.


      12                                                                    THE               COURT                  You       really         dont

      13     have    an    exemption                I   can       let           you            take            but    I    do. appreciate


      14
             you    telling me                about        it.


      15                                                                    THE               POTENTIAL                   JUROR           I    just


      16     wanted       to       share that             with you and the lawsuit                                             depositions


      17     are    in    November.


      18                                                                       THE             COURT                 We     are         not    even


      19     sure when             we     are       going         to       start                         if    we     get      a    jury       in    a


      20     week    we       will        be      going        in      a        week                     if    its         two      months          it


      21     will    be       December.


      22                                                                        THEPOTENTIAL                               JUROR              Thank


      23     you.


      24                                                                        THE            COURT                  This         is     number

      25      374    David          Stansell.



                                                                 LLOYD     E.   BILLUPS        CSR 149                                              17
                                                                    omcvLLcauar               RýORt6t

                                                                         76TH   1AICUL        DISTRICT

                                                                         MT.    PLEAS   NT.    rows
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      1
                                      Yes    sir.


      2
                                                            THE              POTENTIAL             JUROR             I   was

      3      arrested    for    possession of               controlled                       substance.


      4                                                     THE                COURT                What        is       the


       5     substance

       6                                                    THE              POTENTIAL            JUROR         Cocaine.


       7                                                    THE                COURT              When        were       you

       g     arrested

       g                                                     THE               POTENTIAL                JUROR            Six


      10     months ago.


      11                                                     THE             COURT               Have    you    been      to


      12     court   yet

      13                                                     THE             POTENTIAL             JUROR          No.


      14                              Mr.    Old is my lawyer.


      15                                                     MR.              OLD            I     represent             him

      16     Your    Honor.


      17                                                        THE          COURT           Well        if     hes      got


      18     a.pending     felony     Mr.    Townsend                   will            be   prosecuting              him.


      19
                                      Then    I     have            to          assume neither                  side     has


      20     any    objection    to   excusing             him

      21                                                        MR.          TOWNSEND               No    objection..


      22.                                                        THE         COURT           Yes         sir.     I      need


      23     your    summons     please.


      24                              64      Johnny                Bennett.


      25                              Mr.    Bennett.




                                                                                                                           18
                                                  LLOYD    E.    BILLUPS      CSR.     149
                                                     oRic         COON       RBKXM
                                                          761H   J..c   AL   DSIPoCT

                                                          Mr. RF.ASANf.16xn3
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 22 of 156 PageID #: 1625                                              i   t




      1
                                                                  THE          POTENTIAL               JUROR       When     I


      2      was     in Waco      I   was     picked         up        on      a     shoplifting              charge      and

      3      I    also am       schizophrenic.


      4                                                           THE          COURT              What       happened      on


      5      the     shoplifting charge

       6                                                          THE            POTENTIAL              JUROR           They

       7     took     me   to    jail       and    I   stayed            for         30     days.


      8                                                           THE          COURT              Okay.        Sounds      to


       g     me    like    you    have       a    conviction.


      10
                                             Defense         or State                     have    an       objection

      11
                                                                  MR.          TOWNSEND                 No.


      12
                                                                  MR.          OLD              No.



      13
                                                                  THE            COURT                You    are   free    to


      14     go.


      15
                                             Next

      16
                                             Thank      you            sir.


      17                                     368        Timothy                  Cheek.


      18                                     Yes       Mr.      Cheek.



      19
                                                                   THE           POTENTIAL             JUROR        I    work


      20
              late    nights            I   babysit       during                   the      day         my wife         works


      21     days.


      22
                                                                   THE COURT                      By        babysit you

      23
             mean taking          care       of    your own               child


      24
                                                                   THE           POTENTIAL             JUROR        Yes.


      25                                                           THE             COURT              So     you   wish    to




                                                                                                                           19
                                                        LLOYD     E.   BILLUPS     CSR.   149
                                                             omcw. tour
                                                                76TH   WICUL   DISTRICT

                                                                 Mr.   cEawrt.   TEXAS
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      1      claim your       exemption       for        a      child                    under      10

      2                                                         THE                POTENTIAL           JUROR           Yes.


      3                                                         THE                COURT             You     are      free    to


      4      go.


      5                                                         MR.                TOWNSEND                No    objection..


      6                                                         MR.                OLD         None.


      7                                                         THE            COURT                379      Ben Halley.


      8                                 Halley

      9                                                         THE                 POTENTIAL              JUROR         Yes




      --13
     10
             sir.    I   am     deaf    in   my       left               ear           and     if     Im        not   looking


     11
             directly      at    somebody         I     dont                       always           understand          them.



      12
             When   they   are talking            directly

                                                                THE                COURT            But if      you are not


      14     looking     direct    at    them         you       will                  not     understand              them

                                                                THE                   POTENTIAL             JUROR            Not
      15




      16
             always.


                                                                THE                COURT             Mr.    Townsend
      17




      18
                                                                MR.                TOWNSEND                No    objection


      19
             Your Honor.


      20
                                                                MR.                OLD          No.


      21
                                                                    THE             COURT             You       are   free    to


      22     go.


                                        Thank         you                sir.
      23


                                        Thank         you maam.                                297.
      24



      25
                                        Yes maam.



                                                                                                                              20
                                                      LLOYD    E.   BILLUPS          CSR 149
                                                         omc        AL   ccv   r   RBOW
                                                             76TH   AEOC.UL        DISTRICT

                                                              Mr.   0.EASANr.       TOMS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 24 of 156 PageID #: 1627                                                 J




      1
                                                                   THE             POTENTIAL             JUROR          I    am

      2
             currently       enrolled           at    East         Texas               State        University.

      3
                                                                   THE             COURT            And    you    wish       to


      4      take    your     exemption

       5                                                           THE             POTENTIAL             JUROR           Yes

       6     sir.      I   do.


       7                                                           THE             COURT            You    are    free       to


       8     go.


       g                                      Thank       you maam.

      10                                      How    are      you          doing              maam

      11
                                              253.

      12                                      Yes maam.

      13
                                                                    THE            POTENTIAL             JUROR          I     am


      14     Lesley        Sandlin        I    have       a    serious                      illness in my          family

             my younger          sister       had pneumonia                    and          has been       in intensive
      15




      16
             care     for    two    weeks           and    she           has          Down        Syndrome       and        they

              just    released          her     from          the         hospital                and     my    mom     is    77
      17




      18     years old and          is    really kind                     of       needing          some       help trying

             to     take    care   of    her.
      19




      20
                                              She     has          nurses                     you       know     come         in


              to
      21



                                                                    THECOURT                        Is this      something
      22


              that    is    going-to          be     ongoing              or will                 she    only    need       care
      23


              for    awhile
      24


                                                                        THE        POTENTIAL JUROR                 No.        At
      25




                                                                                                                              21
                                                          LLOYD    E.   BILLUPS    CSR.     149
                                                              om   cIALCOURTRBOR1

                                                               76TH.wicALDS           ICT

                                                                  MT.   RFh4ANF.   TDU15
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       1
             this        point     they    are       just    not          sure.

      2
                                            She was         in intensive                      care       for two       weeks

       3     and     I    have     just    --    just       gotten              her         home.


                                            My mom lives                    in Texarkana                 and     she     is
       4
                                                                                                                               a


       5     widow.


       6                                                             THE        COURT               So    your      sister

       7     will        be   with      your mother


      8                                                              THE        POTENTIAL              JUROR        Yes.


       9                                                             THE        COURT             And    you are going

      10
             to    have       to   go   back     and forth               to      Texarkana


      11
                                                                     THE        POTENTIAL              JUROR        If     she

                   --
      12
             is          she     is    in her    home theres                            a   possibility if             shes

             not    doing well that              I    will       have           to drive            back      and forth.
      13




      14                                                             THE        COURT             Do    you     work

      15                                                             THE        POTENTIAL              JUROR        Yes.


      16                                                             THE        COURT               Do     you      have       a


      17     daytime          job

      18
                                                                     THE        POTENTIAL              JUROR        Yes.


      19                                                             THE           COURT                  Maam            the


      20     problems            you     have    told        me          about              actually          are    not       a




      Ido-24
     21      disqualification.                  If    you were the primary caretaker                                     such

             as    if    your      sister       was    in your              home            you   would       be.
     22



      23
                                                                     THE        POTENTIAL               JUROR

             understand.


      25
                                                                     THE        COURT             This     is    probably



                                                                                                                              22
                                                       LLOYD   E.    BILLUPS.   CSR.    149

                                                             76TH    ACKIk CMR     CT

                                                               Mt.        NIT. TEXAS
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                                                                                                                                         t




      1

             something       the     lawyers          need       to       go        think         about          and it      may

      2
             cause    them     not    to       select        you         for            the      jury       but    its       not


      3
             anything      Ineed          to    let    you       go         for           today.

      4                                    I    wish     I   could.


       5                                                         THE           POTENTIAL               JUROR            I   just


       6     wanted     them      to be aware.


       7                                                          THE          COURT              When you fill              out


      8      the questionnaire                 there will              be some place                       in   there       tell




      --14
       9     us   again      in    the         questionnaire                     about           your           problem       and


      10     maybe    we   can make            some    arrangements                         for       you.


      11
                                           Thank       you maam.

      12
                                           I    am talking                     to         someone           Im    not       going


      13
             to   let      them      --        until     you            let               them    go        you       just


             otherwise        Im     not       going     to       receipt                  them.


      15
                                           Yes.         This           is       81.

      16                                   Yes maam                      Mrs.             Turner.


      17
                                                                      THE         POTENTIAL                 JUROR              My


      18
              father    has       just     had      major             surgery              and        is    in    a   nursing


      19
              home in Mount          Vernon            my mother                    cant drive and Im the

      20      primary caretaker                of   my mother.


      21                                                              THE       COURT                 You   wish      to     take.



      22      your    exemption

      23                                                              THE       POTENTIAL                  JUROR        Yes.


      24                                                              THE       COURT                 Mr.       Old

      25                                                              MR.       OLD              No    objection             Your




                                                        LLOYD   E.    BILLUPS    CSR.     149                                   23
                                                             cmcw      COURT   RýOR1

                                                             7en1.CICWL        DDSIRICT

                                                                MT.   PILAW.    colas
I.
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                  Honor.
            1




            2
                                                                         THE         COURT              You       are    free       to

            3
                  go maam.             Thank       you very              much.


            4                                  I    will      keep               this            if     its        all    right.

            5
                   Indicating

            6
                                               11321.11



            7                                  Mrs.       Thomkins.


            8                                                            THE              POTENTIAL              JUROR              My

            9     husband    had       a   stroke      two         years                  ago     and       I    have    to    stay

           10     with   him.      I    dont        have     anyone                  to        take     care      of    him.


           11                                                            THE        COURT              So you      are asking


           12     for your      exemption           for    taking               care            of     an       invalid

           13                                                            THE          POTENTIAL                 JUROR          Yes

           14     sir.


           15                                                            THE        COURT              Mr.       Townsend       any

           16     objection

           17                                                            MR.        TOWNSEND                    None.


           18                                                            THE        COURT               Mr.      Old

           19                                                            MR.        OLD              None.


           20                                                            THE         COURT              You       are    free       to

           21     go.


           22                                  Thank       you           very much                    for    coming      up this

           23     morning.


           24                                  Thank       you maam.                             Number           39..


           25                                  Now you        may start.




                                                           LLOYD   E.    BILWPS      CSR 149                                        24
                                                              OFFMIAL cotes         RSKXM                                       -




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                                                                   MT.   REASNif.    TONS
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      1
                                                                 THE         POTENTIAL JUROR                     Im     not


      2      a   resident      of    this    county.


      3                                                          THE         COURT            A resident         of what


      4      county

       5                                                         THE         POTENTIAL JUROR                     Camp.

       6                                                         THE             COURT                You       are     not


       7     qualified         you    are    free       to       go.


       8                                  Thank        you.


       9                                  How     are you               doing            maam

      10
                                                                 THE          POTENTIAL              JUROR        Fine.


      11
                                                                 THE          COURT            Let me take            that.


      12
             Indicating


      13
                                            3 8   9.

      14                                  Yes      Mrs.          Brown.


      15
                                                                 THE          POTENTIAL              JUROR        I    am    -



      16
             -   have    kidney       problems          and            Im          a     diabetic          and    I    have

             trouble     with       my bowels           controlling                       my bowels.
      17



                                                                 THE          COURT            We would         normally
      18



             require     you    to    sit    in the            jury box                  an    hour        an   hour and
      19



             a   half.    You       are   telling          me          you         cant         do    it    because         of
      20



      21
             your medical           problem

                                                                 THEPOTENTIAL                        JUROR        Yes.
      22


                                                                 THE          COURT             Mr.    Townsend
      23


                                                                 MR.          TOWNSEND                No    objection.
      24



      25
                                                                 MR.          OLD             None.




                                                                                                                            25
                                                       LLOYD     E.   BILLUPS   CSR 149
                                                          CWFK        LCIXIrrFFPORIFlt

                                                               761H   JDcm    aslRICT

                                                                Mr.   RESNwr.   mM
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      1                                                        THE              COURT           Thank     you.           You


      2      are    free    to     go.


      3                                       Thank   you            maam.

      4                                       218.

      5                                       Yes maam.

      6                                                         THE             POTENTIAL           JUROR            I    am


      7
             insulin        dependent              diabetic                 my          blood       sugar       is       not


      8      stabilized            I   have    to take       blood tests for my blood sugar

             and    take    a    shot.
       9



                                                                THE         COURT             Do you      take       shots
      10




      11
             daily

                                                                THE             POTENTIAL            JUROR            Yes
      12



             sir.
      13



                                                                THE         COURT             So    if   we have you
      14



             on     the    jury you        would      have      to          go     back       and    take      how many
      15



             shotsa day
      16



                                                                THE             POTENTIAL           JUROR        Two.
      17




      18
                                              It   depends            on        how      its        doing      that      day

             but     at    least       two.
      19



                                                                 THE            COURT           Did      you    say      you
      20


             have     to    have       a   test    everyday
      21



                                                                 THEPOTENTIAL                       JUROR            Well
      22



             you     test    it.
      23


                                                                 THE            COURT           Yourself
      24


                                                                 THE             POTENTIAL           JUROR               Yes
      25




                                                                                                                          26
                                                       LLOYD   E.    BILLUPS.    CSR.   149
                                                          oRHa       icon   f   aýoaýt
                                                             76TH    ADC        EM MM
                                                               MT.   REN.ANT.TD    A3
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             sir.        For    blood
      1

                                            sugar.

      2
                                                                      THE             COURT                 Maam            Im        not

      3      sure    that       you       are       not     able          to         sit         if    you        were         can    you

      4      feel        --    without              taking      the                test           can                   feel         that.
                                                                                                             you

       5
             something          is       about       to    occur           that           you         need       this shot

       6                                                              THE            POTENTIAL               JUROR              Yes.


       7                                        I    feel     like              it         right           now        as   I     am

       8     after       standing          so       long.


       9                                                              THE          COURT               Does      stress effect


      10     you

      11                                                              THE             POTENTIAL                  JUROR               Yes

      12
             sir.


      13                                                              THE            COURT             Once you begin to


      14     feel    whatever             you       feel     from           this             illness             does      it    cause


      15     you    to    not       be    able      to     concentrate                       and       listen

      16                                                              THE             POTENTIAL                  JUROR               Yes.


             It    makes       me    real       sleepy.
      17




      18
                                                                      MR.            TOWNSEND                    No    objection.


      19
                                                                      THE            COURT                 Mr.    Old

      20
                                                                      MR.            OLD              No    objection.


      21
                                                                      THE            COURT                 You     are         free    to


      22     go maam.

      23
                                                Thank       you.


                                                Good morning                         how         are       you    doing
      24



      25
                                                166.



                                                            LLOYD   E.    BILLUPS.    CSR.   149                                       27
                                                               OriicIAL    COURT     G6ý0Iir9t

                                                                7614         SCULUSIRICT

                                                                    Mr.   RDSANr.1FMAS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 31 of 156 PageID #: 1634

      1
                                            Yes        maam.

      2
                                                                    THE              POTENTIAL              JUROR           Im     in


      3      the   process       of     moving         to       another                  county.


      4                                                             THE              COURT             What       county

      5                                                             THE               POTENTIAL                 JUROR            Camp

      6      County.


      7                                                             THE              COURT            And when will               you


      8      be    completing         this       process

      9                                                             THE               POTENTIAL                 JUROR            This


     10
             weekend.


     11
                                                                    THE              COURT                Okay.           Then    you

             are    free    to    go.
     12




     13
                                            Thank          you      very               much          maam.

     14                                                              THE             BAILIFF               Thats          it     Your


     15
             Honor.


     16
                                                                     THE             COURT                Okay        folks.


     17
                                            I        appreciate                       it         you        all       have       been


     18
             patient       with    me.           I    did       not            lose            as    many        as   I    thought


             through       the    exemption.
     19



                                            What       I    would                like           to   do is        to bring in
     20



     21
             the    other group             to       do the         same               thing         then        we   are      going


     22
             to    figure    out      how    Im       going          to          talk to all                    of you     in this


             small room.
     23



                                            Again           I      thank               you          for    your patience.
      24



      25
                                            Hold on just a                           minute               let    me talk about




                                                                                                                                   28
                                                           LLOYD   E.    BILLUPS      CSR.     149
                                                                omc      t   cOUAr   aecm
                                                                 761H    iacL    L   DSTThCt

                                                                   Mr.   REASANr. TDNS
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      1
             some     procedures.

      2




      3
                                                The     Court              conferred               with        the       District


      4      Clerk.

       5




       6                                                              THE            COURT               All     right           Im

       7     going        to     ask      you   all    to     excuse                 yourself             to    the       hallway.


       8
             so   I   can bring             in the     other          group and when                       I   do bring you


       9
             back     in     I   will       bring you back                  in in a certain                     order your


      10
             name will               be   called      and    you will                    have      to     take       a    seat    in


             a    certain            order the        next      time but                      we   will        bring       in    our
      11




      12
             other group and                  see how       many people                       that       we have that are


      13     exempt.


      14




      15                                        .Whereupo                  the second              group of potential


      16     jurors was               called       into     the            courtroom and                   the       following


      17     transpired

      18




      19
                                                                      THE                COURT                 Well             good.


             morning.            I    see     some unhappy                 faces.
      20


                                                                      THE            BAILIFF               That          was    all.
      21



             Your         Honor.          Thats it           Your Honor.
      22


                                                                      THE           COURT            I   am Gary Stephens
      23


             and      I    am a Visiting              Judge          out            of        Ellis      County          which    is
      24



             up       near           Dallas     and       you         all            have          been        summoned           as
       25




                                                                                                                                  29
                                                            LLOYD    E.    BILLUPS   CSR 149
                                                                Oirrcw COURr RBCR1

                                                                    76TH   J.EcAL   asrtaer

                                                                     Mr.PIFAS   NT.TEXAS
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      1
            prospective               jurors       for      a    capital                   murder              case.

      2
                                              You know            there                 was          a   group of           people    in


      3     this     room             before        you              they                are             also        summoned         as


      4     prospective               jurors       and      obviously                           I    cant        get        everybody

      5      in this       room         thats           why      we           had         to         bring you            in   as    two

      6      groups.


      7
                                              What       we      are going                          to    do this morning is


      8
             to discuss       qualifications                         to        be a             juror and             Im     going to


      9
             discuss       with        you    the       exemptions                       you         may take.

                                              After         I    discuss                    the          qualifications              and
     10



             exemptions           I    will        talk         to          the         ones             of    you    who      believe
     11




     12
             that    you    are        not    qualified                     or wish                 to    take       an     exemption


     13
             then   we     will        try    to combine                    the         two         groups           depending        on


     14
             how    many people              are    left         and           I       will          go       into   what      we call


     15
             voir      dire           which        is       the         start               of           our    jury        selection


     16      process       this        morning.


     17                                        I   will         discuss                  with            the     group         you   and


     18      the    other    group           either         together                      or we           may have           to   break


     19      into     two     sections               but          I          will               go        over        the      general


     20      principles           of     law       that         apply              in      all           criminal           cases.      I



     21
             also    then     will           discuss            with           you         capital              murder         and   the


     22      issues      involved            in a capital                          murder trial                      then    you will


     23      be    asked    to        fill     out      a   questionnaire.


     24
                                              After          the            questionnaire                        is       filled     out


             you    will    be        excused        then            we         will             bring         back       jurors one
     25




                                                                                                                                      30
                                                            LLOYD      E.   BILLUPS     CSR 149
                                                                 OFACIAL      COUW     aýoareT

                                                                     76TH   Jt1ICtAL   asTacr
                                                                      MT.   REASWr.TEXAS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 34 of 156 PageID #: 1637

       1
             at    a    time and we will                probably                     bring in six to                     10    people

       2
             a day       because         the     State           and        Defense            both      have        a    right to

       3     talk        to       you     individually                      and           they      may        talk           to       you

       4
             anywhere             from    five       minutes                to       an      hour       and    a    half        each.

       5     We    never      know until             the     selection                     starts how           long we will

       6     talk       to    a    juror.


                                                So this           morning                 when you leave                  you will
       7




       8     not       know       whether        you    are        on         the         jury      or    not       unless             you

       9     have       been       excused.            If     you           are       excused            then        of        course

      10     you       dont come          back.         If       you are              not      excused          we bring you

             back       for       that    other        individual                     selection               then                 will
      11                                                                                                                 you

      12
             be    told whether                or    not     you            are       on     the    jury.


      13                                        If     you        are          selected             for        the       jury          you

      14     wont have              to    wait while we                      select           the       entire           jury you

      15     will       be    sent       home.


      16                                        Then        this            case          will      be    tried probably


      17
             in    November              you    will        be     given              a      date       and told              to come


      18
             back.


      19                                        When        the      trial             does        begin       I    anticipate


      20     that       it    will       last       probably                two       weeks.


      21                                        All     right.                    Now        you    know        why       you          are


      22     here       and what          we     are doing.                      I    want         to    go        before          I    go


      23     over       anything         with        you     I    am going                   to    ask    each       of        you      to


      24     please          stand       and     raise           your          right          hands           and    take          your


      25
             oath       as    a   prospective               juror.




                                                             LLOYD     E.   BILLUPS   CSR 149                                           31

                                                                   76TH.     CICULDISTRICT

                                                                     MT.    REASANI. TEAS
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                                                 Potential                    jurors                 sworn.

      2




      3                                                                     THE       COURT                  You may lower your


      4       hands        be       seated.


      5                                          Now            folks            all           of       you    have       been       sworn

      6       so     everything               you        tell     me         from              this          point.      on    will     be


      7       under       oath.


      8
                                                 Also when you fill                                 out      the questionnaire


      9
              all    of    the       questions             are      being             answered                 under          oath.



     10
                                                 All        right.                   Im            going       to        go   over     the


              qualifications                   and       exemptions                  then          we will          discuss          those
     11




              with    the       people          that       believe                 that            they       are disqualified
     12



              or want          to    take       an       exemption.
     13




     14
                                                 In       order to                   be        a    juror          you    must be       at


     15
              least       18    years of            age you also must                                   be   a citizen          of    this


     16
              state       and    of      Titus       County               you must be qualified to                                   vote

     17
              although          you       do    not        have       to        be         registered to                      vote     you

              also have             to    be    of       sound      mind and good moral                                   character.
     18




     19
                                                 I       am from Ellis                     County              I    dont know          you.


              people.           If       anybody          has     bad moral                        character             come    up and
     20


              tell     me      and       we    can       excuse           you        for           it.
     21




     22
                                                    It    normally doesnt                                 work.


                                                 You must be                    able               to    readand          write you
     23

              also must not have                         served      as        a     juror for a                    six day      period
     24


              during        the       preceding             three             months                 in      county       court        the
     25




                                                                                                                                        3.2
                                                            LLOYD   E.    BILLUPS.   CSR.      149
                                                                 cmcm couRr women
                                                                  76TH1DICIALU            CT

                                                                    Mr.   REAW.IDCA$
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 36 of 156 PageID #: 1639


              preceding             six months                 in       a        district                court.
          1




      2
                                                    Now            a     district                   court          is a court where

          3
              you    would          have           served              as        one          of        12     jurors              a    county

      4       court        is       a   court           where           you would                       have       served          as    one       of


          5   six    jurors             so    if    you        have              had          jury           service       in          the    last

      6       six        months          come        talk              to            me      because               you    may            not       be

      7
              qualified to                   sit    on    this              jury.


      8                                             If        you          have             ever         been        convicted                of    a


      9       felony       or if         you       are currently                             under           indictment                or other


     10       legal       accusation                of    a        felony                 then      you        are not         qualified.

     11       If    you have            a theft conviction                                  then        you are not qualified

     12       or    if    you       are        under           accusation                          of    a     theft      you           are       not


     13       qualified.

     14                                             A         theft                  would          include           hot          checks          so


     15       if    any    of   you have                 been unfortunate                                enough          to    maybe           have

     16       some       hot    checks             that         results                     in     you        going       to       court          you

     17
              may have          a       theft       type           of       conviction.


     18                                             So        if        you           have          had        any       theft          problem

     19       that        required             you       to         appear                  before            a    judge           and       go    to


     20       court       then          talk       to     us           because                you        may very          well          not       be


     21       qualified.


     22                                             I     think                  I        also          told       you        if        you       are


     23       currently             accused              of        a    crime               through               legal    process.                 I



     24       dont         mean          if        somebody                      says          you           did     something                    Im

     25       talking          about          if    it    got           to        the        point           where       you           have been




                                                                                                                                                   33
                                                                   LLOYD    E.   BILLUPS.   CSR.   149
                                                                        CFPAUL COUif        avow
                                                                           76TH      IQ   LOIMCT
                                                                            M.REAWR.MM
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              indicted
          1

                                by    a    Grand-Jury                          or    you         have            been    investigated

          2
              by    the police             you may want                         to       talk to us and                      see whether.

          3
              you    have       a disqualification.

          4
                                                 Now            a   disqualification                               is    something              we

          5
              cant        waive.            In        other            words                    if        you     live        in       another

          6
              county          you    are    just       absolutely disqualified                                               if       you    have

          7   had    a    felony conviction                           you           are         disqualified                      its        just..


      8
              automatic              be    sure        to       tell            us         about           it.


      9                                          An exemption is something                                                you may take

     10       if    you       wish    to    take            you           dont              have           to.


     11                                          If     you           are           over         65       years of age you may

              take       your exemption                 for this                     case
     12
                                                                                                      you        are    put back             into

     13       the    jury pool             so    if    you          take             an     exemption                  you    dont lose

     14       out    on       your    right           to        sit            on    a     jury.                 Its     on       a    case     by

     15       case       basis.


     16                                          So if           you           dont want                    on the        jury and you


     17       are    65       tell    us    and        you will                     be      released.


     18                                          If     you         have             legal custody                      of    a       child     or

     19       children           under          the        age            of         10     and            your         service             would

     20       necessitate             leaving              those                children                   unattended                 then    you

     21       have       an    exemption              that          you         may take.

     22                                          If        you            are          a    student                at    a        public        or


     23       private          school       then        you           also have                       an    exemption                 that    you.


     24       may claim.

     25                                          So        if       anybody                 is            going     to       school          just




                                                             LLOYD        E.   BLWPS csR             49
                                                                                                                                                34
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                                                                      76TH     .AICU   ooiacr
                                                                      h    .RFASMCTD
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                             know
          1

              let       us              and    if     you        want           to          take        your    exemption            you

      2
              can       but       again        you    may waive                      it      if     you wish.

      3
                                                If    you are an officer                                 or employee of              the

      4
              legislative               branch       of     state             government                  you       also have         an

      5
              exemption           you may claim                    if     you are the primary caretaker

      6
              of    a    person         who    is     an     invalid                  you         have     an      exemption          so

      7
              if    you       are       taking        care          of         a      family             member who             is    an.



      8
              invalid             regardless               of       this               persons                 age        and     your

      9       service         on this         jury would                mean that                  person would                not get

     10       the       proper          care        they        need                then          you     should          take       the


     11
              exemption            and    let        us    know           about             it     and     no      one    is     going

     12       to take          issue      with       you.


     13                                         All        right.                      Now         you     have          heard       the


     14
              qualifications                  and    exemptions                       what         I    want       to    do is talk

     15       to      each        one     of        you      that              believe                  that       you     are       not


     16       qualified            or    that       you     want             to      take          exemption.

     17                                         We        will      do         it      row         by    row.


     18                                         When        you          come               forward        bring         your        jury

     19
              summons             hand it      to me and we will                                 get    you located             on   our.



     20       list.          We   want    to make           sure you                   are        excused           that we know

     21
              you       were      here    so we           dont           send              the     Sheriff          after you.

     22                                         So        just          come           up         one    at.   a    time       and    we

     23       will       try      to    get    through as quick                              as we        can.


     24                                         Sheriff

     25                                         Of        course             you           are going           to       have    to    let




                                                           LLOYD   E.   BILLUPS.     CSR.   149                                        35
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                                                                   W.   RUMM.       TUA3
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      1
              the    Sheriff    know    if   you think                 you          have    an    exemption.          We


                                         talk             each                             you             the
      2
              are not      going to              to                       one        of            only             ones

      3
              that    believe     you    are disqualified.


      4                                  Come around if                       you         would    sir and hand

      5       me your      jury   summons.


      6                                  60

      7                                  Yes     Mr.         Roberts.


      8                                                          THE        POTENTIAL JUROR                I    attend


      9       Northeast      Texas      Junior    College.


     10                                                          THE         COURT           You    want       to take


     11       your    student     exemption

      12                                                         THE           POTENTIAL           JUROR            Yes

      13
              sir.


      14                                                          THE         COURT          You     are       free   to


      15      go.


      16                                 Thank    you               sir.


      17                                 Yes maam.

      18                                 How    are you                doing

      19                                 440.

      20                                 Yes     Ms.            Newman.


     21                                                           THE        POTENTIAL            JUROR         I   work


     22       for    the   76th   and     276th       Judicial                      District       Court        I   have


      23      prior knowledge.


      24
                                                                  THE           COURT             Thats         not      a


      25      disqualification           unless both lawyers know you well enough




                                                                                                                      36
                                                 LLOYD     E.    BILLUPS   CSR.     149
                                                      o    mcALco         RBCf6t
                                                          76tH   .DIC1A   oaf Wcr

                                                           W.    RFASAM. TOMS
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      1
              that they can excuse            you otherwise                          we   have     to bring you




      4MR.
      2
              down    and talk     to you     and     see whether                      or not your         job      and

      3
              your knowledge         will     disqualify you                         now.


                                                                            OLD        Juvenile probation

      5                                                          MR.             TOWNSEND             In        Titus

      6
              County

       7                                                         THE          POTENTIAL           JUROR         Well.


      8       the     76th   and   276th      which              is    Titus County and Morris.

       9                                                         THE             COURT             And      Morris


      10      County

      11
                                                                 MR.          TOWNSEND             What    is       your


      12       job

      13                                                         THE          POTENTIAL           JUROR         I    was


      14      a     secretary    and   I    prepared               the           statistical        reports          and


      15      the     monthly reports.


      16                                                         MR.          OLD         Well      excuse          her

      17      Your     Honor.


      18                                                         THE          COURT          You    are    free       to


      19       go   then.    Thank     you.


      20                                                         THE           POTENTIAL          JUROR         Thank


      21       you.


      22                                                          THE         COURT         How   are you   doing

      23       maam

      24                                   77.11


      25                                   Yes         maam.                              Give        us            your



                                                                                                                      37
                                                   LLOYD   E.    BILLUPS     CSR 149
                                                      omcALcOURI              aR1

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                                                           M1.   RZASAN1.1DNS
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                   disqualification                or
           1

                                                         exemption.


                                                                                        POTENTIAL JUROR
           2
                                                                              THE                                               I    would
..
           3
                   like    to    be    exempt.

           4
                                                                              THE       COURT              For       what           It    can

                           be    for               of    those          reasons                    that          mentioned
            5
                   only                    one.                                                             I                             you

           6       are    going       to    school       or child                   under            10.


            7                                                                 THE       POTENTIAL                JUROR          I    dont.

           8       have    any       reason.


            9                                                                 THE       COURT               Maam

          10                                                                  THE       POTENTIAL JUROR                         I    dont

          11       have    any       reason.


           12                                                                 THE        COURT                  You       just       dont

           13      want    to    be    here.


          14                                       What       we       are          going           to    have       to   do is          fill


           15      out a questionnaire                   in a few minutes and                                   we will        look       for


           16      that    questionnaire                 then          you          will            be     scheduled                for     an


           17      interview          and    a    lot    of     people                 are         going        to    tell      us       they


           18
                   cant     sit       on     a    death        penalty                 case          but        this      is    not       the


           19
                   time to       be    able        to    do that.                    We           have     to    put      you       on. the


          20       witness        stand          where    both               sides            can        question          you       about


          21       your    feelings              about    the          law          and           ability         to      follow          the


          22       law     that        is    why        this     morning                      I    can     only        talk         to    you

                   about    those          disqualifications                           and         exemptions.
          23



           24                                      Sorry           sorry                      you        will     have         to    stick


           25      around        I    will       give    you     this            back              you will          have to stick




                                                                                                                                            38
                                                               LLOYD   E.    BILLUPS   CSR 149
                                                                   MCULLco           RýOgi6t

                                                                    76TH     AXXI   L DSIFICT

                                                                       MT.   PIFASN4T.1DV\t
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      1
               around         for     the          duration.              Handed                 to    the       witness.

      2                                              Come        forward                  maam.

      3                                              Thank       you.                 Handed           to    the    Court.

      4                                               471.

      5                                              Yes maam.

      6                                                                         THE       POTENTIAL              JUROR             Well

      7        I    teach          school          and     you    said            an        employee of                the    state.


      8                                                                         THE         COURT                 Well          state


      9        government                    teachers            are      not            disqualified.

                                                                                THE       POTENTIAL              JUROR         Okay.
     10


                                                                                THE       COURT             Sorry.
      11




                                                                                THE       POTENTIAL              JUROR          A good
      12




      13
               try        anyway.


                                                                                THE        COURT             I    know       you    have
      14




               got        a   lot     of       children          to       take            care         of   but     that      doesnt
      15



      16
               excuse          you.


      17
                                                         137.




      mid-21
      18
                                                      Yes maam.

                                                                                THE         POTENTIAL             JUROR.            I    am
      19



                   diabetic         and        I    have    to    take            a    snack          mid-morning            and
      20



                   afternoon.              I       thought       you           should            know       that.



      22
                                                                                 THE      COURT             Maam        we normally


                   will       be    in     the       courtroom                 an      hour            maybe      an     hour      and    a
          23



                   half        take      a         break    and     come              back        into the          courtroom            so
          24



                   would       that        fit       in    with        your              schedule           if     you    needed         to
          25




                                                                                                                                         39
                                                                 LLOYD    E.    BILLUPS   CSR.   149
                                                                       cn1CWLco       w1 rýoR1

                                                                         76TH   JUDKIk   DEMO
                                                                          K. REAMM.       TONS
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       1      take    a    break

       2
                                                                   THE             POTENTIAL         JUROR        Yes.


       3      If    its        during the       right        hour.


       4                                                           THE         COURT             Well    if    anybody

       5      ever    needs       to take      a break when                        I     dont call       for   a break


       6      all    you       have    to do   is    raise your                        hand and we      can    recess.

       7                                                           THE         POTENTIAL             JUROR      Okay.


       8                                                           THE         COURT           When you fill          out


       g      the    questionnaire             there will                be          a   question      in the    back

      10      Do     you       have    any   medical         reason                  that     you    cant      serve

      11                                                            THE            POTENTIAL          JUROR       Just


      12
              insulin.


      13                                                            THE        COURT             Yes maam.            But


      14
              thats        in     the    questionnaire                       and         we   will     know    what    to


      15      focus       on    when    we   talk    to      you             individually.


      16                                     Thank    you              maam.

      17                                     Just    go      sit         back            down.


      18
                                             Good morning                          sir.


      19
                                             279.

      20                                     Yes     sir.


     21
                                                                    THE            POTENTIAL         JUROR        I    am


     22
              over    65.



      23
                                                                    THE            COURT         You    are    free    to


      24      go.


      25
                                             Thank    you              sir.              Im   going to turn this




                                                                                                                       40
                                                     LLOYD    E.   BILLUPS    CSR 149
                                                          ommCMI    COUStf   RBORi61

                                                             76TH.uo         aSU   Cr

                                                             MT.   RE/SW.     rows
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 44 of 156 PageID #: 1647

      1

                   in.     Indicating
      2
                                               How   are        you doing

      3
                                                                       THE             POTENTIAL                  JUROR             Doing

      4
                   just    fine    Judge.

      5
                                                                          THE          COURT                 214.
      6
                                               Yes      Mr.       Sisk.

          7
                                                                          THE          POTENTIAL                  JUROR         I    take.


          8        Class    II    narcotics          daily.                     I      dont             know       whether           that


          9        would    exempt      me     or   not     I        thought                     I     might tell          you.


      10                                                                   THE            COURT                   What      are       you

      11
                   taking

      12                                                                   THE                    POTENTIAL                     JUROR

      13           Methadone       for a nerve        disorder and                               sometimes           I    get    so bad


      14
                   that    Im     not    really much            good.

          15                                                               THE         COURT                 If    you    are       under

          16       stress       does    that    nerve     disorder                         get         worse

          17                                                               THE          POTENTIAL                 JUROR         Yes.


          18                                                               THE            COURT                   Whenever           your

          19       nerve    disorder         gets    worse does                         it        get    to       the     point      that


          20       sometimes you are not able to concentrate                                                      on what       you are

          21
                   doing or what          is    going      on         around                     you

          22                                                               THE            POTENTIAL                JUROR             Yes

          23       sir.     It   gets    so    bad what               I        have          got        is   a nerve        disorder


          24       called        RSD     which       is    a      sympathetic                            nerve          disorder        is


              25   what    it    amounts        to    sympathetic                                nerves       get        burning       and



                                                          LLOYD      E.    BILLUPS      CSR.     149                                    41
                                                                oR    c    L   CCURr WBORHHH

                                                                  76TH         XCL   L o1SIWCT

                                                                     MT.   PLEASANT.   TOM
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       1
              hurting        so   bad       I   cant concentrate                             on    anything.

      2
                                                                      MR.        TOWNSEND                    No    objection.

       3.                                                             MR.        OLD              No       objection.

       4                                                              THE        COURT                 Sir        the   lawyers

       5      have    agreed to excuse                 you because                      of     your medical reason.

       6                                        Good    luck.


       7                                        Excuse       me         I      need to             keep       this.          Okay..


       8      Thank       you.     Indicating

       9                                        How    are    you           doing              maam

      10                                         394.


      11                                        Yes maam.

      12
                                                                      THE        POTENTIAL JUROR                        I    dont

      13
              have    no custody            but    I   have      two           grandkids                   that   I   keep with


      14      me    all    the    time.


      15                                                              THE         COURT                    They       live    with


      16      you

      17                                                              THE          POTENTIAL                 JUROR            Yes.


      18
              The     live    with      me       all   the      time.               I     dont have custody                      of


      19
              them.


                                                                      THE        COURT                 How    old are        they
                                        0




      20



      21
                                                                      THE       POTENTIAL JUROR                         Five and


      22      six.


      23                                                               THE       COURT                 I   believe you are


      24      covered        by   that          exemption.


      25                                         Mr.    Old           do    you          have          any    objection          or




                                                        LLOYD                            149                                     42
                                                                E.    BILLUPS   CSR.
                                                             ocnc      COWN rAPORM
                                                              76THuorcuL       CSIRICT

                                                                Mr.   REAWII    TEXAS
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      1
              Mr.    Townsend

      2                                                         MR.           OLD           I    presume       that      she


      3       is    saying the children          live with                        her and not           the    parents

      4                                                         THE               POTENTIAL            JUROR            They

      5       live    with    me.     I   dont    have             any            custody         of    them.


      6                                                         THE               COURT           They        spend       the


       7      night    with    you        they   wake           up          with          you        you     just       dont

              have    legal    custody
      8



       9                                                        MR.               OLD           In     fact    you        are


      10      raising      them

                                                                THE            POTENTIAL             JUROR          Yes.
      11




      12
                                                                MR.            OLD          No    objection.

                                                                MR.            TOWNSEND                No    objection.
      13




      14
                                                                THE            COURT             We     are    going       to

              let    you   take     the   exemption.                   You            are   free       to    go.
      15




      16
                                                                 THE              POTENTIAL            JUROR            Thank


              you.
      17



                                                                 THE          COURT             How    are you doing
      18




      19
              this    morning

                                                                 THE              POTENTIAL.           JUROR              All
      20



      21
              right.


      22
                                                                 THE           COURT             90.

      23
                                          Yes    sir.


                                                                 THE           POTENTIAL              JUROR         I    have
      24


               a    severe    closed      head   injury                       I       had   a    car        accident       in
      25




                                                                                                                           43
                                                 LLOYD    E.    BILLUPS       CSR 149
                                                    CFRMAL CCURT            RBKWF     t



                                                         76TH   JWIDAL      DS1PICT

                                                         W.     REA.SANT.    TOM
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              1985.
      1




      2
                                                                    THE        COURT          And what lingering

      3
              condition       do you        still      have           from that                injury

      4
                                                                    THE          POTENTIAL               JUROR               I     am

      5
              still     on    disability               I     go         to        the        hospital               to   see           a


      6
              doctor.


      7                                                             THE         COURT              How        often      do       you.


      8
              go

      9                                                             THE         POTENTIAL            JUROR               Once          a


     10       year.


     11                                                             THE         COURT              You        are    not         able


     12       to   work

     13                                                              THE POTENTIAL                  JUROR            No          sir.


     14                                                              THE        COURT          What            as a result


     15       of   your head           injury what          are you                   not    able     to       do        I       mean


     16       how does       it        effect   you

      17                                    I   know         you          are              disabled           but     does            it


      18      effect    your thinking               ability

      19                                                             THE         POTENTIAL                JUROR                  Yes-


     20       sir.


     21                                                              THE        COURT           Your motor skills


     22       or   what      your thinking                 abilities

     23                                                              THE         POTENTIAL               JUROR               Well

      24      its     kind        of    like    that       guy        that             was    up    here        awhile            ago


      25      because        of    his     nerves          stuff               like         that         if     I    get         in        a




                                                     LLOYD    E.    BILLUPS.    CSR 149                                               44
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                                                             76TH.J.DIMALD      TICr

                                                              Mr.   RFwwrr. Tows
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              bind    or                       like                                  cant
       1

                            something                        that             I                  -



                                                                                                       Cant think
       2
                                                                            THE        COURT

       3
                                                                            THE POTENTIAL               JUROR           No       sir.


                                                                                       COURT
       4
                                                                            THE                        Mr.    Townsend

                                                                                       TOWNSEND
       5
                                                                            MR.                              No    objection.

                                                                                       OLD
       6
                                                                            MR.                      No objection.


                                                                                       COURT
       7
                                                                            THE                        You        are   free       to


       8      go.


       9                                  Thank              you              sir.


      10                                       2 6 0.
                                          11            11




      11
                                          Yes maam.                                  Mrs. Glenn.

      12                                                                    THE        POTENTIAL             JUROR           I     am

      13      going    to       college    and          I    want                 to       try   to           out       of   this
                                                                                                       get

      14      because       I    cant miss             the      classes.


      15
                                                                            THE        COURT          You are currently

      16      enrolled          in   college

      17
                                                                            THE        POTENTIAL           JUROR         Yes.


      18                                                                    THE      COURT           You have       a student


      19      exemption and you                are      free                to       go.

      20                                  Thank              you.

     21                                   Thank              you maam.

     22                                        3 7 0



      23                                  Yes maam.

      24                                                                    THE        POTENTIAL             JUROR           I     do

      25      group   travel          for Travel              Magic                    we   will      be     traveling           the




                                                        LLOYD     E.   BILLUPS       CSR 149                                       45
                                                              0FRM     LL   Cahill   MOM
                                                                76TH   iCIdAL GWRICT

                                                                Ml.    PIFA3AM.      TOM
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              18th    of     November              we    are         too        close           in     to      the        traveling
      1




      2
              date    to    cancel           the       whole        trip            which       would          mean the              loss


      3
              of   several        thousand              dollars in deposits.

       4                                                                  THE       COURT            All right.                 Maam
       5      I    dont      --   how        long       will        the        trip        be

       6                                                                  THE        POTENTIAL                 JUROR                 Four

       7
              days.


       8                                                                  THE        COURT                I    dont            see    any

       9      problem with you                    taking        a     trip           and       still          being        eligible


      10      to    serve        on    this        jury.            It        will         not       be       going        to    trial


      11      before        the       18th    of       November.


      12                                                                  THE        POTENTIAL                JUROR            Oh     you

      13      wont

      14                                                                  THE        COURT                    So     if    you        are


      15      selected          as     a    juror       you      are          free         to    take          your        trip       and


      16      I    dont         see    us    starting this                      case        until             toward           the    end


      17      of    November.


      18                                          If    we      were            to       get         started               first-we


      19      are     not       going        to    knock        anybody                  out     of       a    vacation              that




      --21
      20      will


                                                                          THE        POTENTIAL                JUROR            This is


      22      a    group        trip       my husband               and        f         just        the       two        of    us    are


      23      taking        a   trip        on    the    27th            of    November               for          four    days.


      24                                                                   THE       COURT                Four       days

      25                                                                   THE       POTENTIAL                JUROR             Yes.




                                                                                                                                       46
                                                             LLOYD   E.   81LLUPS   CSR 149
                                                                omc        COUGrtBOrti6t

                                                                    76THACK14C        cr
                                                                     W.   REAwlr.   WM
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                                                                        THE                  COURT                        In         the
       1




      2       questionnaire           that       you       will             fill             out        in    a    little       while

      3       it     will    ask    you    I    think         the           next             to     the       last    page        will

      4       ask     you    whether       you       plan         to        be        out          of    the       county         just

       5      list     those       dates       and   we      will            work             around          your        schedule.

       6      if     you    are    selected          we     will            work             around           and    if              are
                                                                                                                            you

       7      not     we    wont     worry about                  it.



       8                                                                THE           POTENTIAL                   JUROR              All


       9      right.


      10                                                                THE        COURT                Thank       you maam.

      11                                       Good morning                        maam                 how   are you          doing

      12                                       Number             1.

      13                                       Yes     maam                  Ms.             Clark.


      14                                                                THE            POTENTIAL                   JUROR              My

      15
              husband        was    disabled          on      September                        2nd           hes     doing        okay

              but

      --17
      16



                                                                        THE           COURT                   When        did     this


      18      happen

      19                                                                THE                   POTENTIAL                        JUROR

      20      September        2nd        94.


      21                                                                THE        COURT                 So are you            taking


      22      care     of    him right          now

      23                                                                THE          POTENTIAL                    JUROR         Well

      24
              not     anymore        you       know         hes well and everything                                            but    we


      25      are     kind    of    doing       the       business                    and          sometimes          he       helps



                                                          LLOYD    E.   BIU_UPS    CSR.      149                                      47.
                                                             cmc         cauar    aaýoaýat

                                                              76THJDcuL           CMRCT
                                                                  W.    REAW.row
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       1
              you    know       he   wants       me to be there.




       --7
                                                                                  COURT          Maam
       2
                                                                         THE                                         those are

       3
              really not          legal     disqualifications                             that        will           authorize

       4      me    to   excuse      you.

       5                                    We     will              still              need     to     talk           to    you

       6
              individually           but    if    you    will                  just     put     down

                                                                         MR.        TOWNSEND                     I     believe


       8      theres       an    agreement.


       9                                                                 MR.     OLD           Okay.


      10                                                                 THE       COURT               If        they       have


      11      agreed      then       Im    going    to        agree               and     you    are free              to go.


      12                                    Thank       you maam.

      13                                    Thank       you.


      14                                    How    are        you              doing       maam

      15                                                                 THE     POTENTIAL            JUROR             Fine.


      16                                                                 THE     COURT           .102       of




      17                                    Okay        maam.

      18                                                                 THE     POTENTIAL            JUROR             I   have


      19
              three      children         and     one     I          have          to     take        carry           to    Band


      20
              after      school       I    dont     have                 anyone         else     to    do it.


      21                                                                 THE      COURT          How        old       is    that

              child
     22



      23                                                                 THE       POTENTIAL           JUROR                Hes

              twelve.
      24



      25                                                                 THE     COURT           Okay.




                                                                                                                              48
                                                    LLOYD     E.     BILLUPS    CSR 149
                                                         CRU             COURTNýOQi6t

                                                            761H     3   sc1   CORM
                                                              Off.   RFAWif.   MM
      pre-3
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      1                                                       THE             POTENTIAL              JUROR       Then     I



      2       have   a   three year old that                     I      have            to    pick    up after

              school     and    my   husband       cant                 be        there          hes      working        in


      4       Sulphur     Springs      part-time at the                                hospital.


      5                                                          THE          COURT            So if      hes    at work


      6       in Sulphur Springs            you have                 no one             to    pick     up your three


      7       year   old       is   that   what    you            are          telling          me

                                                                  THE          POTENTIAL             JUROR        Yes.
      8



                                                                  THE          COURT            Unless       you do     it
      9


                                                                  THE          POTENTIAL             JUROR       .Right
      10



                                                                  THE           COURT            And      you    wish    to
      11




      12
              take     your exemption


      13
                                                                  THE           POTENTIAL            JUROR        Yes.


      14
                                                                  THE            COURT               State      have    any


      15       objection

                                                                     MR.        TOWNSEND               No.
      16


                                                                     THE         COURT              Defense      have    an
      17




      18
               objection


      19
                                                                     MR.        OLD           No.


                                                                     THE         COURT              You   are    free    to
      20



      21       go.


      22
                                           Thank      you maam.

                                           91184.11
      23



      24
                                           Yes maam.

                                                                     THE          POTENTIAL            JUROR           Well
      25




                                                                                                                          49
                                                   LLOYD    E.    BILLUPS       CSR.    149
                                                       cFRcuu         camr    rýcaiet

                                                           76TH      LCICUL   psiraCT


                                                           MI.    RFASMdf.     TEXAS
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       1
              number          one    Im      not   living            in        this     county          right now.

      2
                                                                    THE          COURT             Well         then     you

      3       dont           --   what do you mean right                         now         have       you moved        out

      4       of    the       county    temporarily or permanently

       5                                                            THE         POTENTIAL           JUROR             Well

       6      I    dont know           for    sure.      My         husband             and    I    are       separated.


       7                                                            THE          COURT             So    you     are     not.



      8       living          here   anymore

       9                                                            THE        POTENTIAL            JUROR         No.


      10                                                            THE        COURT              Then    you    want.    to

              --    I    assume neither            side       has           an
      11                                                                              objection.since             she     is


              not       in    county
      12




      13
                                                                    MR.        TOWNSEND                 No.


      14                                                            MR.        OLD          No.


      15
                                                                    THE         COURT             You     are    free     to


      16      go.


      17
                                             Thank     you maam.

                                              37.01
      18




      19
                                             Yes      sir.



      20
                                                                    THE        POTENTIAL            JUROR         I    have


      21      got       an    illness called          PSC           its          a     liver       disease       and     any.


      22
              kind of stress related                  situations                      are   not really good              for


              me.
      23



      24
                                                                    THE        COURT           What       do you       mean


      25
              not really good



                                                                                                                          50
                                                      LLOYD   E.    BILLUPS.   CSR.   149

                                                          76TH      LID   QM.OISWT
                                                              Mt.   REAMM.     TDM
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      1                                                              THE          POTENTIAL                  JUROR              It


      2
              upsets me and causes                   me    to        have         some        problem.


      3                                                              THE        COURT              All       right.           This

      4       is    something          that    both       lawyers                have         a    right      -to       talk    to


      5       you    about       further.


      6                                       Mr.    Townsend                   do you want              to talk to him


      7
              further       on    individual           voir            dire             or    excuse         him        at    this


      8
              point


      9
                                                                     MR.        TOWNSEND                 I    will       excuse

              him.
      10



      11
                                                                     MR.        OLD            I   will       excuse          him.



      12
                                                                     THE         COURT              You       are       free    to


      13      go.


      14
                                              Thank       you.


      15
                                              Good morning                      sir           how are you               doing

      16
                                                                     THE          POTENTIAL                  JUROR             All


      17
              right.


                                                                     THE         COURT              Do       you       have    the
      18




      19
              other       part     I    guess       this    is         still            the       same number                62.


      20
                                              What    is    your name

                                                                     THE        POTENTIAL            JUROR               Wayne
      21



              Baker.
      22


                                                                     THE        COURT              Yes        Mr.       Baker.
      23


                                                                     THE          POTENTIAL              JUROR                Yes.
      24


               I   have    recently       opened my own                         business           and       if    I    have    to
      25




                                                                                                                                51
                                                      LLOYD     E.   BILLUPS.   CSR.    149
                                                           OmmcYLL     COM aeamer
                                                              761HJ     sc1ALuSIIiICT

                                                              MI.R     ASAM.TONS
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      I
              close      the doors        on       it    I        do     not            have        any income                coming in.

                                                                                         COURT                This
      2
                                                                              THE                                        is   something

      3
              the    lawyers       have        a    right               to        discuss                with       you       at     length

      4
              if    they want       to.        Im             going             to        have           to    bring you             back.


      5                                    If           you        will             put            in    your        questionnaire

      6
              the    fact    that     if           you        are             not         there           you       dont           get    any

      7       income.


      8                                                                       THE         POTENTIAL                JUROR             Yes.


      9                                                                       THE           COURT                  Im         sure       its

     10       something       they will             consider                     but         I     cant excuse you today

     11
              for    that    reason.


     12                                                                       THE          POTENTIAL               JUROR             Okay..


      13                                                                      THE         COURT               But    I    dont think

     14       either lawyer will                   want           anybody                  on the             jury that         is    going


      15      to    be      losing     money                  and             more               concerned               about        their


      16      business.        But    again                   I    cant                 let         you       go   today        on    that.


      17                                   Okay.                   Here             you            go.        Indicating

                                               0A
                                                    9
                                                         19


      18




      19                                   Yes                sir.


      20                                                                      THE            POTENTIAL               JUROR                Im

     21       going       through         some           legal                 action                now       and        Bird       is     my


     22       attorney.


      23                                                                      THE          COURT               Mr.       Townsend


      24                                                                      MR.             TOWNSEND                    I     have        no


      25      objection       to     dismissing                    him              Your            Honor.




                                                              LLOYD      E.   BILLUPS     CSR 149                                            52
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                                                                        W. RFANW.        TDtA$
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                                                                  MR.         OLD              I        do    not        Your

      2
              Honor.


      3                                                           THE        COURT             You           are   free       to


      4
              go.    Thank        you.


      5                                                           THE        POTENTIAL                  JUROR            Thank

      6       you.


      7                                                           THE        COURT            How        are you         doing


      8       this   morning

      9                                                           THE         POTENTIAL                 JUROR            I    am


     10       doing pretty well.


     11
                                                                  THE        COURT             336.

     12                                    Yes       sir.


     13                                                           THE        POTENTIAL              JUROR            Simply

     14       that   I     have     used      Bird     on         a        couple        of    occasions             as        an


     15       attorney.


     16                                                           THE        COURT                 Is    he       currently


     17        representing         you

     18
                                                                  THE        POTENTIAL              JUROR           No.        He


              does   not.
     19




     20                                                            THE       COURT            All right.             Thats


     21        something      that       Mr.     Townsend                   needs        to        know        about           it


     22
               doesnt      disqualify          you     if          they           want    to excuse                you       they


     23
               can   but     actually         what     we             normally            do        is       to    let        the



     24        lawyers talk to you to see whether                                   or not          it    would      effect


               your ability         to   be    fair.
     25




                                                                                                                               53
                                                  LLOYD    E.   BILLUPS.   CSR.   149

                                                       76TH     LDlcul asa
                                                          ha.   RFAWR. mus
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                                                                                THE         POTENTIAL             JUROR
                1

                                                                                                                                Okay.

                2
                                                                                MR.         OLD          I    dont       think        Mr.

                3   Townsend          opposes         him.


                4
                                                      I     will      state             on        the   record          that    he    and

                5   I   have a very close                   personal                 relationship.                  I    dont know

                6   how it          would       effect       you.


                7                                                               THE         COURT             If    both        of    you

                8   will       agree       to    excuse       him           I   will.         excuse         him.


                9                                                               MR.         TOWNSEND               No    objection.

           10                                                                   THE         COURT             Okay.            You    are


           11
                    free       to    go.


           12                                          I      will                keep              this           right            here.


           13       Indicating

           14                                          492.

           15                                         Yes      sir.


           16                                                                   THE         POTENTIAL             JUROR         I    am a


           17       surveyor          and        I    have     got              two         highway          contracts              under


           18       contract          and       Im         supposed             to      be        down       at    Carthage          this


           19       morning on a bridge.


           20                                                                   THE         COURT            All    right           sir.


           21                                                                   THE         POTENTIAL             JUROR         I    have


           22       got    a    road       job       starting Monday.


           23                                                                   THE         COURT            Business          reasons


           24       are    no excuse             from this            type             of     a     jury.
X13




           25                                         We     dont know when we are going                                   to start




                                                                                                                                           54
                                                              LLOYD    E.    BILLUPS   CSR.   149
                                                                   aRCNLCq           Rwom     M
                                                                      761H   JDOAL   DWOa
                                                                      M1.REM.mw
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                  trial       we will          work         we will
              1

                                                                                         tell           you    what          our   schedule.

          2
                  is    and you         can    work        around                our            schedule                or we      can    work
J

          3
                  around          yours       when          we          call                  you        for           the     individual

          4
                  questioning.

          5
                                                 We        will         certainly                       get you          in here     on the

          6       most convenient              day but            I      cannot                    just excuse you                 for work


          7       related reasons.                    I   will          have              to       have       that questionnaire


          8       filled      out    and      put         in there               what              your problem is on that

          9       at    this       trial       and         maybe               we             can       get        together          and       do


         10       something         about       it.         But          right now                       I    cant.

         11                                                                     THE            POTENTIAL                JUROR        I    have


         12       got    a   bunch       of    people           waiting                       on    me       today right now.

         13                                                                     THE            COURT               Well        Ive       got    a


         14       bunch      of    people       waiting               on        me             too.


         15                                      Next.


         16                                       186.

         17                                      Yes maam.

         18                                                                     THE            POTENTIAL                 JUROR           I     am


         19       going      to be       out    of        the     country                      from November                   6th   to      the


         20       23rd.


         21                                                                     THE           COURT            I       dont think that

         22       is    going      to    be    when        we     try            this              case.           I    dont know              it


         23       normally         takes       four         to         six           weeks               to    get       the       jury        we


         24
                  dont want             to    knock        anybody                   out           of    a    trip.


         25                                                                      THE           POTENTIAL                JUROR        Its        a




                                                                                                                                               55
                                                            LLOYD       E.   BILLUPS.     CSR 149
                                                                  aFAMLCOMMom
                                                                      76TH   Lcsc.   L   CO
                                                                       MI.PJA        B.mtAS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 59 of 156 PageID #: 1662

              cruise.
      1




      2
                                                                             THE       COURT               A   cruise

      3
                                                                             THE       POTENTIAL               JUROR        Yes.

      4
                                                                             THE      COURT            We will        certainly

      5       work       around          your    schedule.                     Fill           out     the      questionnaire

      6       and    in the questionnaire                        it          will          ask you if           you are going

      7       to    be   out        of    the    county          and          you can               tell       us   those       dates.


      8       and    well           not    knock          you    out          of       the         trip.


      9                                                                      MR.        OLD            I   would       agree       to


     10       excuse       her.


     11                                                                      THE       COURT               Maam       would       you

     12       come       back       for    just       a    moment

     13                                          Im         sorry.                            I       dont          have         your

     14       questionnaire                and    I       didnt              remember               your name.

     15                                          Let       me    have           that           again.


     16                                          186.

     17                                          Maam            we          had      a      little        brief discussion


     18
              while you             were.taking             your             seat            and    you    are      free    to    go..



     19                                                                      THE. POTENTIAL                    JUROR            Thank


     20       you.


     21                                                                      THE          COURT             Okay.          Number

     22       3
     23                                          Yes        sir.


     24                                                                      THE       POTENTIAL               JUROR        I    take


              care       --          take        care       of           a                                                 and    she
     25                         I                                             handicapped                   person




                                                                                                                                    56
                                                           LLOYD   E.    BaluPS     CSR 149
                                                                OFRMLCOM           iýOitl9t

                                                                 7611    .1CU      ol9RICT

                                                                   MT.   RFASMG.    TEAS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 60 of 156 PageID #: 1663                                          1




      1
              wouldnt          get   the   proper     care.


      2
                                                                  THE        COURT             Do    you     do    it


      3
              daily

      4                                                           THE       POTENTIAL          JUROR        Monday

      5       through         Friday.


      6                                                           THE       COURT        All        day    long

      7                                                            THE       POTENTIAL             JUROR       From


      8
              1200       to    1000.


      9
                                                                   THE      COURT        1200            noon until


     10
              1000       p.m.

     11
                                                                   THE        POTENTIAL            JUROR          Yes

              sir.        In Mount      Vernon.
     12




     13
                                                                   THE      COURT        Mr.       Townsend        any


     14       objection

     15
                                                                   MR.       TOWNSEND              No.


     16                                                            THE       COURT           Mr.    Old

     17
                                                                   MR.       OLD        Is    it    something       he


     18
              does       for   a   living

     19
                                                                   THE       COURT           Is    this your       -job



     20       or     a   family member or friend


     21                                                            THE       POTENTIAL            JUROR      Its        a


     22       family member.


     23                                                            THE       COURT           Are     you    paid    to


     24
              do     this

     25
                                                                    THE      POTENTIAL            JUROR      No.




                                                                                                                    57
                                                  LLOYD     E.   BILWPS    CSR.   149

                                                          76TH   JDICUL DInbCt

                                                          W.     REASMB.   TOM
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 61 of 156 PageID #: 1664

      1
                                                              THE        COURT        You just volunteer

      2
              your   time

      3
                                                              THE             POTENTIAL         JUROR         Yes

      4       sir.


      5                                                       MR.         OLD         No   objection.

      6                                                       THE             COURT        You    are    free       to


      7
              go.


      8                               Thank         you.


      g                               How    are you                   doing         maam

     10
                                       242.    11




     11                                Yes maam.

     12
                                                               THE            POTENTIAL         JUROR     I    am    -



     13
              -   have   a   back   injury and          I      take            muscle      relaxants      and       it


     14       messes up        my mind.


     15                                                        THE            COURT        Do    you   take    them


     16       every      day

     17                                                        THE            POTENTIAL         JUROR         Every


     18       day.


     19                                                        THE            COURT        Everyday

     20                                Mr.    Townsend


     21                                                        MR.            TOWNSEND           No objection.


     22                                                         MR.           OLD     No    objection.


     23                                                         THE           COURT        You     are   free       to


     24       go.


     25                                Thank        you.




                                                                                                                    58
                                              LLOYD    E.   BILLUPS.   CSR.    149
                                                    amauCOUarýýomer
                                                      76TH.DK.7Aloairacr
                                                      WREAWa.          TDCM
      Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 62 of 156 PageID #: 1665


                                                       Short        off         the         record      discussion at the
            1




            2
                    bench   out    of       the       hearing         of        the potential                 jury panel             and

            3       Court   Reporter.

            4




            5                                                                 THE       COURT               Yes maam.

            6                                                                 THE           POTENTIAL              JUROR              My.


            7       husband       is        involved           at            Lone           Star       Steel        with        those


            8       lawsuits the personal injuries                                          asbestos         and things             like


            9       that.


fir        10
                                                                               THE      COURT           I    dont know about

                    those   lawsuits.                 Would     there be anything                            about    that that
           11




                    would   disqualify                her     so    far          as         law   is    concerned
           12




           13
                                                                               MR.          TOWNSEND           Not     that          Im

           14       aware   of.


           15
                                                                               MR.          OLD        Not    that    Im        aware


           16
                    of.


           17                                                                  THE           COURT             Just        in        the


           18       questionnaire                 maam         so        we       will         note         that     that       s    not


           19
                    a     disqualification                     theres                       nothing           in     that           suit


           20       apparently             that       has    anything                  to     do with        this    issue.


           21
                                                       How    are       you doing


           22
                                                       406.

                                                                               THE          POTENTIAL         JUROR         I       live
           23


                    in    Tyler        I    am    a    full    time            student            at    TJC.
           24



           25
                                                                               THE           COURT             Im     going           to




                                                                                                                                      59
                                                              LLOYD    E.    BIL.WPS   MR. 149
                                                                   cmc       LccuRIaeraaret

                                                                      76TH   Judd DWR
                                                                      6U.
                                                                             RFASMR.   mw
    Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 63 of 156 PageID #: 1666

          1
                 excuse       you   because      you      are            a      student.


         2
                                            You         are      free            to      go.

ý
         3
                                            Okay.         Thank                 you.

         4                                      2 6 4



          5                                 Yes          maam.

          6                                                              THE       POTENTIAL           JUROR         I    have


          7       children      under     age.


         8                                                               THE       COURT             And    do you       work

          9                                                              THE       POTENTIAL           JUROR         Yes.


         10                                                              THE       COURT             What    time do you


         t1       get    off

         12                                                               THE       POTENTIAL              JUROR           Like


         13       300.

         14                                                               THE       COURT             What     do    you     do


         15       with    your children          while you                      are      at    work

         16                                                               THE      POTENTIAL           JUROR         They    go


         17       to    school.


         18                                                               THE      COURT             How    old are       they

         19                                                               THE      POTENTIAL JUROR                   Ten    and


         20       11.



         21                                                               THE       COURT            And    when    you     get


         22       off    at   300    do   you    go     pick            them        up         how    do they       get    home


         23       from school


         24                                                               THE       POTENTIAL              JUROR      Walk.


         25                                                               THE       COURT            Is    there anybody




                                                                                                                             60
                                                        LLOYD    E.    BILLUPS    CSR 149
                                                              ama         couarasýomaý

                                                                76TH   Jt.CS   M DMMCT
                                                                M.REAS PG.maa
    Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 64 of 156 PageID #: 1667

          1       at   home when           they           get   home

          2                                                                     THE          POTENTIAL              JUROIt          My

          3       husband.           But    he        be    asleep              because            he    work nights.


          4
                                                                                THE        COURT             When does      he have


          5
                  to go to          work

          6
                                                                                THE         POTENTIAL              JUROR          800

                  oclock.
          7




                                                                                THE        COURT             At    night
          8



                                                                                THE         POTENTIAL              JUROR          Yes
          9


                  sir.
         10


                                                                                THE          COURT                When     does      he
         11




                  normally get             up
         12


                                                                                THE         POTENTIAL              JUROR         About
         13


                  745.
         14



                                                                                THE         COURT             So    you    normally
         15



                  are there              from    315 on
         16


                                                                                THE         POTENTIAL             JUROR      Yes.
         17



                                                                                THE         COURT             And    if    you    were
         18


                  to     be    on    this       jury        and    not             able           to    be    at    home you       are
         19



                  telling           me    your       husband        would                  either        lose       sleep    or    the
         20


                  children           would-be              in   the            house             without          anyone    to    take
         21



                  care        of    them        is    that      correct.
         22


                                                                                THE         POTENTIAL             JUROR       Yes.
         23


                                                                                THE         COURT              You    are     really
         24
.
                  close        to    having          an    exemption                      Im      not    sure you          are quite
         25




                                                                                                                                     61
                                                                LLOYD    E.    BILLUPS.   CSR.   149
                                                                   0RIOALCOMaýOaiFf1
                                                                        761H   ADICLM.019PoCT
                                                                         hR.   R AWff     MCA3
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 65 of 156 PageID #: 1668

          1
              there.


         2
                                             Mr.     Townsend

         3
                                                                     MR.      TOWNSEND              No    objection.

         4                                                           THE      COURT           Mr.    Old

         5
                                                                     MR.      OLD        No    objection.

         6
                                                                     THE      COURT           The    lawyers         have

         7
              agreed       to   excuse       you.


      8                                      Thank      you           maam.

      9                                      How     are       you doing                 maam

     10                                                              THE      POTENTIAL            JUROR       Fine.


     11                                                              THE      COURT           215.

     12                                      Yes maam.

     13                                                              THE      POTENTIAL            JUROR        I    just


     14       recently          started            taking            care          of    my    mother          who        is


     15       disabled.


     16                                                              THE       COURT           Are       you    taking

     17       care    of       her   in    your home

     18                                                              THE       POTENTIAL            JUROR           In   my

     19       home.        I    just      moved     her down               here.


    20                                                               THE           COURT            What       is        her


    21        disability

    22                                                               THEIPOTENTIAL                 JUROR        She       is


    23        really           old     and     I     think             she          is   beginning             to    get

    24        Alzheimers and                 she    has       diabetes.


    25                                                               THE      COURT           Do    you    work



                                                                                                                          62
                                                      LLOYD    E.BILLUPS. CSR 149
                                                          o    aacouarrýcmw
                                                              76N ACCIAL

                                                              W.    REAUK   MCAS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 66 of 156 PageID #: 1669


                                                             THE      POTENTIAL          JUROR             have
          1
                                                                                                       I


          2
              been    but    Im    not   right     now.


                                                                       COURT        Because
          3
                                                             THE                                      of   your

          4
              mother

          5
                                                             THE      POTENTIAL          JUROR         Yes.


          6
                                                             THE       COURT        Mr.       Townsend        do

          7
              you    have    any   objection

      8                                                      MR.       TOWNSEND           No.


      9                                                      THE       COURT        Mr.       Old

     10                                                       MR.      OLD      None.


     11                                                       THE      COURT            You    are    free    to


     12       go.


     13.                                 Good     luck        with your mother                     maam.

     14
                                         215             did     I     get    the       right      number     on


     15       that




     --20
     16                                  496.

     17
                                         Yes maam.

     18                                                       THE      POTENTIAL JUROR                Him and


     19       another       guy    was-- him        and       another         guy   stole


                                                              THE      COURT        Who       is    him
     21                                                       THE          POTENTIAL          JUROR        Mr.

     22       Wardlow.

     23                                  Him and          another boy           stole         my husbands


     24       truck     in   91.

     25                                                        THE     COURT        I    guess       its   fair




                                                                                                              63
                                                 LLOYD            CSR. 149


                                                                     m
                                                      E. BILLUPS.


                                                    CF4L Cow Room
                                                     761H   JDicw.
                                                         W. REAWa.   TW3
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 67 of 156 PageID #: 1670


                                                     bias
          1

              to    that    you       have       a

         2
                                                                          THE        POTENTIAL           JUROR                I    am

                                           dont think
          3
              afraid       so.        I                                 you       need me.

         4
                                                                          MR.       TOWNSEND             No       objection.

                                                                                    OLD
         5
                                                                          MR.                     No   objection.

                                                                                                       171.
         6
                                                                          THE       COURT

         7
                                                 Yes.


         8                                                                THE        POTENTIAL           JUROR                I    am

         9    enrolled       in       school.


     10                                                                   THE          COURT            Where           are       you

     11       going to       school

     12                                                                   THE               POTENTIAL                   JUROR

     13       Northeast          Texas          Community               College.

     14
                                                                          THE       COURT              You   are        free       to

     15
              go.


     16                                          Thank       you             sir.


     17                                          How    are        you        doing

     18                                          172.

     19                                         Yes         sir.


    20                                                                    THE      POTENTIAL            JUROR           Mr.       Old

    21        was    my    mothers               lawyer            in      divorce               court       it     has       been


    22        several       years          ago       and      also           Igo            to    school          the    second


    23        Wednesday          of       the   month.


    24                                                                    THE          COURT             What       kind           of


    25        school



                                                                                                                                   64
                                                           LLOYD   E.   BILWPS.   CSR.    149
                                                              c    cNtcouaaacm
                                                                  Porraiac     orsrtncr

                                                                   W. PJAWQ.      MM
      --4
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          1
                                                                         THE          POTENTIAL            JUROR.            Its

      2
              OSHA    training            in    Dallas.

      3
                                                                         THE           COURT           That       wont

              thats        not       an    exemption           I        can           let     you    have       and    knowing

      5       either       of    the       lawyers        is        not           a     disqualification                unless

      6
              your    knowledge             or       friendship with                          that     lawyer         would     be


      7       such    that you            couldnt            be         fair          to     the    other side.


      8                                                                  THE          POTENTIAL           JUROR         Okay.


      9                                                                  THE          COURT          Now        even    though

     10       Mr.    Old has represented                     your            family would                 you be able           to


     11       judge    the       facts          in    this    case            based           on    what    you       hear    and


     12       not    based       on       personalities                  with           the     lawyers

     13                                          In    other            words                knowing       Mr.    Old       would




     --17
     14
              you    give       that       side       kind     of        a    head           start

     15                                                                      THE            POTENTIAL           JUROR               A

     16       little        not           you    know        not         bad          but


                                                                         THE          COURT          Mr.    Townsend            do


     18
              you want          to   talk to him individually with                                        the    rest    of the


     19
              group

     20                                                                  MR.          TOWNSEND              Lets talk           to


     21       him individually.


     22                                                                  THE COURT                  Why    dont you          fill


     23       out that          questionnaire and where                                 it    asks    whether          you know


     24       the    lawyers          tell       us    your             knowledge              of    the    attorney           and


     25       we     can    decide             whether         to          bring             you     back        for    a     full




                                                                                                                                65
                                                         LLOYD     E.   BILLUPS   CSR 149
                                                             cmcILcouaraOoater
                                                               76TH     AEKI      x    cT
                                                                  MI.   aFwwa.mw
1



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     1




                  discussion.
              1




          2
                                         Thank     you              sir.

          3
                                         Good    morning                      sir.         How are you         doing

                                                                                               JUROR
          4
                                                                 THE          POTENTIAL                        Fine.

          5
                                                                 THE          COURT          472.
          6
                                         Yes     Mr.           Freeman.


          7
                                                                 THE            POTENTIAL       JUROR               Only.


          8       thing    that   I   would    know. would                     disqualify          me    for    this

          9       about    three or four years ago                        I     had      theft under $20               at


         10       Wal-Mart.


         11                                                      THE            COURT         Did       you     go     to

         12       court

         13                                                      THE           POTENTIAL       JUROR            I     did

         14       time and made a bond.

         15                                                      THE           COURT         You    did       time     in


         16
                  jail

         17                                                       THE            POTENTIAL         JUROR              One

         18
                  night.


         19                                                       THE            COURT         And        you       were

         20       bonded    out   the   next    day

         21                               Did    you       ever               go    back    to court

         22                                                       THEE         POTENTIAL       JUROR            No.


         23                                                       THE          COURT         What       happened       on


         24       the    case

         25                                                       THE         POTENTIAL        JUROR          We     just




                                                 LLOYD   E.    BILLUPS.   CSR.     149                                 66

                                                       761H    JDICUL     CWR
                                                         ha.   PJJ3NU.    TW3
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 70 of 156 PageID #: 1673


                     the   fine   and     let   it      be.
      1

              paid

      2
                                                                THE               COURT          Sounds           like     a
      3
              conviction     if   he     paid   a    fine.


      4                                                         MR.          OLD          How old were            you at

      5       that   time

      6                                                         THE           POTENTIAL          JUROR             I     was

      7       17.


      8                                                         MR.          OLD           Seventeen

      9                                                         THE                  POTENTIAL                    JUROR

     10       Seventeen.

     11                                                         THE               COURT         Does        the     State


     12       have   an    objection

     13                                                         MR.           TOWNSEND            None.


     14                                                         THE           COURT          Defense

     15                                                         MR.           OLD          None       Your Honor.


     16                                                         THE          BAILIFF             Thats it.              Your


     17       Honor.                                                          -




     18
                                                                THE          COURT          All right              folks.


     19       I   appreciate      your    patience                     I     dont         know    whether           I    can


     20       get    everybody      in   here    or       not.                    The     Sheriff      is        going    to


     21       have    to   decide      whether       we          are              going    to    be    able        to    fit


     22       everybody.


     23                                                          THE              BAILIFF              It        will     be


     24       tight.


     25                                                          THE              COURT         Some        of    you    are




                                                                                                                          67
                                                LLOYD    E.    BILLUPS.     CSR 149
                                                     cmCM        CDC   ar   RBKXM
                                                        761H   AXXX4L       DWR
                                                        Mr.    REASMQ.      mw
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 71 of 156 PageID #: 1674


              going       to    have    to    stand             we                               to           to
          1

                                                                        are          going             try          squeeze

          2
              everybody          in    here what            Im          going          to    have to do first                  is

          3
              excuse       you from the courtroom because                                    I    have to bring you

          4
              back     in      in     numerical          order                 thats         why       we    did        excuse

          5   whoever          was    not   qualified.

          6                                   So we       are         going          to excuse          you back             just

          7   to    the    hallway           not    out         of      the          courthouse              then       we    are.


          8   going to take             a   short break                 then         we     are going         to    re-seat


          9   you    in    numerical          order.


     10                                       If   you        have         a    high        number --         excuse         me

     11
              Im     backward           low    number           gets           the        seat        the    high       number


     12       gets    to       stand.


     13                                       We   will         call           you        back    in.


     14




     15                                       Of f      the record                   discussion at the bench


     16       out    of   the hearing          of the           jury panel                  and   Court Reporter.


     17




     18                                                                THE       COURT            He    says       he    has    a


     19       felony       conviction              he    did         time.


     20                                       This       is      240.

     21                                                                THE       POTENTIAL JUROR                    Gerald


    22        Craddock.


    23                                                                 THE       COURT            Any objection


     24
                                                                       MR.       OLD         No       objection.


    25
                                                                       THE       COURT                You    are    free       to




                                                                                                                               68
                                                        LLOYD   E.     CSR 149
                                                                     BILLUPS

                                                           omaiucot RMWO  tee

                                                              76TH   aUQAI. 00RICT
                                                                W. RFAMW.      TOM
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 72 of 156 PageID #: 1675


              go.

      2




          3
                                              Recess.

      4




      5                                                            THE        COURT            Lets        get     on    the

      6       record.


      7                                       Let    the       record              reflect          that     there       are


      8       no    prospective          jurors present                      in     the       room.


      9                                                             MR.           OLD            The       Court         has


     10       indicated          that    it       did not         indicate               to    place   the       calling


     11       of    the   jurors by name             and          number on the record.                          If     that


     12       is    not   going     to    be       done    we       would           request         that     the      Clerk


     13       certify       for    the    record          who       did not              show.


     14                                                             THE       COURT            All right.             Would


     15       it    be    easier    to    have       the       Clerk certify who                       did not          show


     16       or would      it    be easier          to have            the        roll       all   on the       record

     17                                       Lets        go      off        the     record.


     18



     19                                       Off         the         record              discussion             at      the


     20       bench.

     21




     22                                                             THE            COURT              Back       on      the


     23       record.


     24                                       I    will      not           have      the       roll    call        on    the


     25       record        it    is     my understanding                          the    District         Clerk        will




                                                                                                                          69
                                                     LLOYD   E.   BIWIPS.   CSR.   149
                                                          0FF4K    Count    prom
                                                           76TH   ACCM CMW
                                                             M. RLAWM.mw
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              call        the    roll       and    the                         will       then
          1

                                                             names                                 be    called.out              by

         2
              the Deputy             Sheriff       assigned                to this case            to the courtroom

         3
              and then           I   will       order the District                             Clerk    to    prepare           the

         4
              list        for    both       the    State                 Defense          and     the    Court        stating

         5
              who was           here      and     who did                not      appear        and a        list    of     ones

         6
              excused.


         7
                                                  So    I   will         need       a list       with     three parts.

         8                                        Is        that          a       problem         for        the      Clerks

         9    Office

     10                                                                   THE       DISTRICT           CLERK          No.


     11                                                                    THE     COURT          Lets proceed and

     12       off    the        record.


     13




     14
                                                  Off        the         record          discussion.

     15




     16                                                                    THE     COURT          Sheriff how many

     17       people        are      in    the     hallway

     18                                           Counsel                  approach              the     bench         for        a


     19       moment.


     20



    21
                                                  Off          the            record            discussion            at        the

    22        bench.

    23



    24                                                                     THE      COURT          Bobby            Im     going

    25        to     go    ahead        and       let       you      finish              calling        the    roll        so    we




                                                            LLOYD   E.   BN.UPS   CSR.   149
                                                               CFPAMLCMWMFOM
                                                                  7611.DICUL o4P1CT
                                                                    W. P EAW.     TOM
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              will     know who is here but                          dont want anyone
          1

                                                               I                                           else in the

          2
              courtroom right now.


                                             Go ahead              and          finish       your       roll.

          4




          5
                                             Off     the           record              discussion.

          6




          7
                                                                     THE             COURT         I    call    out        the

          8   name     LaWyanda            Jeffery.

          9                                                          THE         BAILIFF               LaWyanda

     10                                                              THE            COURT         Thats         as     close


     11       as   I   can     get.


     12                                                              THE              BAILIFF             No     answer

     13       Judge.


     14                                                              THE             COURT         Bobby        he        must

     15       have     heard          67         taken      off                so      67         Jeffery         is       not


     16       present.


     17                                      She    was        here

     18                                      Sheriff               see          if     theres          anyone    outside


     19       whose     name     has       not    been called                    or number.




     --25
     20                                                              THE         BAILIFF               Theres        nobody

     21       left     outside         Your Honor.


     22                                                              THE         COURT            All    right.           Then


     23       we   will      have     to    find    out        what             happened          to    Mrs.    Jeffery.


     24                                      There       are            several             of    you    obviously

              lets        go    on    the        record            --          there        are    several           of    you



                                                                                                                            7 1
                                                    LLOYD   E.     BiLWPS.     CSR.   149
                                                         ORN        COM fiýOgI61
                                                          76TH     LOCK   I.     CT
                                                            W.     PIFASAM.IMS
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          1

              obviously             standing           we            cannot                  get        all         of        the       group
          2
              inside          Im        going    to ask        all               the people                   in the          aisle          not

          3
              in the         back       but    in the       aisle                   to             out        in the
                                                                                             go                               hallway.

          4
                                                Im     going to talk to this group                                                  that      is.


          5
              seated         and    standing          in the                 back.

          6
                                                While         Im                 talking                to     this           group          Im
          7
              going to            have    the       outside           group begin                        filling              out       their

      8       questionnaires                  and     when       I           finish               my     comments              with          the

      9       second         group        we    will     send                    the         second           group           out       to    do

     10       their questionnaires                     while                 I    bring            in the-other                 group.

     11                                         Does     everybody                           understand                 what        we       are


     12       doing           I    dont want            anybody                        to     leave            for       lunch           its

     13       almost lunch time we need to get everybody                                                            accounted                for


              and   get       questionnaires              before                                  leave        the       courtroom.
     14
                                                                                      you

     15                                         Does     anyone                       have         any        questions                 right

     16       now

                                                The    ones in the aisle go to the                                             hallway
     17




     18
              you     will          receive           your           questionnaires.                                     If     theres

     19       something            you    dont understand                              dont            fill        it    out        I    will

     20       explain         it    when       you    come       back.


     21                                         All     right.                           Again           I     want           to        thank

    22        everyone            for    your patience                           it      has       been        a    pretty trying

    23        morning         for       everybody        and             I        know        everybody                  is    ready to

     24       go    so   I     want       to    get     started                       and         get     into          why     you          are


    25        here.




                                                                                                                                              72
                                                       LLOYD    E.   BILLUPS          CSR 149
                                                             antic       TcTIrTTFSorM
                                                              76TH   JIM          OLSIpICT

                                                                W.   R       $Na.     TOM
     Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 76 of 156 PageID #: 1679

            1
                                               All          of    you         have         been       told      that     you       are.


            2      here    as   prospective             jurors              for        a   capital         murder        case        I


_.
            3      want    to again introduce                     myself and                    the    parties         involved

            4      in this      case.


            5                                  I    am Gary Stephens                              I   am a Judge          out of


            6      the    Dallas       area   as    I       sit        I     live          in Ellis        County         I    have


            7      been    assigned this case                     and        will          be    picking        the    jury and.


            8      hearing       the      evidence          and        trying              the    case       once      the     jury


            g      is    selected.


          .1                                   This case occurred                               or allegedly occurred


                   in Morris         County inCason.
           11




           12
                                               The           case           was         transferred              from     Morris


           13      County       to   Titus    County.


           14                                  This              District                  Attorney         out     of    Morris


           15      County       will      handle        this           case            and       that      is    Mr.     Richard


           16      Townsend.


           17
                                                Mr.         Townsend                    will      you      stand       please

           18
                                                You         may be                seated.


                                                        normally                  --       most       of          work        is     in
           19                                   I                                                          my


          20       Dallas and normally                  I    introduce                  everybody            ask you if            you


          21
                   know     them     but    Im      sure a lot                     of      you    know      the    lawyers           so


          22       Im      going     to    dispense              with        asking you               if    you    know       them.


                   Theres        a   place    in the              questionnaire where                           you    can     tell
          23



                   us     whether      or not       you          know        the        parties involved.
          24



          25
                                                   There is another District Attorney                                          from




                                                                                                                                     73
                                                                                       CSR 149

                                                                                       W
                                                             LLOYD     E.   BILLUPS
                                                                  a     CKCM      arasýoarer

                                                                      76TH.IDcL    L

                                                                       W.   RU    Iil.MW
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                                                                            has been
           1

               Cass     County          Randy      Lee     that                                   appointed              to    assist

          2
               Mr.    Townsend.              He    will       be        here              from time to              time also.

          3
                                                  The    Defense                  is       represented              by    Mr.    Bird.

          4
               Old III            he will         be     assisted by Mr.                          Lance       Hinson            their

          5
               client       is    Mr.    Billy          Joe      Wardlow.

          6
                                                  Mr.    Wardlow                    would         you    stand

          7
                                                  Thank       you             sir.           You    may be           seated.


          8                                       Now     as       I       told            you     this        is    a        capital

          9    murder       case       and       what     we         are          trying          to     do    right          now     is


      10       talk     about         some       general         principles                   of       law    that        apply       in


      11       all     cases      then       I    will    get           more specifically                           into murder


      12       and capital             murder.


      13                                          The     first             and           most basic           principle              of


               law     is   the       presumption              of         innocence.                                     because
     14
                                                                                                        Simply                         a


     15        person       may         have       been          arrested                   for        some         offense           is


     16        certainly          no     evidence             that            the          person        is    guilty.              The

     17        fact     that      a     person          has      been             charged          or     indicted              for    a


     18        crime is          no    evidence          against                  the       person       charged.

     19                                           The    evidence                   in a      trial          must come           from


     20        the    witness          stand       from witnesses                           who    have       been        sworn       to

     21        tell     the truth and              have        been examined                       and cross              examined


    22         by     the   lawyers.


     23                                           You    as      a       jury will                decide       the        facts       in


     24        this     case          based       upon        the           evidence               you        hear       from       the


    25         witness           stand.            You        certainly                     should           not     base        your



                                                                                                                                      74
                                                         LLOYD    E.      149
                                                                       siLWPS CSR.
                                                              OFACWCOWROOM
                                                               76TH    Loicuomract
                                                                 Mr.   REti3MR.   TEXAS
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      1
             verdict        on       the    fact          that       a     person           has        been           arrested       or

      2       is    standing         trial.


                                                 I    know that all                     of you         are here             for    jury

      4       service       and       Im     sure all               of       you        know         this        is    a criminal


      5.      trial        you       probably             knew      it       before             I    started talking                 to

      6       you    this       morning          and       Im        sure           probably                if        you   did     not


      7       know    who       the       Defendant             was         you         probably            talked          to     each.


      8       other        and       were        wondering                  who           the       Defendant               was     and


      9       wondering          what       he       or    she      is       charged                with.


     10                                          And         folks               that       is        perfectly              normal.


     11
              We    all    do    that.           But       if    there             is      anyone       who is              here    and


              wonders       who      the    Defendant                is      here and what                   he did you             may
     12




     13       very     well       have       a.       preconceived                        idea       and     thats            simply


     14
              because       a    person              has   been           charged           with        a        crime       and    you


     15
              are    here       as    the    juror          that           person           must guilty.


     16
                                                 And if          you do have                    this mind-set or this


     17       presumption             then           you        certainly                 are        not      following             the


     18
              basic       principles                 of    our      law          and       that        is     the       fact       that


     19
              each    of    us       are    innocent              until             proven           guilty.


     20
                                                 The             terminology                          presumption                    of


     21
              innocence              is     something               that            lawyers            involved              in    this


     22       case     take       quite          seriously.                    Its          the       basic           cornerstone


              of     our    judicial             system            and         if         theres            anyone           in    this
     23



              group that truly                   cannot presume                         a person        to be not             guilty
     24


              before        a    trial        begins              then             you      are        just           frankly       not
     25




                                                                                                                                      75
                                                           LLOYD    E.   BILLUPS   CSR.   149
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                                                                   76TMJDcI.Lt       cT
                                                                   K9.   RFA3AM.1DCAb
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          1

              qualified            to    sit       on       a        jury.

          2
                                                   Now            I    have         already talked to you about

          3
              your       qualifications                          and          exemptions                and     what       we         are

          4
              talking          about         now       are            not       legal         exemptions             exemptions

          5
              we    went       over      earlier are the                                 legal     exemptions             that        you

          6
              may    take       in order               to        be     on        the         jury      not    only must you

              be     qualified               as            have              discussed                not                 must
         7                                         I                                                          only                    you.


         8    either          way       take       or not             take          your exemption              but you           have

         9    to    be    qualified and                     understand                    the     law.        And    if    theres

     10       anything          in      the       law       that             you        dont       agree      with        and your


     11       disagreement               is       such          that          you        cant follow            the.      law     then


     12       you    are      not       qualified                 and         thats            what     jury    selection              is


     13       all    about.


     14                                            And            folks                 there is absolutely                nothing

     15       wrong       with       any      of       you            if       you        cant         follow       some    of        the


     16       law or       dont believe                     in the              law that          applies       in this type


     17       of    case        this          is       a    free             country              we    have        an    absolute


     18       right        to      agree           or       disagree                     with     our        laws.          We        can


     19       disagree          with         our       law            as     much         as    we     want     but       we.    still


    20        have       to   be     able         to       follow             the        law.


    21                                             So           if     some of you                disagree with             the law


    22        but if      you can set aside your disagreement and.follow                                                              the


    23        law you are qualified but if                                        you have           a disagreement               with


              some       aspect         of    our          law        is      so        strong       that     you               not    be
    24                                                                                                               may

              able       to     follow            the       law                                 not     be    qualified               and
    25                                                                     you          may




                                                                                                                                         6
                                                                LLOYD   E.   BILLUPS.   CSR 149
                                                                      cmacvLcou          om
                                                                       76TH.EQM DtMWF
                                                                        W. RFAW. TONS
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                  thats        why                     reasons            the                                  will        have                  chance
          1

                                             the                                         lawyers                                        a

          2
                  to talk to you                  about         the       law involved                         so we          can determine

          3
                  whether         or        not    this         is    a      case             that           you     are       qualified to

          4
                  sit    on.


          5
                                                        Now          in        talking                   about            presumption                  of


          6
                  innocence             I    want          to    go       back                like            to    the        O.J.          Simpson

          7
                  case       we    have           all      had       an      opinion about                           O.J..         is   innocent.


          8       or    guilty              that       opinion            is          based              on    what           we    have          heard


          9       on    the       radio           and      TV    and           read                in    the        newspaper.                     Even


.        10       though          we        have        read         everything                          that            may       lead          us     to


         11       believe         that           hes        guilty                 he        is        still        entitled                to         the


         12       same       presumption                    of       innocence                          that         anybody             else           is


         13       entitled             to    at       any    trial.                     And- you                   know         just         because


         14       we    have       --        all      have       an       opinion                       on    O. J        s    case          I    dont

         15       know       that           any       of    us        actually                      know           what        happened                out


         16       there.


         17                                                You   know               we all               --    we all          think we have


         18       an    opinion             on     O.J.s             case           --        let        me        back       up        we       all    do

         19       have       an    opinion              and we            all           think            that        he       did       or       didnt

         20       do.   it     whatever               your mind-set                           is.            But     I    dont think                   any


         21        of   us     actually               could      sit         here             and        base        a verdict                   in this


         22        case-on         what          we     have     heard                onthe                  radio        and       television.


         23       We    dont know whether                             its             the          truth or not.


         24                                                And       we      are         going                to    do the           same          thing


         25        in    this          case           that       they                are           going            to        try       to        do    in




                                                                                                                                                        77
                                                                     LLOYD    E.    BILwPS.    CSR.     149

                                                                             76TH   nlpcut    DS   CT

                                                                             Mf.    REAwi.     TD AS
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          1

              California          and     that           is                 to     try        to        find       12    people
          2
              regardless          of   their        ideas                   or      opinions             who       can       give     a

          3
              fair    trial       to   the    person               charged.

          4
                                             And-Im using                           the       O.J.       example          justto

          5
              let    you    know       just    because                      you     may       have       heard          something

          6
              about    a case      doesnt           disqualify                      you         just because              you may

          7   know    something          about          the                 parties           involved            you    are        not.


          8   disqualified.

          9                                  You only become                             disqualified if                 you have

      10      an opinion         about       the    guilt                   or innocence                of     a person            that


     11
              is    so strongly fixed in your mind that                                            this opinion would


      12
              influence          your verdict.


      13                                     So     what                I    want        are       12    of    you      that        can


     14       keep    an    open       mind       and       come                  into    this          case      and     tell       me


     15       that    you will         base your verdict                                 on   the       evidence             and    not


     16       on    anything       that      you     have                   heard        about       the       people         or    the


     17       person       charged        or       the        people                     involved            in    this           case

     18       whether         they      be     the          lawyers                       the       Court              the        Court.


     19       Reporter           the   witnesses                   the victim                   or whomever.                  I    want.


     20       12    fair   people       and    I    know we are going                               to    be      able to find


     21       it.


     22                                       Now           the              State         has      what          we    call        the


     23       burden        of    proof.

     24                                       The   State must prove                               all    of the elements


     25       of    the    offense      beyond          a    reasonable doubt.                                 The      defendant




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                                                     LLOYD         E.   BLLLUPS    CSR 149
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                                                              761HLCIQKD
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      1
              has    absolutely             no    burden               of         proof              he     doesnt              have     to


      2
              testify           he    doesnt            have               to      present            witnesses                 nor     any

      3
              evidence         of    any     nature.                  He        simply has                 to    be        here.


      4
                                              The       burden                   of        proof          will        rest        on    the

      5       State     throughout            this          trial               and        will       never          shift        to the

      6       defendant.


      7                                       Now           if        the              defendant            and       his       lawyers


      8       want     to   sit       in the          courtroom and                            work crossword                   puzzles


      g       during this trial                   frankly                  I    dont            care.          Mr.     Wardlow          has


     10       nothing       to prove          to you.                  He        doesnt              have       to    participate


     11       in    this    trial           his       lawyers                  dont            have       to    participate              in


     12
              this     trial         but    they       have           to        be        present.


     13                                          Now         your               sitting              out        there        probably


     14       wondering               what        do         you                mean            they           dont          have         to


     15       participate

     16                                          Well            I     mean               since       they          are      the       ones


     17
              that     have       been accused                they              dont           have       to     do    anything           to


     18       help     the        State          the.       State                has           the    burden                the    State


     19       brought       the       charges           the          State               has    to prove              the    charges.


     20                                          If    the       State                 proves         all      of     the    elements


     21       of    the     offense         then        quite                  frankly              its        going        to be        the


     22        jurys        job      to    find       the     defendant                        guilty but             if    the        State


               fails      to    prove       all       of      the              elements              of    the        offense           then
     23


              Mr.    Wardlow         will     stand          at        the end                 of    the trial             as     he does
     24



              today       and     that      is    not        guilty.
     25




                                                                                                                                          79
                                                            LLOYD     E.   BILiuPS      CSR 149
                                                                 OmRCKCOMaýcardr
                                                                     76TH.LDcut        canna
                                                                     W. R1      3MR.    TECM
1



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     1




                                                         when                                                    dont have
              1

                                                   So               I    am saying                they                                  to

              2
                  participate           I    want       you     know          that           he       certainly              has    the

              3
                  right       to do     so    but       the     law       requires                the           State       to prove

              4
                  the    charges            and    thats          why         Im         telling                 you        that    Mr.

              5
                  Wardlow       and his lawyers have                          absolutely                   nothing          to prove


                                                               required to behere.
              6   to    you.        They     are    just

              7
                                                   Now        the       indictment                    in        this    case       will

              8   be    read to the           jury once           the         jury is             selected              once        that

              9   indictment           is    read        the    defendant                    will          enter        a    plea       of


          10      not guilty                and    the    trial          will           begin.


         11                                        Lets        back           up        for       a        moment           and     talk


          12      about       an    indictment             Im           sure      theres               a        lot    of    you     out


          13      there        that     have        an     idea           that          if        a    person               has     been

         14       indicted          then     they must be                 guilty.


         15                                        Have    any of             you       served             on    a    Grand        Jury

         16.                                       All     right.                 .      see           several              hands       of


         17       people        that have         served on a Grand Jury so several                                               of you


         18       will    know       what         Im    talking           about.              But           a    Grand       Jury is

         19       not     a     jury    that       decides              the       guilt           or        innocence              of    a


         20       person        charged       with       acriminal                 offense.                 A Grand           Jury is

         21       a    body     of     people       who        are       empaneled                    to    take        a    look       at


         22       alleged cases              and decide            whether              there          is       enough        to have


         23       a    trial.


         24                                        But     I    dont              know        how          your        Grand        Jury


         25       works        in    this     county           most of             my work                 is    in     Dallas       and




                                                                                                                                        .8
                                                          LLOYD  E. BILWPS CSR 149
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                                                                  MT.   RbW9.1D    A3
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      1
              in    Dallas           you    may have          a     Grand                Jury look               at    one    case           in


      2
              a.   month        or they          may look           at         200        cases        in        a    day.

      3
                                                  The     proceedings                           in     a    Grand            Jury       are


      4
              secret            meaning           that     the            public                has    no        access           to    the


      5
              Grand Jury and the lawyers                                  dont            even        have       access        to what


      6
              goes        on    in    a     Grand       Jury until                       someone           who        testified              in


      7       the    Grand           Jury testifies                  in trial.


      8                                           You may have                       a   police        report read to the

      9       Grand        Jury       and        that    is    all.                  That         police             report       may        be


     10       based       upon information                    gathered                   by      various             police       agency


     11       or     it        may     be        just    based               upon               what       somebody               in        the


     12       neighborhood                  said.        Wenever                     know         exactly             what    is       said


     13       or told           to    the    Grand Jury during the                                   investigation                     so    it


     14       certainly would be inappropriate                                              for any             of you        selected


     15       for    this        jury to          assume that                   simply because                        a     person          has


     16       been        indicted           that       person            is         guilty.


     17                                            The    indictment                        in a       criminal              case       is     a


     18       document           that       lets the          State              know           they have             to-prove               it


     19       lets the Defense                    know what               they are charged                            with        if-they


     20       want         to        prepare        a     defense                    they         can           do     it     but           the


     21       indictment               is    no    evidence.


     22                                            If    any       of         you         have         been          involved           in        a


    .2         divorce          or civil          lawsuit          you know                     that   the proceeding was


     24        started          with        a     filing          of        a        petition                a       petition           that


     25        alleges why                 you    should have                   a        divorce           of    why        you    should




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         I
             be     awarded             money              or       why          you           should            be        ordered       to    pay

                          in a                         lawsuit                                               indictment                 is its
         2
             money                      civil                                   and        all         an

         3
              a    pleading                  its           a    pleading                       in      a    criminal              case         lets


         4
              everybody             know         what           the         charges                   are.and              after    its        read

         5    to    the        jury          the       jury               should               just         basically              forget        it


         6    because          it       is       not       evidence.


         7                                             If       the           State             stood            up    and        read    to    you

      8
              the   indictment and sits down they wouldnt                                                                   have presented


      9       anything          for          your          consideration.


                                                       So       I       want          to       stress            on    each of you that
     10




     11
              just because                   a   person                 has      been indicted                         is    absolutely          no


              evidence          that             they          are        guilty.
     12




     13
                                                       I       want              12        people            who            can    think        for


     14
              themselves                 I   dont want                          12    people               on the          jury that       says


     15
              Well         I     have            read          in        the         newspaper               that Mr.              Wardlow       is


              guilty so             I    think             I    will            go       along             with       the     paper.
     16



     17
                                                       I       dont                  want       people                on    the     jury       that


     18
              say        Mr. Wardlow                       has           been          indicted              so       maybe        that    Grand


              Jury heard                something                   I     didnt                hear         so    I    think       he    must be
     19




    20
              guilty.

                                                       I       want         people              that        have           their own minds
    21



              and independence                         and      will             look at              the evidence                 and decide
    22


              for    themself                the       guilt               or         innocence                  of    Mr.        Wardlow       and
    23


              if    you    can tell                me that                 you          can         do that            I    think you will
    24


              be    an    excellent                juror                 in      this          or any            other case.
    25




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                                                       Now                told            you that the defendant                          does
              1

                                                                     I


              2
                  not    have to testify or participate                                                  but    I    want       you to know

              3
                  that        he     certainly                 has        a        right            to     participate              in     the

              4
                  trial.            He    can    testify                 if        he wishes               to       do    so    and he     can

              5   call       witnesses           to        testify                 if     he wishes                 to do       so that     he


              6
                  certainly              always                has       a         right            to      cross           examine        any

              7   witnesses              put    on        by    the       State.


          8                                               If    the       defendant                      does       choose       to testify


          9       then       you     are       going           to        judge            his        testimony and                credible


         10       testimony               the        same            as        you            will         the           testimony         and


         11       credibility              of       other            witnesses                    that         testified.            If    Mr.


         12       Wardlow           chooses          not         to       testify                 then         you       will    then      you

         13       are        going       to     base           your          verdict                on     the       other       witnesses


         14       that       you     heard          from and you                          certainly                 cannot        speculate

         15       about       why        Mr.    Wardlow               didnt               testify              if    he     doesnt.

         16                                               Speculation                        is      not       the       basis     of     your

.        17       verdict            evidence                  thats what                      you        base       your verdict           on


         18       so    if    a     person          testifies                  judges               that       testimony and that


         19       credibility              but       if        a person                 doesnt            testify          in his or her


         20       trial        then           you     dont                have            anything                  to    judge     or     way


         21       concerning              that        persons                      credibility                  and what          you     need


         22       to    do     is    to    be       able        to       just            put        it    out       of    your mind and


                  weigh       the        facts       that           you        have           heard.
         23



         24                                               We    certainly                    in this            country          dont want

         25       people           being       convicted                  on            speculation                 or    guesswork        so


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          1

              folks       you          cant           speculate.


                                                                                                      doesnt testify
      2
                                                      If       the          defendant                                                    there

      3
              may be many reasons                           a person                   chooses             not       to testify.             You

                                                                              --
                     have                                                                now                           back
      4
              may                 a     person                 that                                   let       me                up    for    a

      5
              moment          I       am    mentioning                        the         attorneys                  and    Mr.        Wardlow

      6       from       time         to     time           but             when         we          are    going          through           jury

      7       selection            we       are           not       permitted                   to     discuss             the    facts       of.


      8       the    case         so when             I    am discussing                             various examples to try

      9       to    illustrate               a    point             I       dont want                      any    of      you    to assume


     10       that       Im   using              an       example               that          will         apply to this trial.


     11
              Im     talking            about             trials               in        general            when       Im       going over

              principles               of    law.
     12




     13                                               Now           there              may be many                reasons          a    person

     14       chooses         not           to    testify.                           A        person         may       be       borderline


     15       retarded             maybe          a       person               has        a    speech            impediment              maybe


     16       a    person         is       just           so    shy           if       he      or     she        testifies             or-gets


     17       up    to   talk in front                         of       a     group of                people         they        freeze      up.


     18       Maybe       a   person              is           just           not         as         bright          as     some       of.   the


     19       lawyers         that          are       going             to          be    asking            the      questions.              You


     20       may    get      somebody                    on        the         witness               stand          that        is    not    as


     21       educated            as    a lawyer and                         before            the testimony is                       over the


     22       lawyers may have                        that witness                        saying             Black          is   white and


     23
              white      is       black.


     24                                               Folks                 there           are hundreds of reasons                          why


     25       a    person         may choose                    not          to       testify              so    thats why we                 are




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       1

             not     to     speculate              about       a       persons                       right       not       to    testify
      2
              if    they     do     fail          to    testify                    frankly                  they       have       nothing

       3
              to    prove        then-theres                 no        reason                   to    testify.


                                                                       wanteach
       4
                                                   So    I   do                                       of    you       to    realize if

       5
              you     are         chosen           you       cant                  guess              or         speculate            about


                                                        your verdict                                  what
       6
              anything            you       base                                                on               you       hear.


       7                                           And       Im         sure              there            are    several          of      you.


      8       out     there        that       are        saying               to          yourself                Judge            wait      a


      9       minute         if     Im        charged           with               a      crime            and    Im        not    guilty

     -10      I    am going        to get          up and          tell             the             world    I    am not guilty.


     11                                            Well        folks                      if        Mr.    Wardlow          is    charged


     12       with     an    offense              and    when          that               indictment              is       read. to        the


     13       jury     hes         going          to    plead               not            guilty            and       hes        telling


     14       the world            at       that       point       that             hes              not    guilty.


     15                                            After that the State will                                          put on       all     the


     16       evidence            that       they        have           or         want              to    put        on   and     if      Mr.


     17       Wardlow        wants           to    participate                      and             put    on    evidence             he   can


     18       but     he     doesnt                have       to.                  No          one        has     to       incriminate.


     19.      himself        or give              evidence              against                     himself.


     20                                            And       for us                to      keep our system going the


     21       way     it    is    and       have        what       I        consider                  to    be    one      of    the       best


     22       legal        systems           in     the      world                 weare              all       going       to have          to


     23       be    able      to    go       through           some                mental gymnastics                            and     those


     24       gymnastics            include              putting                   aside             what        we    think       we       may


     25        know        about        a    case         putting                  aside              guessing              basing          our




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              decision on what. we hear and what we understand                                                                  not what
          1




      2
              we    guess.


                                                  And       theres nothing                             wrong       if       you      cant

      4
              do    it.         We     have       200    people              we      only              need       12    of      you       but

      5
              we    have        200     because          theres going                         to       be    some       of       you      out

      6
              there that               just    frankly           cant            sit          on       a    case       if       a person


      7       doesnt            testify.               Theres             going             to     be       some        people            out.


      8       there           tell     me    they       believe             anyone                indicted             is       probably

      9       guilty.


     10                                           I     want        honesty                 from you              and       I    believe


     11       you    will        be        honest       and    well make                      this          process             as    short


     12       as we           can but when we talk to you individually                                                      there may


     13       be    those            that    cannot         follow the                      basic          principles                of    law.


     14       that        I    have        discussed.


     15                                           Is        there           anybody                    that       just           doesnt

     16       believe           in     our    system

     17                                            In    other            words              is        there       anybody                that


     18       does        not         believe          in     the         presumption                       of     innocence                or


    19        somebody               that    doesnt           believe              that            the       State          should be


     20       the     one       that        proves       all      the        cases

     21                                            I    see      no       hands             so     I       take    it       that          each


     22       of    you can            follow the             basic          principles                     of    law.


     23                                            In       Texas           when              the          trial            begins          it


     24       basically               takes       part      in      three         phases                   the    first          part of


     25       the     trial           is    the    voir dire                 the            jury selection                      process



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              thats        what       we
      1

                                            are           beginning               now.


                                                                                                                   we start what
      2
                                                 Once the                jury is               selected

      3
              we call       the        guilt          or innocence                       phase            of    the    trial               the


                                     put on their evidence                                then        they will             rest the
      4
              State will


              Defense                            want                                                evidence
      5
                                if     they                    to    put          on      any                            they put on

      6
              their        evidence             then           they           rest             both            sides        close           we

      7
              prepare           what       is    called             a        Courts                  Charge                the    Charge.


      8       will    contain             all    of       the       law that                  will        apply when             you are

      9       reviewing           the       evidence.


     10                                              The       Charge             will          also           list      all      of       the


     11       elements           of       the        offense            that            must          be       proved        before           a


     12       person       can        be    found          guilty.


     13                                              After          the         Charge               is    read        to       the        jury


     14       each     side          will       be    permitted a certain                                  length          of    time to


     15       present       their arguments or summation of the evidence                                                                   then


     16       the     jury is             retired to deliberate.


     17                                              If    you       come           back        with           a   not     guilty the


     18       trial        is    over        and          we   go       home              if     you           come    back       with        a


     19       verdict           of guilty then we                       enter into the punishment                                      stage


     20       of     the    trial.


     21                                              And       the       punishment                       stage       of    the        trial


     22       sometimes              --     well           in a         punishment                    stage           sometimes             you


     23       will     hear          evidence              that         maybe            is     not        admissable                 in    the


     24       first        part       of    the       trial.


     25                                              Now        the          first         part       of the trial                I    guess



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              we could
          1

                             say is           basically                there            to     find       out     if       something
          2
              happened           and     if     so        whether                  or        not        the       defendant             is


              responsible.

          4
                                               If.     you             find              that        the         defendant              is

          5
              responsible              and     is    guilty                then          the       second             part       of    the

          6   trial    is    to    find        out    something                     about          the       person         you       -have


          7   convicted          so that       you can             set the               appropriate punishment.

         8                                     So     the          first            part           of     the         trial       after

         9    jury    selection               Did         he      or did             he       not       do    it
     10                                        Second             p art             What           kind          of    punishment

     11       is   appropriate

     12                                        Now          what             Ive              talked             about        so       far


     13       applies to all             criminal cases                           including               murder cases                 but

     14       a    capital       murder         case         is        a     little             bit       different.                   The

     15       jury    selection               process           takes              longer            in      a    capital             case

     16       because       each       side     as    I     said           earlier today has                           a    right to

              talk    to    the        jurors        individually                         about         their                           to
     17
                                                                                                                       ability

    18        follow       the    law.


    19                                         Then once                the jury is                  selected              the    first

              part    of    the        trial         is    the                                          other                          the
    20                                                                  same            as     any                     trial

    21        State    puts       on their witnesses                               the         Defense           puts       on their


    22        witnesses           if         they wish                     then           you           decide          guilt           or.


    23        innocence.


                                               If                 find
    24                                                you                      a    person              guilty of             capital

    25        murder       and    the        difference                comes             in    the       punishment               stage




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          1
                  of    a    trial              because         in the              punishment                   stage       of     a   murder

          2
                  trial          theres              only       one      or         two            punishments               its         either


                                                                               or death
          3
                  life       in the              penitentiary                                             by    lethal       injection.

          4
                                                           But       before                I       talk        about        what        capital

          5       murder          is        I    want      to     go     into           a      little           bit    of    what        murder

          6       is.


          7                                                We are going to hand out questionnaires.


          8       in     that          questionnaire                   you          are going                  to --    well            you   are


          9       going          to have             about      11     pages            to         fill        out    and    on    the    first


1        10       page       you           are       going      to      have           a       place           that    you    can        circle


         11       how       you            feel      about        the          death               penalty           and     whether          you


         12       think          its            appropriate              or         not.


         13                                                 The    first             question                 will    ask whether             you

         14       believe                 the       death    penalty                 is        appropriate              in        all    murder


         15       cases           if        you do you circle                          Number              1    the    next        question

         16       Number              2     is      a statement                that            you        believe       that the death


         17       penalty is appropriate in some murder cases and you could


         18       return              a    verdict          which         assessed                      the     death       penalty..           If


         19       you       --        if    thats           the      way        you            feel           then    circle           Number     2



         20       and Number                    3   says     I       dont believe                             in the        death       penalty


         21       but       if    the           law provides             for it                I    could assess              it         thats


         22       your        feeling                thats           three                 right          on    down        the    line       you


         23       have        six          different            answers               that           will       help        these       lawyers


         24       kind           of        focus      on     whether                they           need        to     talk        to    you   and


         25       what        they          need       to    talk        to         you        about.




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                                                     But                        know            before                  can     fill          out
          1

                                                                 you                                          you

          2
                 this     questionnaire                    you       need                to     know     a    little            bit          more

1         3
                 about        what      murder           is.


          4
                                                     Murder                  is          a      homicide            but         not           all


          5       homicides             are murders              so           lets             just    classify           a     homicide

          6       as    unnatural               death             homicide                      could    result           from           a    car

          7       accident          or from a              gunshot                   we      have      justifiable              homicide


          8       and    we    have          non-justifiable                           homicide.


          9                                           Our       statute                     defines      murder           which              is    a


         10       homicide          basically              is    the                intentional           taking           of       another


         11       persons           life       without          legal                 justification                 or excuse.                    If


         12
                  theres        a       legal        justification                             or     legal    excuse               then          it


         13      would        not       be    murder.


         14                                           If    I    were                 to       go   outside         say       in     a       park


         15       somewhere and                discharge                 a          firearm shoot                  it    straight                 up


         16       in    the    air       and       the     bullet                   came       down    and     killed           somebody


         17       that    would          be    a     homicide                 but         it    wouldnt necessarily                               be


         18
                  murder.           I   may not have                 intended                   to.   kill      I       may very well


         19
                  be    charged          with        negligent                      homicide..


         20                                           Maybe              I          am       charged          with        some           other


         21
                  offense       but          Im      not        guilty of                      murder         because           I    had          no


         22
                  intention             to    kill    at that                 point.                Remember            murder         is     the


         23
                  intentional                 taking            of           anothers                  life         without              legal


         24       justification                 or excuse.


         25                                           Maybe          I        was          drunk      when     I        fired       the       gun



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      1

              up    in the air             and      its      absolutely                     no    excuse        at    all         that

      2
             may very well                 show a callous                      disregard for the rights of

      3       other people               but        in this       example               its         not murder because


      4       there was             no   intention            to          kill.


      5                                             Theres           another                 classic           example             you

      6      might come              home      and        find    your spouse                     in bed with               someone

      7       else        you       might           become        so         enraged              you        take     a     gun    and


      8       shoot       one       or both          of    them.


      9                                             You     have           committed                a        homicide           maybe


     10
              its     murder maybe its                           not        murder thats what                             the     jury


              is    to    decide.              If    a     person            acted           on     sudden          passion        and
     11




              this    passion basically                      overcame                  your reason              you may very
     12




     13
              well be guilty                  of    manslaughter but not                                murder but           if    you


     14       know       what       you       are     doing           and            you     wanted           to     kill       those


     15       people       and       you are calm and cool                                  about       it    thats murder


     16
              thats why              we       have        juries            look        at       the         facts        take     the


     17
              facts       of     each         case         look       at        the         events           and decide           what


     18
              events           if    any      was     committed.


     19                                             Maybe you see someone                               molesting a child


     20
              and you          try       to    stop        that       person                without           using       a weapon


     21
              and that          person             starts to              overpower               you        and you        have    to


     22       use     a   weapon              to     defend          yourself                 and        the        child       being

              abused.               That       is     not     murder                   thats            self-defense               and
     23


              defense          of    the      third person.
     24


                                                    You     would.            absolutely                 be    guilty         of    no
     25




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              offense           that         would        be             not                                 case       based              those
          1

                                                                   a                    guilty                                       on

          2
              facts.

          3
                                                   Murder                is         the             intentional                  taking        of

          4
              another       persons                  life          without                      legal           justification                 and

          5
              excuse        I        want       to       kill          and          I     do            it         thats murder.

          6
                                                   Now          Im             going                    into       this     because           Im
          7
              going        to           have         a        lot             of           people                  fill          out       their.


          8   questionnaire                  and         sometimes                       if         I     dont            get    into       what

          9   murder       is       and      isnt         I     will            have                a    lot       of     people       tell    me

     10       that they believe                    the death                    penalty is appropriate                                    unless


     11       maybe    a    person              is       killed               out          of           self       defense           and    then


     12       maybe    life             in   prison would                       be        appropriate.

     13                                            See          if            you         kill               out    of     self        defense

     14       theres        no          offense          committed                             if       you     kill        by       defending

     15       another person                   there          is       no offense                        committed              so when       you

     16       are   filling             out     that       questionnaire and the question                                                   asks


     17       you to explain your feelings                                              on the               death        penalty and we

     18       ask.what          is.your            feeling on the death                                        penalty           I    want you


     19       to    keep        in       mind        what          murder                      is        and       isnt         because        if


     20       theres            a       legal        justification                                      or     excuse           theres         no


     21       offense       committed                    and           theres                      no        punishment              for    that


     22       offense.


     23                                            Now             I     havent                         told       you     what        capital


     24       murder       is.               You     know              that             murder                is    the         intentional


     25       taking       of       a    life      without                legal                 justification                    or excuse.




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          1

                                              Before         I         get        to     capital               murder       I    want

       2
              to   also talk         about         the     punishment                     range           for      murder            you

          3
              probably       wonder       why       we     are           going            to do that                if    this        is

       4
              a capital        murder         case.

       5
                                              We    are going                     to do        it      because           a capital

       6
              murder      case       could          very          well             result              in      a    finding           of


              murder      not capital              murder                    will         explain how that could
       7
                                                                         I



       8
              happen      in   a    few   minutes                 if         a    person            is    found          guilty of

       9      murder      in       this       state        then              the         punishment                 would        be       a


      10      minimum of           five    years          to       a      maximum of                     99    years      or     life


      11      in the      Texas      Department              of          Criminal Justice.                               There       can

      12      also be      a   fine       assessed.


      13
                                              Also        in       Texas            if        a     person          is    eligible

      14
              for     probation           the       jury           could                consider               probation              for


      15      murder.


      16
                                              In    this          state            if     a       sentence          assessed              is


                    years or less then                    the          jury must                  also decide              whether
      17
              10


     18
              or    not   that      sentence          will              be        probated               or    served           in    the

     19
              penitentiary.

     20                                       If    you          set         a     sentence               of       more    than           10


     21
              years       11       12   or     up    then              probation                  is     not       an    option           so


     22
              you    would     never          consider              probation                     but     if       you    are        on    a


     23        jury    and     find       a    person             guilty                 and        determine             that        the


     24        appropriate          sentence         would be                     10 nine eight seven                                 six


     25        or five     years and you                 also            have           to decide              whether          or not




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              probation          should       be    granted.


                                                     Im
          2
                                              And                sure         there           are lots          of       you that
          3
              are     sitting          out     there           saying                   Well             Judge           you         are


                                                                                   Im
          4
              sitting       here           telling        me          that                    here        for        a    capital

          5
              murder       and       now    you     are      talking                 to       me     about       murder              for

          6
              probation.

          7
                                              Folks              we             have           a     wide            range            of.


      8
              punishment              in our       law we have                  a wide         range of punishment

      9
              provided          by    law because           we        have         a    wide        range       of       offenses

     10       and    the    way       an    offense        occurs.


     11
                                              If    a     person              is        eligible           for       probation

     12
              in     this       state        that        means              they          must           not     have           ever

     13
              committed          a    felony        offense                 or     be         on    probation.                  If     a

     14
              person       is    eligible for probation                                 and    you are a             juror and

     15
              you are       called         upon     to    assess             the        punishment              it       may very

     16
              well    be    something          that        you         have         to        look       at.

     17
                                              If    you        as       a     jury        decide           that          you    want

     18
              the    person          probated        the         Judge           has      no       choice            the       Judge

    .1        will              the
                      put              person       on     probation                    for        whatever          period           of

     20       time the          Judge       decides       is      appropriate                      up    to    a maximum of

     21
              10    years.

     22
                                              Now         on          probation                a     person              has    many

     23       obligations              in addition               to      obligations                     that    we       have        as

     24       citizens          the obligations and                      responsibilities of a person

     25       on     probation          are    set        by      the           Judge              the    jury           does        not




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             determine what               those          conditions                          are          the    court        does.
      1




      2
                                               The       jury decides                              guilt or innocence                    and

      3
             decides         either            prison                 or             probation                  but      the        Judge

      4
             determines            the    probation                   condition.


      5
                                               Conditions                           of       probation               could        include

      6
              the    fact    this        person              has      to work                   and       support           his    or    her


       7
              dependents            has        to       remain              in           a    specified               area        such    as.


      8       Titus        County        if       a     person             lives               in       another         county          then


       9      we    can     restrict           that           person                 to       living            in     that       county.


      10      We     can     include               in        the           probation                       conditions              random


      11      urinalysis for drug use.                                The            Probation                  Department          would


      12      have    a    right     to       visit          the       probationer                         at    his    or her work


      13      address        and    home          address.


      14                                          One        thing              I    try           to     impress upon             anyone


      15      that     I    put    on     probation                   is            that        basically              he    have       been


      16      found        guilty of          a       crime           they               deserve            a    prison       sentence


      17      and instead           of    spending               that               time in prison                    they can stay


      18      on     the    street        as       long          as      they             do what               they    are        ordered


      19      by     the    Judge.


      20                                           If        a        person                   violates                his        or      her


      21      probation           then        he        or    she        can             be        arrested            brought           back


      22      to    court and without a jury trial                                              and       a determination                 can


      23      be     made by       the        Court as                to whether                        or not        probation           was


      24      violated.            If     so       the       Judge              can          revoke         the       probation.


      25                                           You       may         be          on       probation              for      10    years



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               I
                     it     may       be    the       last        day    of      your probation and                                    you may go

              2
                     in     for       urinalysis and                    they            find              out         that       you    have      been


                     using        marijuana                 or    cocaine                 you             can         get    your       probation

              4
                     revoked           and       it     can       be    revoked                       for       10     years           you    can      be


              5      on     probation             for        10    years                you               mess up           on    the     last      day

              6      of     probation             and       you        are    gone               for            10    years.


               7                                            Probation                  is not necessarily a cakewalk..


              8       I    know       a    lot        of    people           get          a       bad           taste        in    their mouth


              9      when        they           think        about           probation                          but        theres            so   many


             10      different              ways           that    offenses                   can           be        committed               theres

             11       so    many          different              ways    and            conditions                         and    the     jury       has


              12
                      discretion                 and       thats         why             I       want                you     to    think          about


              13      probation because                       I   want        you when you                             come back          and       talk


              14      to    us     individually                   you    are going                         to        be    asked       whether         or


              15      not     you         can    keep        an     open         mind to                        probation          in     a    murder


              16      case       and       you    are       going       to be            asked whether                           or not you          can


              17      keep-      an    open       mind to           life         in prison                       or the           death       penalty


              18      and     if       you        cut       off        either                end            of        the        spectrum         in    a


             19       capital             case     then          you    are       not            qualified.


             20                                              If    you       can             keep               an    open       mind     and       tell


             21       me    and       these        lawyers             that       you             havent                  excluded        the       high


             22       or    low       side        and       that        you.willbase                                 your    verdict           on    the


              23      evidence             then        we    want       you        on         the           jury.



    \
              24                                             Now        you            heard               me. say          earlier that               In
.




              25      order for              a    jury to           convict                   someone                 of    murder        you       must




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           1
                  be      convinced           that        this       person              took              the    life        of    another

           2
                  without          legal          justification                      or       excuse             but         you    did     not

           3
                  hear me talk                about       motive.                   Theres                 no    requirement               that

           4
                  the       State       prove       why     the       killing                 occurred.


           5                                         And        if     you           think            about            it    actually        it


           6
                  doesnt matter why                        it    occurred.                       If        I    kill         somebody       and

           7      I       dont     have       a     legal       excuse              then          Im           guilty of           murder.


           8                                         Why         you       did           it           is       immaterial            to     the


           9      issue of          guilt         but     the motivation                         may be important to you


          10      when you          set punishment                    so in the                  first           part of the trial


          11      the       reason        a   person           commits              the          offense           is        unimportant


           12     Did         he   or did           he    not     do       it          yes            or       no
           13
                                                         But     in the             second             part       of        the    trial    you


           14     are        going       to       look      at       the       motivation                         look        at     all    the


           15     circumstances                   surrounding                the         offense                 and you determine


           16     the        appropriate             punishment.


                                                         The     motivation could be greed                                          it     could
.          17




           18     be        anger       the       motivation            may be fear                             the motivation               may


                                        it                                          love              it       may be         out    of
           19.    be        mercy              may be           out     of                                                                  pure


           20     meanness.               There          are many             reasons                 a        person        may kill.


           21                                            Now         the      reason                  he       does     it    if    its      not


           22         a   legal     reason          like        self    defense                       again is               immaterial to


           23         guilt       but   thats why                we    have             a     two          stage        trial       when     you


                      try    to    find       out    something             about              the person                    and why he did
           24




           25         something           then           you     get          a        feel            for        that         person        and




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                  determine          whether                               not           this
           1

                                                                 or                                       person           is    a     continuing

           2
                  danger       to    society              or whether                          this was                an    isolated event.

           3
                                                         If       you           think             the           person          that       committed

           4      murder       is    really dangerous                                      and            did    so     out       of       meanness

           5      for    instance                  if    you           think               hes going                    to      commit            murder

           6      in    the    future              you    may want                        to put                that                       in prison
                                                                                                                           person

           7      for    life.


           8                                             But          if     you           see that               person          acted           out    of


           9      something          other              than           anger               or         meanness               maybe           a    person

a         10
                  acted       out    of        mercy                  maybe               a    person             acted          out        of        love

          11      whatever           if        you       do       believe                     that             this    person          acted          with


          12
                  the     motivation                    that       would                  not         apply to the rest                          of    time

                  --    in    other           words              if        it      were               a
          13                                                                                               mercy        type          killing           you

          14      might       think           that       a       person                  would             never        ever          be     a    threat


          15      to    society          and        that         it        was           an     isolated instance                               and that


          16      maybe       its            the    kind          of        case              you         would        want       to       probate.


          17                                             You might                        look            at    a person          and based              on


          18
                  his or her age                   think           that               well                what        they did certainly


          19      was    not     right             but       I    cant               see          this           ever       happening                 again


          20      because           of        peculiar                     circumstances                              of        the        way         this


          21      happened          and        that          might be                     a    person             that          you    would          want


          22      to    put    on    probation.


          23                                             Again                  all           Im          asking        each of you                   to do


          24
                  is    to    try        to        keep          an     open              mind and                if       you        can        keep    an


          25      open       mind        I    want        you           on       the            jury             okay           and        if     not    we




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                                                                                   Mr.    RFAW1r. TDNS
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       1
              will        have      to   excuse               you     and              put        you           on    another                 one.

       2
                                                        Now         if          you            could                 never               truthfully

       3
              consider             probation for anyone                                     convicted                  of       murder             I    want

       4
              to    know       about          it        and so.do                  these              lawyers.

       5
                                                        And     like               I      said                 earlier                   we    are          not

       6
              going to take               issue           with that                         you        have an absolute                                right

       7      to    your           feelings             and     no       one              is          going           to        disagree                   with


       8      you.           You    are going              to have                 or we              are        going to have                         a    lot


       9      of    you out there.that                          are going                     to        tell          me you              cant give

      10      probation and               Im            going        to        have            a      lot        of    you tell                 me that


      11      you        cant        give          life        and        I        cant                stress              it        more          than        I



      12
              have.           Just       be        honest        and           tell            us          how       you        feel.


      13
                                                        When         Im                talking                       about               considering


      14      probation               that              you     have               to        sit               here     before                 a       trial


      15      starts          and     tell          me Yes Judge                                           I    will        give              probation


      16      if     a       person      is         found        guilty of                            this           offense                   Im           not


      17      saying          that       at        all.        Im        saying                   I    want           you       to        be    able         to


      18      keep your mind open                             and.    consider                        it       if     appropriate                          give


      19
              it     --      its      not          --     dont           give                it            but        when           I    talk         about


      20       considering                     I    mean        more               than            just             give        it        a    fleeting


      21      thought.


      22                                                Its         kind               of     like              if    you         are          going         to


      23       buy       a    new     car            maybe           you               would               like        to        have          a        Rolls


               Royce           maybe          you         would          consider                          buying           it           but       if       you
      24



      25
               dont make enough money                                 to buy                 it        theres               no way             that         you



                                                                                                                                                             9 9
                                                                    LLOYD     E.   BILLUPS  CSR 8149
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              can       buy       a     Rolls      Royce                                considered                                it
       1

                                                                       you                                           buying                  you

       2
              realized you                   cant       and.          move              on        and buy            something          else.

       3
              Thats           not       the    type         of    consideration                                     that    Im        talking

       4      about          in   giving           consideration                                 in a         murder       case.

       5
                                                   Im        talking                    about             you       have    to    be    able

       6
              actually            able        to   have          an open                 mind and not                  only consider

       7      probation                but    give      it       in      the            appropriate                   case.


       8                                           And it             may be one case                               out of a thousand


              and       if   your mind is close                                                                     probation
       9                                                                to ever                    giving                               fine

      10
              but       if    your mind            is        open                 that            its         a     possibility              let


      11
              us    know.


      12                                           Okay.              We          talked                 about       murder           what    is


      13      capital         murder

      14                                           Capital              murder                     is     murder       plus.


      15                                           I         told                 you                  that         murder        is         the


      16      intentional                    taking          of        anothers                              life     without           legal

      17      justification                   or   excuse.


      18                                           Capital murder is a murder which                                                    occurs


      19      during the commission                              of    another                         felony.        If    a    person       is


      20      burglarizing                   someones                 home              and            during        the    burglary          he


              kills          somebody then                  he
      21                                                          may be                       guilty of             capital          murder.


      22      If    a     person         commits a murder during                                              a robbery          or    during


      23
              an    arson then                hes           guilty or                          may       be       guilty     of       capital


      24      murder              if     a     person             kills                 two              or    more        people       in     a


      25
              criminal             episode             or    transaction                               that       would     be        capital




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              murder      like          the       O.J.         Simpson                          case     two                     were
       1

                                                                                                                 people

              killed                   in    Texas       would
       2
                         that                                                    be      capital         murder.

       3
                                              I    dont               know               about         California             law      I


       4
              dont care        about         California law but the killing                                              of    people

       5      in one    transaction               would be                     a capital               murder                         of
                                                                                                                     killing

       6      a    policeman       or       fireman           while                     on      duty     would       be       capital

       7      murder     if       you       hire    someone                      to      kill      another          person       that


       8      is    capital       murder.


       9                                      So    capital                      murder           is   murder        plus        its

      10      basically       a    murder          that        occurs                    during the            commission             of


      11
              another    offense.


                                              In    this            particular                     case       the    indictment
      12




      13      alleges    that          On     or about                 June               14th         1993    the       Defendant


      14
              did    intentionally                 and       knowingly                           cause    the       death        of    a


      15      person    by the name of Carl Cole by intentionally                                                         shooting


      16
              him in the          head with             a    firearm.


      17
                                              The    indictment                             further       alleges that              the


      18
              offense     occurred                during               the              commission             or        attempted


      19
              commission          of    robbery.


      20                                      So    what            do we                 have     in the       indictment.


      21
                                              We     have              two              allegations                 we    have        an


      22      allegation that the Defendant                                        killed somebody and we have


              an    allegation          that       he       killed                  somebody during                  a robbery.
      23


                                              In    order for                           a       person    to    be       guilty       of
      24



              capital    murder under these                                circumstances                   you as the            jury
      25




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       1
              would have to find that the murder was done intentionally

       2
              and    that      it    was done during the commission                                                 of    a robbery.


       3      You    might          very       well     find          out        that               a   person           committed     a
       4      murder      but       maybe        it     was     not           in       a      robbery              --    and   Im     not


       5      talking       about              this     case          again                folks               I     read      you    the

       6      indictment            and        thats         as close                 as      Im        going to get to the

       7      facts    of      this        case.


       8                                         Frankly               I      dont know                        much       more    about


       9
              the case         than       I    just told            you.               I   am sure some of you                        out


      10
              there       have       heard        or     read         more                about          it    than        I   know    so


      11      again       we        are        getting             away               from              specific            instances


              involving             this       case.
      12




      13
                                                 So     if     a      person               is           involved          or   charged


      14      with    a     capital            murder         during                  a    robbery                 the    State      must


      15      prove       the       intentional                taking                 of        a       life       and     they      must


      16      prove    that          it    was        done     during that                          robbery..


      17
                                                 If      the          State                doesnt                  prove       that    it


      18
              occurred         during a robbery you may believe                                                      that a murder


      19
              occurred         but        it    wouldnt             be        capital                   murder          without      that


      20      robbery       element             so     then     what            would               you       do

      21
                                                 You         would            find              the         person         guilty      of


      22      murder then you would                       have         to set that                       punishment             between


              five    or    99       years or life                  in        the          penitentiary                   or you      may
      23


              find    that          murder        did        not        occur.             but          a     robbery          occurred
      .2


      25
              then    you would                find    the      person                guilty of robbery                         and set




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              the
       1

                     appropriate               punishment.

       2
                                                To   be capital                    murder both             had to occur

       3
              the murder during the commission                                       or attempted                   commission

       4
              of    another           offense.


                                                Now
       5
                                                           if       a      person             is     found          guilty           of

       6
              capital       murder then              in the          punishment                    stage       of    the trial

       7
              the jury will             answer           certain          questions                 you    dont         go back.

       8      there and just say                     Well           we think              its           life    or we      think

       9       its death               you     answer       some questions                         and based          upon the

      10      answers to those                  questions                the end          result will                either be


      11       a   life    sentence            or    a    death          sentence.


      12                                        Once you find a person                              guilty of capital

      13      murder        in        essence        the        law         says         that        the        appropriate

      14       sentence          is    life.


       15                                       Conviction                    of         capital               murder           will


       16      automatically              get        a     life           sentence             for        the        defendant


       17      period.


      18                                        But       our law also                   says       that       if    the    State


       19      believes that             death       is.    appropriate then they may                                   ask the


      20       jury       for    death         and       they     do       this          by    asking          the      jury         to


      21       answer      certain         questions.


      22                                        Since       the          law presumes                   that     life      is    the


      23       appropriate             sentence           upon           conviction                of    capital           murder


      24       and the          State     has       the    burden            of      proving            the     appropriate


      25       answer       to    questions              that      will            be    submitted              to you          as    a




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       1

              jury.

       2
                                                   I     cant                 tell            you            exactly               what        the

       3
              questions            are    because             its             going                to    depend          on     the       facts

       4      of     this        case.                 There        will                 either              be     two            or     three

       5
              questions             one           question                   will             ask            about            the       future

       6
              dangerousness               of       the        defendant                        it       will        ask       whether           or


       7      not     you       believe           that        the      defendant                        will        be    a        danger       in


       8      the     future.            If       you     believe                based                  on   the     evidence              that


       9      he     will       then     you       will       answer                 that           question                  Yes.

      10                                           The       second             question                     it     may        or may          not


      11
              be     presented to              you depending                             on the              facts            inquires as


      12
              to      the        defendants                    involvement                              in     this            particular


      13      offense            did he           do    the     actual                   killing               if    he        didnt did

      14      he     intend        that       a    death        occur

      15                                           You answer                  that question.                            If    you answer


      16      the     first        question             Yes          that                hes going                  to        be    a    danger


      17      in the        future        and          you     answer                the           question.Yes                         that    he


      18      either        did the           killing           or       intended                       that      death            occur       you


      19      have       got     a death          penalty               two          Yeses                   equate           to_death.

      20                                           But        theres                 a        third question                        and.   that

      21       is    a    question        we           kind    of       give                 to     jurors as                 an    out you

      22       are       going to be              under        oath           torender                       your verdict                 based


      23       on    the    law.    and       the       evidence               and            the       evidence              and the          law


      24       and       they    tell     you          that         yes this.person                                 is        going        to be


      25       a    danger       in the           future       and             yes                this       person           intended          to




                                                                                                                                               104
                                                               LLOYD    E.          CSR 149
                                                                              BILLUPS

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                                                                       76TH   JUDE   L   O    CT
                                                                       W.     RFAW.          MM
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       1
              kill    but there may be                          something                  in your heart                  that tells


              you that death                                                                                                   because
       2
                                            is       not appropriate                          for this person


       3
              of     some   mitigating                    circumstances.

       4
                                                  Now            mitigating                             is     not     an      excuse

       5
              mitigation                   is         something                       that               may         lessen            the


       6      blameworthiness                    or       lessen         the          --       not        lessen the guilt

       7      but     lessen          the       --        well        blameworthiness                           of     the     person.

       8      the     culpability                of       the    person.


       9                                             If    you believe                     that         a person          is a danger


      10      and     they           intended             to     kill          but          you         dont         believe         that


      11      death        is     appropriate                   you     have           got          a    problem as            a   juror


      12      because           if    you       answer           those              two        questions             appropriate


      13      you     know           death       occurs               thats                 what         the    third question


      14      is     for    the third question                           is         asking           you basically                 okay

       15     folks         you       have       decided              that          death           is       appropriate           based


       16     on     the    answer          to       the       questions                     do     you       believe          based    on


       17     all     of        the        facts           of     the          case                including           all      of     the


       18     mitigating              circumstances                      that              the       defendant             should       be


       19     spared

      20.                                            So     its          an           out.              If    you      say      Yes     it


      21       should       be        then       its            life           if      you          say      No      then the          two


      22      questions              that you have                previously                        answered         will       dictate


       23     that     there          is    a death              sentence.


       24                                            Now         also           another                 thing        in    a    capital


       25     murder        case            a    lot        of     people                  have         told      me      in    capital




                                                                 LLOYD   E.    BILLUPS     CSR 149                                     105
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                                                                         Mr.   REAL       TDN.t.
1

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                  murder cases            if
           1

                                                 a person                is       guilty of capital                        murder they

           2
                  are    always      going           to    be        a      danger              in      the       future.

           3
                                                     And        theres                      nothing               wrong        with         you

           4
                  believing          that       but       -I    think                you        can       see      if     thats            your

           5
                  attitude          theres             absolutely                        no        reason          for       that        first

                  question
           6
                                    the        first       question                      is      he      going to be a danger

           7      in the     future            the first                 question                  asks      the       State       to prove.


           8      it    beyond      a reasonable doubt                               so if             theres any             of     you out

           9      there      that       say      in       every               case            where                found         a
                                                                                                              I                         person

          10      guilty of         murder           Im        going              to     find           that       person          is    going

                  to    be   a     danger        then          again                folks
          11
                                                                                                       you        probably           are    not


          12      qualified because                   you       are         required as jurors to                                  sit     back

          13      and reexamine                the     evidence                   when          you      assess           punishment.

          14
                                                     Now        the         punishment                    for a person                  guilty

          15      of    capital      murder you                 know              is     going           to       be    automatically

          16      life       the     State        has          to     prove              to        you    the          other     elements

          17      before      it    ends       up in a death                        sentence                 so you          stand       back

          18      you    reexamine              you       look           at       the.      evidence               and.    you       look    at


          .1      those      questions.              You        don.t              say automatically                           you.don-t

          20      say        Yes        because            thats                   what            you    wanted              you        don.t

          21      decide         that     you        want            death               and           answer          the     questions

          22      appropriately                 you        answer                  the          questions               based        on     the

          23      evidence         and     let       the        laws              dictate              what        the    end        results


          24      are.


          25                                         Okay.            I     know            its          been a long morning




                                                                    LLOYD   E.    BILLUPS   CSR.   149                                      106
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       1
              Im     pretty       well    finished.

       2
                                               One       other             thing             I    do     want        to     go   into

              if    you have      an opinion about                          this          case           as     I    said earlier

       4
              you have to set this opinion                                   aside.               If     you have any bias

       5
              or prejudice           concerning                this.            case             or    the      law      in    general

       6
              you    have    to    set         it     aside.                 If        you        cant          we       dont     want

       7
              you     if    you    can    we         want      everyone.


       8                                       I         want              you               to         fill          out        those

       9      questionnaires               I        want    you            to       turn them back                       in.


      10                                       Once        they            are         filled           out         and turned         in


      11      you    are    free     to   go          we    will             bring you                  back         individually

      12      and    once    we    get     12        jurors          and            an       alternate we                 are    going

      13      to    quit    bringing           you       in.


      14                                       So the ones                    in the              first        row and on back

       15     are the       ones     we    are        going          to         be       talking               to    and the      ones


       16     out    in the       hallway           or second                 group we may or may not get

       17     to    them.


       18                                      We        will              not             start             the         individual


       19     questioning          until            next Tuesday.


      20                                       We          will                     make               copies               of        the


      21      questionnaires              this        afternoon                         the       lawyers             can      look    at


      22      them over       the weekend                and we will                       give        you calls starting

      23      Monday       morning        and        probably                 six          or         five     of     you will         be


       24     here     Tuesday       then           we     will            start             bringing               in    six    to    10



       25     Wednesday        and    Thursday.




                                                            LLOYD    E.    BILLUPS.    CSR 4149                                       107
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                                                                    MT.    REASANI.    TOM
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       1
                                                       We       will          be         working                    on    jury           selection

       2
              Monday          after next week                          Monday                 through Thursday                            bringing

       3
              in six to                10    a   day        until        we          get        our        jury.               We    will       bring

       4      in three            in        the      morning                 three              in        the       afternoon.


                                                                you are the
       5
                                                       If                                        first              person          we    bring in

       6
              the morning you will                              be    the           first            we        talk to and you will

              be     out     of        here          as     quick        as          we       can                               out       and as
                                                                                                           get       you
       7
                                                                                                                                                           I.



       8      said      we    may           talk          to     you         five             minutes                or    we                  talk
                                                                                                                                     may                   a


              couple         of    hours             and       so we          bring you in we
       9
                                                                                                                          appreciate                 you

      10      taking         time with                 us but          the           next            time.      we        see you             we will

              tell      you        whether                you      are          or        not             on    the        jury.               If
      11                                                                                                                                             you

      12
              dont hear from                         us there may be                           something                  --    if       you    dont

      13
              hear there               may be something                             on the questionnaire                                  that may


      14      influence                you       and      we     are         not           going               to    call            we       are    not


      15      going to notify                        each one            of          you        if        you       are excused.                     You


      16      can call            the District                   Clerk.                 We       are           just going to notify


      17      you     if     you        are          going       to     be           here            and       we        want        to       talk     to


      18      you    but      quite              frankly a              lot           of       you we               wont talk to you

      19      and     thats             why       we        have       those              questionnaires.                                 I    know        a


              lot      of     you            are          not      going               to            like                                out        that
      20                                                                                                            filling

      21      questionnaire                      I    dont blame you                                 I    wouldnt want to                           fill


      22      it    out.          If    you want                to     be       madat                    somebody be mad at                          me

      23      the    law      says          those           questions                  are           admissable in this type


      24
              of    case..         If       you       dont           like           the         questionnaire                        I    cant do

      25      anything            about           changing              it            tell           your Legislature                               tell




                                                                     LLOYD     E.   BILLUPS    CSR 149                                               108
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       1
              them you               dont              like       it        tell          them to               change      the       law        and


      2
              I     will        be      behind              you       a   hundred                percent.             But      until        that

       3
              time you have                       to    fill          them out and turn back the original

       4      which           will           be     kept         by       the      Court                 the     lawyers            will     have


       5      a     copy        and          once       they          use    them             they will            turn         it    back        in


       6      so         that       your          address             and        phone            number         will       not       be     made


       7      available                      so   thats           the        questionnaire                        but      they will              be.


              --              will       have                              or      the          original           and      the       lawyers
       8                 I                              a    copy

       9      will           have        a    copy.


      10                                                    Is    there           anybody                that     has      a    question

      11                                                    Yes           sir.


      12                                                                               THE         POTENTIAL             JUROR                   Im

      13       supposed                 to    go       out       of       town         in     a     few        days     am      I    supposed


      14      to         just       wait

      15                                                                               THE        COURT            No.              Theres         a


       16      place           in       the       questionnaire                          if        you     tell       us       you    want        to


       17      be        out       of    town          well work                       around            your     schedule.                 If    we


       18
               call           you       and       want       you          here         on     Wednesday            and you             say you


       19      are           supposed             to    be       some place                 Wednesday             we will            schedule


      20       you           for    Thursday                 we       are        going            to     work with             you     as    much


      21       as        we    can       but        when          we       start            calling             individuals                please


       22      work your                 schedules                out        the         best            that    you     can.


                                                                                       THE        POTENTIAL            JUROR                So we
       23


                  fill        out       the questionnaire                              that        you         are going to            give       us
       24



       25         as     we    leave



                                                                                                                                                 109
                                                                          LLOYD   E.   BILLUPS    CSR.   149
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                                                                                  Mr. P1FlSANr.1E%AS
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       1
                                                                    THE        COURT              Yes           sir.


       2
                                                                    THE          POTENTIAL              JUROR                This

       3      afternoon
                                                                                                        V




       4                                                            THE        COURT              Yes           sir.


       5                                                            THE        POTENTIAL               JUROR            Get     it


       6      from one       of    the    deputies          then             we        go   back       to       our office


       7                                                            THE        COURT              Yes.


       8                                                            THE       POTENTIAL JUROR                          Then you


       g      call    us    Monday

      10                                                            THE            COURT                    Well             start


      11      Monday        it    may be       four    weeks            before              you    hear          from us.


      12
                                             Well     just start calling people                                        down the

              line    and    bring       you    in    as    soon             as we          get    to
      13                                                                                                    you.


      14                                     Anyone        else

      15                                     Okay.         Mr.          Townsend                  do        you      have     any

      16      comments       or    anything          that       you           wish          for    me       to    point       out


      17
              to    the    jurors that          I    havent

      18                                                            MR.         TOWNSEND                Nothing.


      19
                                                                    THE         COURT             Mr.           Old do you

      20      have    anything

      21                                                            MR.          OLD              Nothing              at    this


      22      time.


      23                                                            THE        COURT          Then          I   will     excuse

              all    of    you    to   the     hallway         and we                  will   bring             in     our    next
      24



      25      group.




                                                                                                                               110
                                                      LLOYD   E.    BILLUPS    CSR 149
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       1
                                                  Thank              you          for        your             patience.

       2




       3
                                                  Recess.

       4




       5
                                                  Second                   group              seated.

       6




       7                                                                          THE            COURT                         All         right..


       8      Everybody           will        take          your             seats              again                   like    I        told    the


       9      other group               I    want           to       thank              you              for your            patience.               It


      10      may be a long                 afternoon                 for             all       of         us.


      11                                          Now               all      of         you          know          that        you       are    down


      12      here      as   a    juror or prospective                                       juror in a capital                            murder


      13      case.


      14                                          Our           laws           provide                        in   a     capital           murder


       15     case      that      the        lawyers                 have               the              right          to    question           you

       16      individually             and               the       law           also          provides                     certain           other


       17      procedures          and       thats                  why we               are             doing it            this        way    so    I



       18      apologize          for       the           inconvenience.                                 And       if    you     want          to be


       19     mad     at     somebody             I       think           you            can             be    mad       at    me         since           I



      20       dont        live    here       I           can       talk openly.


      21                                              I    will        introduce                          the      parties           involved

      22       I   am   Gary       Stephens                     I     am          a      Visiting                  Judge             I    live       in


       23      Ellis       County           and       most           of      my work                      is       in    Dallas            I    have


       24
               been     assigned to                   this          case          to        come              down      here        and select


       25      a   jury and        hear           the       evidence                     and             to    try       the    case.




                                                                                                                                                 11 1
                                                                    LLOYD    E.   BILLUPS     CSR 149
                                                                          Ofiic       COURT RBOR1RT

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                                                                            Mr.   PIFAW      TD As
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                                                  Now        in order                         to         do       that     of    course.      we

       2
               need    12    of       you   citizens             as           our             juror.

       3
                                                  The       case        is          not out                   of Titus          County it
       4
               the alleged            offense          occurred                     in Morris County                            in the      town

       5
               of    Cason.

       6
                                                  Excuse         me           just                 a     minute.

       7
                                                  I   had a little                            housekeeping                     matter      there.


       8
               we    had    to    attend          to.

       9
                                                  As    I    said                   the            case            allegedly occurred

      10       in Morris          County          in    the      town                  of          Cason.

      11
                                                  The Morris County District Attorney will


      12       be     representing                    the      State                     and              thats                Mr.     Richard

      13
               Townsend.


      14
                                                  Mr.       Townsend.


      15
                                                  He will          be assisted by Mr.                                      Randy       Lee who

      16       I    understand              has        recently                     been                 elected           the        District

      17
               Attorney          in Cass County and                            is         now            an Assistant                 District

      18
               Attorney.              I   have        appointed                     him to                    assist           Mr.    Townsend

      19       in    this    case.
                                                                                                              0




                                                                                                                                                    0




      20                                          The       Defendant                             is      represented                 we    have

      21       two    Defense         Attorneys we                      have                  Mr.        Bird            Old    III    and Mr.

      22       Lance       Hinson.


      23                                          The       Defendant                             is      seated           between         them

      24       his    name       is       Billy        Joe     Wardlow.

      25                                          You       may be                  seated                        sir.




                                                             LLOYD    E.    BILLUPS      CSR 149                                             112
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                                                                     Art.   REASAHT.     TOGS
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                                                Now                                                                              because
       1

                                                           I       am introducing                             everybody

       2
               each of you have                 a    right to know                            who the Defendant                      is   and

       3
               who    the     parties           are.

       4
                                                As         you                   already                     noticed            in        the

       5
               questionnaire            theres                 a    place                for       you        to   tell     us    if      you

       6
               know     any      of   the       people             involved                    in       this       case.         Knowing

       7       the people         involved                whether                 it      be the             District Attorney


       8       the Defense            Attorney             the Defendant                            or the          alleged victim

       9       does     not     disqualify you.

      10                                            If   your knowledge                                 of    those       people          will


      11       be     such      that       it        influences                      your           decision              you    may        be


       12      disqualified             but          knowledge                    in          and        of       itself       does        not


       13      disqualify             you       thats              why            each             side       will     talk       to       you


       14      individually            to       find       out         the               extent              of    your    knowledge

       15      if     any       and   to       find       out        your views                          and       opinions          on    our


       16      law.


       17                                           Now what                  I     want           to        do today is go over


       18      some of          the   general            principles                       of       law that          will       apply       in


       19      all     trials.             I    want           to      talk               to        you        about       murder          and


       20      capital          murder          they are               issues                      frankly           that       you need

       21      to     be   thinking            about       and       when                the       lawyers bring you back


       22      and     talk      to    you       individually                            you       are        going       to    be     asked


       23       a lot      of    questions               and       what           Im          doing           today is         just       kind


       24       of    giving      you an overview                      of          what            is    about       to    come so you


       25       can    be    prepared when                 that              questioning                       begins.




                                                               LLOYD   E.    BILLUPS      CSR 149                                           113
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      1
                                                The       first             and        most basic                    principle           of


      2       law    is    the      presumption of                   innocence.


      3                                         Simply       because                      a      person             may     have       been


      4       arrested          for       a    crime        is        simply                     no       evidence           that       the


       5      person       is       guilty          the     fact              that               a    person          is     about       to


       6      stand       trial      is       not   evidence.                     You            as       a    jury will          decide


       7      the    evidence           based        on    what             you         hear              from       the    witnesses.


              that    testify           and     you       certainly                     do           not       decide       the     facts
       8



              based       upon speculation                  or based                  upon what you                       read in the
       9



              newspaper           or heard          from your friends or family.
      10


                                                I   know      that              alot                 of       you    have       probably
      11




              heard       or    read       about          this       case             and            thats           fine.        But    if
      12



              you have          heard         or read       about              this case                      and what          you have
      13



              heard or read has formed an opinion                                                    in your mind then you
      14



              may    not       be    qualified             and       thats                  why           we    want       to    talk    to
      15



               you    individually              to        find       out          what                if       any    opinion          that
      16



               you have         already         reached           in          this case                    because           you know
       17




       18
               all   of    us       are    entitled          to        have            a      jury of               our    peers that

               can    follow         the      law     and will                  be       able             to    indulge          in     this
       19




               presumption of                 innocence.
      20


                                                And the presumption of innocence                                                   folks
      21



               to me and          the     lawyers is             a     lot            more than                 just words.              The
       22


               presumption of                 innocence           is          the        basic                cornerstone          of    the
       23


               legal       system its                 a    very           important                       foundation              we    have
       24


               an    excellent            country          but        I       tell            you          there       are      not     many
       25




                                                                                                                                         114
                                                            LLOYD     E.    BILLUPS    CSR 149
                                                                  OFMAL       COURT   REPORIBt

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                              in the          world       that         have              the          freedoms             that       we     have
                places
      1




      2         and part        of       those       freedoms                are          based            on        laws   and you are


       3        the people           that       are       going        to enforce                      those laws and those


       4        rights         and       freedoms.                   And            you         do         it        by    serving           your


       5        country        as    a     juror and             I     appreciate                      all           of   your service.


       6        But   .       also want          you       to    know               there             is        absolutely                nothing


          7     wrong         with        you        if     you          cant                    follow                  some        of     these.


                principles            of      law.
          8


                                                    Just        like we                  have         a great country                       based
          9



                on    these         laws       part        of    what                is        great            is       that    we        have     a
      10



                right         to disagree            with        the           laws            so when               I    talk       about    the
      11




                laws      I    want      you        to    start         thinking                      about              them    and if       you
       12



                can    agree         with      them and go along                                 with           them        fine and              if
       13




       14       you    cant thats                    also       fine.


                                                     All we want                      from you                  is   honesty              we want
       15



                                                                think what you think                                        and what           you
       16       you to tell              us    how you



          17
                 feel.          Dont           worry            about                what             we        think       about            your


                thoughts            and your opinions                               are        your opinions                     and thats
          18



                what      counts              not    ours.
          19



                                                     Whether             we             agree          or        disagree             with     you
          20


                 is   unimportant                   we    just         need             to      know            something            about        you
          21



                 and we         want       you       to     be        honest                   with         us       without          worrying
          22


                 about        what       we    think        of        your opinions.
          23


                                                     Now        that            this            is     behind              us    I    want        you
           24


                 to    also      know         that        not    only is                       the     Defendant                presumed to
           25




                                                                                                                                                  115
                                                                     LLOYD    E.    BILLUPS.   CSR.   149
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              be     not       guilty            the    State        of         Texas                has        what    we       call    the
       1




               burden                    proof
       2
                                of                      the    State             is            the        one    that       must prove

       3
              all    of    the       elements            of    the       charge                     against the Defendant.

       4                                          The         State           is            the       one       that        brings       the

       5
              charges               the     State        is        the         one               that          has     to    prove       the

       6
              charges           that       they        have    brought                      against a person                      in this


       7      or     in    any       other        case.            The        defendant                        has   absolutely           no.



       8      burden           of    proof.


       9                                           By     that          I       mean                 he    does         not       have    to


      10      testify               he    does     not    have          to        present                  witnesses              he.only

      11       has    to       be    here.


      12                                           If    Mr.       Old or Mr. Hinson and Mr. Wardlow


      13      want     to work a crossword                         puzzle during this trial                                        I   dont

      14      care        as    long as          they     dont disrupt                               the       courtroom because


      15       they       dont            have     anything              to          prove                to    you.         The       State


      16       brought          the       charges         they         have                 to      prove       the     charges          Mr.


      17
               Wardlow          doesnt            have        to   disprove                         anything           that      is    said.


      18                                           He    can certainly testify if                                       he wants         to

      19       if    he wants             and .presen evidence                                 but he           has no obligation


      20       to    do that.               That        falls       right back                            on    that        presumption


      21       of    innocence              and         falls        right                   back          to     that       burden       of


      22       proof.


      23                                           Mr.        Wardlow                       is       presumed               to     be    not


      24       guilty.              The    State        wants you to find otherwise                                              they have


      25       got    to       prove        it    to     you       and the                     Defense           doesnt have              to




                                                               LLOYD   E.    BILLUPS        CSR.    149                                  116
                                                                    OFRCIAL COURT       RGPORf92

                                                                     76TH    ACIC14L    00aCT
                                                                       MT.   REASN     T.   TIXA4
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       1

              help.the       State        prove      a    thing               so     he     doesnt               have   to    take

      2
              the    stand.


       3
                                            Now          when            the        trial         itself           begins      the

       4
              indictment           against          the       defendant                    will        be    read to          you.


       5
              When     an    indictment             is        read            to     you        the     defendant             will


              plead not guilty and that means everything                                                    is    in dispute.
       6




       7                                    After the plea of not guilty is entered


       8      the    State will          put    on all         the            evidence            they.have             and have


       9      you make       that determination                          as to whether                      the person         did


      10      or     did    not    do what          they       are            charged            with        and the          State


      11      will     rest.


      12                                       If    the       Defense                     wishes           to    put    on     any


      13       evidence       then       they will             put        on       their evidence                      but     as    I



      14       said        they    have    no       obligation                   to        do    so.



      15                                       After           both                  sides             have            presented


      16       everything          to    you    they          believe               should be               presented          then


       17      the    case    is    over       as    far       as        the        testimony.


      18                                       We will          read the Charge                         to       you that           is


       19      a    legal    document          that       will            contain               all     of       the    law    that


      20       you    follow       and     sets      forth               all       of      the        elements          that    the


      21       State       must prove.


      22                                       After          this            Charge            is     read       to    you    both


       23      sides       will     be     given          a    chance                 to        present           argument          or


               summation           of     the       evidence                    then            you     are        retired          to
       24



       25      deliberate.




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       1
                                                     If        you        come           back          with     a     verdict             of    not


      2
              guilty the trial                   is        over           and        we        go      homeif you come back

       3      with     a    verdict             of        guilty then                       we         go    into        the    next           part

       4      of    the trial             which           is    the punishment. part and                                       often there


       5      is    evidence              admissable in the punishment                                              stage       of a trial


       6      that may not be admissable in the guilt or innocence                                                                              the


       7      first        part       of     the      trial.


       8                                             Our trial                     is    broken              down        into two          parts


       g
              in Texas          basically                  its            because                in the        first           part of the


      10
              trial    we       dont really                     care           about              who the defendant                        is    or


      11      anything           about          his       history or past                                we want           to       know       what


              happened           and       if    something                   did happen                      we want           to    know       who
      12




      13
              was     responsible                and           thats                 what              the    first           part        of    the


      14
              trial        is        for        Did             something                       happen              if     so       did        this


      15      person        do       it
                                                     Then        in        the           second              part        of    the        trial
      16


              the     punishment                 part                if       you              found         the         person           guilty
      17



              thats where                  you     find          out         something                      about        the    person you.
      18



              have     convicted                  so           that           you              can          determine               what        the
      19




      20      appropriate                 punishment                 will             be        for      that       a    person.


                                                     So        we         have              a         two     stage            process           or
      21




      22      actually           I     guess         you        could                say         three        stages                the    first


               stage       is        picking              the         jury                  the         next        stage           is     What
      23



       24
              happened               if    anything                   and           is      the         person           responsible


       25
                                                     The         last               stage               If      hes            responsible




                                                                                                                                                118
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       1
                what    should       we    do    about       him
       2
                                                Now     you         have                    heard           me    talk        about       the


       3        fact    that     the       Defndnat         doesnt                           have          to    participate              and

       4
                you    have     heard       me    mention                 that                 the         defendant           has    been


       5        indicted       and is          going to plead not                                     guilty.


       .                                        Im      sure               some                  of        you     out        there       are


       7        thinking        to    yourself          Well Judge                                         you    are    not    telling


       8        me to presume             Mr.   Wardlow          to be innocent                                   you are sitting

                there       telling        me     that        the                State                 has        to     prove.      these
       g



       10       charges       but     then       you    go       ahead                      and        tell       me     he    has    been


       11
                indicted        and you         tell    me       that                 he may                not    even       testify.

                                                And    theres                    a         lot        of    you out there that
       12




       13
                are     going        to   be     thinking             to             yourself                     if     a    person        is


       14       indicted         by       gosh he must be                          guilty.


                                                A lot       of       you              must be                   sitting       out     there
       15



                thinking         Judge           wait       a minute.                                 If    he    doesnt testify
       16




       17
                that probably             means       hes trying                              to      hide       something           and    if



       18
                Im      not   guilty of           an   offense                      Im               certainly going                 to    get


       19
                on     that witness            stand    and       tell                the world                   Im     not guilty.


                                                 Folks         maybe                       you         would           and    maybe        you
       20



       21
                wouldnt.


       22
                                                 Lets talk about                                       an       indictment.               What


                 is    an   indictment
       23


                                                 It    is    nothing                         more          than        what    we    call        a
       24



           25    charging        instrument                  its               a      piece                of    paper that          starts




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                                                            LLOYD    E.    BILLUPS

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              a criminal          process
       1

                                                     if     any.

       2
                                               If     you           have             ever        been      involved                 in    a

       3
              divorce       or civil          lawsuit           you know                    that    the proceeding                   was

       4
              started       by    the        filing        of        a      petition                if     its           a    divorce

       5
              you    or your       spouse           filed       a petition                       stating the marriage

       6
              should be          terminated               if        its            a   civil            lawsuit          you       filed

       7
              a     petition       alleging               why        you             should         be     paid           money .or

       8      someone.      f   iled     a    petition                against                you        alleging              why    you

       9      should       not     pay       them      money.                      But       whatever               is    in       those

      10      petitions           is     not        evidence                       its            just     what              you     say


      11      happened           its     what        you        say          should              happen        but       it    is    not


      12      evidence.           Its        just     a pleading                       that        starts           a civil         case

      13      and thats           what        the     indictment                       is its             a     pleading                 it


      14      tells     the       State        what            they           must           prove             it        tells       the


      15      Defndnat          what    hes charged                        with.


      16                                       If     the           State              knows        what         a       person          is


      17      charged       with        then        the        State               will          try      to        prove          those


              charges       and        the    defendant                      if        he    wants        to        present
      18                                                                                                                             any

      19      evidence          will    know        what        hes                accused          with        or       --    excuse


      20      me -- what         hes accused                   of     doing when he accused                                   of doing


      21       it   so he    can present              his       evidence                    if     he    wishes          to    do so.


      22                                       But         the               indictment                   itself               is        no


      23      evidence.


      24                                       Is     there               anyone            in     this        room that             has


      25      been    on    a Grand           Jury



                                                           LLOYD     E.    BILLUPS   CSR 149                                         120
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       1




       3




       4




          5
               a couple


               group.
                             of




               Grand Jury will
                                   people
                                              All


                                                 --




                                              Well
                                                      right.


                                                      three.




                                             know a little
                                                            the
                                                                              We


                                                                              We




                                                                         people
                                                                                        have


                                                                                     had several




                                                                              bit more about
                                                                                            that
                                                                                                   got    one




                                                                                                       have     been
                                                                                                                     person

                                                                                                               in the other




                                                                                                                          on


                                                                                                               this process
                                                                                                                               the




          6    than    the    rest of         you     but      the            Grand          Jury proceedings                  are


          7    different      from your normal                      jury trial.                     A Grand           Jury does

               not determine             guilt      and     innocence                       of    the    person       charged.
          8




          9    A Grand       Jury    hears          evidence                  maybe          they        dont even hear

      10
               evidence       from the person                  that                is       involved          the     evidence


               they    hear       may    result        from          just             the         reading       of    a   letter
      1




               from a police             agency        maybe              a    Grand             Jury will       take      three
       12




       13
               weeks    and    hear from hundreds of witnesses                                                maybe       a Grand


       14      Jury will          take       five     minutes and read a police                                      report.


       15
                                               The     proceedings                           in    a     Grand        Jury     are


       16
               secret        meaning          the     public              has         no     access.            If    a   person

               does    go    to    trial       as     the      result of                     Grand       Jury indictment
       17



               that     person           certainly             has            the           right        to     review         any
       18




       19
               testimony before               the.    Grand Jury if                         that       testimony is used

               in   trial     but       he    doesnt. have                    a     right          to    know        everything
       20


               that    happened          in    there.
       21




       22
                                               Now        if       the             defendant             doesnt           have   a


               right to know             what       happened               in        there         the    normal average
       23


               citizen       certainly           has      no    idea               what          happened       in there         so
          24



               we   dont consider                the      indictment                        as    any    evidence.
          25




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                                                          LLOYD    E.    BILLUPS    CSR.    149
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       1
                                                        But         again                 its                  nothing        more            than     a

       2.
               statement             from the                 Grand                           saying-Look
                                                                            Jury                                                   Judge            you

       3
              know         we    think           there             is    a         little                     smoke    here            why     dont

       4
              you     get       12       people            together                  and             find        out       whether            or    not

       5      there was              a    fire
       6                                                And        thats what                             the    12    people            are       here

               for    that       very          thing maybe                                                       happened
       7
                                                                                    something                                            your       job..


       8      is     to    decide          if       it        did and               if        it          did who did              it.


       9                                                So each          of you                  need           to be able             to assure


      10      me     and    the          lawyers              that      the           mere                fact       that     a                     has
                                                                                                                                   person

      11      been        indicted             is       not        going           to         be          prejudicial.                   In    other

      12      words         you          are not              going         to        hold                it    against           him and you

      13      are     not       going       to          use        it   to         determine their guilt.

      14                                                You        know            you may get                       down and            hear       all


      15      the    evidence              in       a    case           you may be back                               in the           jury room


      16      and you are thinking                             to yourself or you are talking                                                  among

      17      yourself               you       know            Im        just                 not             sure     I    kind         of    think

      18      that        hes        guilty but                      Im            not          sure            but         you    know            the

      19      Grand        Jury indicted                       him so he must be                                     guilty.


      20                                                We     dont want that we dont want that

      21      we     want       you       12     to           make      up         your               own       minds        and we            don    t


      22      want        you    to       assume that                    somebody else                                knows       more         about

      23      the     case       than           you           do    because                   when             you    go     to    trial           you

      24      will        hear    everything that                             the             law allows               you        to     hear and


      25      if    you    dont           hear           it    in the courtroom you                                        are not allowed




                                                                    LLOYD     E.   BILLUPS     CSR 149                                              122
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                                                                            76THACQ       J   CtMa    t

                                                                              MT. FtEASIW1.    tows
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      1       to    consider             it.


      2                                                 I    told       you             the        defendant               does          not    have


      3       to    testify             but        he       certainly                   has         a     right           to   do        so.     The


      4       defendant             can      subpoena              witnesses                        just like             the State              the


      5       Defense             can     present                 witnesses                        just         as       the     State           the


      6       Defense         can       cross examine witnesses                                                the Defense               also has


      7       a right for the defendant                                     himself                  to testify                if    he wishes.


              to    do       so   but        as     I       said       earlier he doesnt                                   have          to.
      8



                                                        Now        this                 gets         into that                 area       where       I
      9


              said       a    lot    of        you          are    going                to    say         if     you      are not          guilty
      10




              you     are         going        to       stand          up       and           shout            it    to    the world.
      11




                                                        We    have          lawyers                      lawyers advise                    us when
      12



              we    are       in the           middle             of     a      trial               as     to       what       we    should or
      13



               shouldnt              do.            You           may    have                 a      trial           where          the        lawyer
      14



               thinks         the        State              hasnt            proved                  anything              so       he    may     not
      15



               want      to       put     his           client          on          the           stand             no    reason           for    his
      16




      17
               client         to    take           the stand                or he might be                               shy the Defense

               --    excuse             me         decides              he          wont                 put        him    on        maybe        the
      18



                              charged               is       borderline                        retarded                   he    knows           right
      19       person


      20
               from wrong                 hes legally responsible                                               if       he did       something


               but       maybe          he     will           get       his             words             so        mixed       up       he     cant
      21



               relate             what         happened                 to              the         jury            so    maybe           in     that
      22


               instance             its        better              for       a person                    not        to    testify.              Maybe
      23


               a person             stutters                 maybe he or she freezes                                           up    when       he   or
      24


               she       talks       to        a   group           of    people.
      25




                                                                                                                                                     123
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      1
                                              You       may        have             people             that     are        just    not

      2
              sharp       enough       to   fence          with          a     well           educated          lawyer.


      3                                       There         are         many reasons                     that persons              may

      4       not    testify.


      5                                       The       bottom               line           is     you    as    a    juror        will


      6       base    your verdict                on       what         you          hear          not       what     you        dont

      7
              hear.        You    dont know what                             the           Grand       Jury heard            so    you.


              are    not    going to             base       your verdict                          on    that.
      8


                                                 The defendant                         you are not going to know
      9


              what    the defendant               would          say if              he      doesnt testify                  so you
     10



              dont speculate                about           it          you        discharge              that       and put        it
     11




     12
              out of      your mind and base your verdict                                              on what       you heard.

                                                 It    certainly                    is       inappropriate                  for    any
     13




     14
              of    you    to     be    back          in    a      jury            room           and     say        Well          you


     15
              know        Im      just      not        sure.                 He      may          have    done        it     and    he


              didnt testify                 so    I    guess            he     did.
     16




     17
                                                 Thats            speculation                          folks         and     thats

              wrong.
     18



                                                 If    you       are          on           trial       you     want        the    same
     19



              thing        that    -Mr.       Wardlow              wants                   and     thats            fair-minded
     20


              people       who     will          keep       their              minds              open       and     base        their
     21



              verdict       on    the       evidence             that          they           hear.
     22


                                                 If    you       can-do               it      I    want      you     and     if    you
     23


              cant Im           not    going          to take            an exception                     to    it     just tell
     24


              me you       cant        do    it       and    tell            me why               you    cant        and     thats
     25




                                                                                                                                   124
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              fine.
      1




      2
                                              I        want      to           remind                   all    of     you    you           are


              under       oath    and    you           are      were           under              oath        when        you       filled

      4
              out       that     questionnaire                       and           when                you        answered           these

      5
              questions          you were             under        oath.


      6
                                              Frankly             I        dont think                     that      you would                lie


      7       to    get    out    of    your jury service                                   if     you were              going          to    do.


      8       that      you      probably             wouldnt                 have               appeared           in     the          first


       9      place.

      10                                      I        do     want             to         impress                 that     its           very

      11      serious          this     is        the        most          serious                 undertaking              that             Mr.


      12      Wardlow         will     ever           be   involved                   in         and     he       wants    you          to    be


      13       fair     with     him and              thats what                      all         of     us       want    from you.


      14                                      Let          me   check                 on my notes                   here        I       got     a


      15       little      bit    off    track.


      16                                      Is           there           anybody                 out        there       that          cant

      17       follow      the    basic       principle                     of        law         that        I    have    discussed


      18       so    far      the fact       that           a person                  is entitled                  to    be presumed


      19       not      guilty         the            fact      that              the            State            must. prove                the


      20       charges.

      21                                          Is there anybody                               that        cant follow that

      22       basic      principle

      23                                          I    take      it         that            each         of       you    can.


      24                                      Now             what            I       have             been       talking           to       you


      25       about      right        now    happens                in       all          criminal                trials           I     have




                                                             LLOYD                               149                                         125
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       1
              just     been     talking            in     general                          how       a     criminal              trial

      2
              progresses         how     we       select              a      jury           and      what     happens             once

      3       the     jury is    selected.               The           trials                  are    all    basically             the

      4       same     except    for     a       capital              murder case.


      5                                      I    told you that                            in    a    normal trial                if     a


      6       person     is    found     guilty then                         the           punishment          part          of    the


      7       trial      you    determine           the             appropriate                      punishment.                  That


      8       punishment        depending           on        the            offense                could     range           from       a


      9       few     days in    jail    to life             in        prison depending                            on what         the


     10
              offense     is    that     the       person              is        charged              with.


     11
                                             The    main              difference                     between           a    capital


      12
              murder case        and     another type of criminal                                           case       is   that       in


      13       a     capital        murder          case               theres                       only      one           or      two


      14      punishments           thats either                       life           imprisonment or death                            by


      15       lethal    injection.


      16                                     So in all                cases               other than capital                     cases


      17       the    jury determines              the       punishment                        by    setting the number


      18
               of years that         the person              should                  serve          in the     penitentiary


      19
               and     then      deciding                whether                          or        not      probation                  is


     20        appropriate.


     21                                      But    in       a        capital                  murder       case        you      dont

     22        really give          us   a       number          of          years               you      dont         even       come


     23
               back    and    say    life           or       death                         you       answer        a   couple           of


      24       questions        then     based          on      the            answers               to    those        questions

               the    result is        either       life              or death.
      25




                                                                                                                                       12 6
                                                        LLOYD    E.   BILLUPS     CSR 149
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                                                                Mr.   REASON.    T   DM
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                                                                                                                                                   1




       1
                                                Before         we           talk                   about          capital         murder

       2
              though            I   want   to       talk     to           you          about                what     murder        is    and

       3      isnt.

       4                                        The    other                group                    is      filling         out      their

       5
              questionnaires.                   Now         normally                           I     dont          want      people       to


       6      fill        out       the    questionnaire                         until                     they      have    heard        my

       7      comments              unfortunately                  because                         of       our      space        and    the


       8      number of people we had we couldnt                                                      get        everybody        in here


       g
              at      once            so    you        have                 already                          filled          out        your


      10      questionnaires.


      11
                                                Do      all                 of             you               still          have        your


      12
              questionnaires


      13
                                                Based on what                          I       say         some of       you may have


      14
               some       different         answers          so           if         you            feel          like   you      need    to


      15       go    back       and    change        any     answer                   feel                 free    to    do so     before


      16       you    turn them            in but      what             I      want                to       do right now before


      17
               I    get   into        capital        murder is tell                                 you what            murder is        and


      18
               isnt         because              you         know                     based                  on       reading           this


      19
               questionnaire               we   want        to          know               something                 about        you    and


      20
               about      your feelings               on the              law and                   what         your feelings are


      21
               on    capital murder and what your feelings are on the death


      22       penalty.


                                                I    will          have              a         lot          of     people      fill      out
      23


               that questionnaire before                             I      talk to them about murder and
      24



      25       they       say         Well       I    could          give                life              in     prison     if    it    was




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       1
              self       defense             or    if          it       was             an     accidental                   killing          I    could

      2
              see     life        in        prison             but          if          anybody                killed            anybody         it       has

       3
              to     always            be    death.

      4
                                                       I    want             to explain                            to you        what    murder is

       5      because            if     a    person                acts           out          of          self          defense        or if         its

      6       an     accident               he    hasnt                  committed                         an       offense             theres             no

      7       murder              there           is        no           punishment                                 there        is     absolutely

      8       nothing.


      9                                                So when                    Im           talking               to    you and when                   the


     10       lawyers are                   talking                to       you          about             murder they                 are talking


     11
              about       the          intentional                      taking                     of      a    life       of     another         human


      12      being without                      legal              justification                               or       excuse         I    want          to


      13
              kill       and       I    do       it.

     14                                                If          I    kill            because                I    am defending             another

      15      person         I    am not           guilty of murder                                            if    I    kill        because         I    am


      16      defending                myself          I       am not                   guilty of                    murder.


      17                                               I       might walk                           out         in       my backyard              maybe


     18
              I    shoot         a pistol up in the                                     air             the bullet               comes      down and


     19
              kills        somebody.                       I           am    certainly                          responsible                 for. that


     20       death       but          I     had       no           intention                        to        kill        so     I    may       not       be


     21       guilty of                murder.                 I       am guilty of                             something             but    Im           not


     22       guilty of murder because                                           in         order to be                    guilty of murder

              I    had    to      have           intended                   that             death              occur.
     23



                                                       You may certainly                                        be guilty of negligent
     24



     25
              homicide            but        not       murder.




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                                                                        LLOYD     E.    BILLUPS     CSR.   149
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                                                  So        when          we         are           talking              to     you        about

      2
              murder        and    are you             able       to consider                          probation               for murder


      3
              and     are you          able to consider                           the        full           range of punishment

      4       in     capital          murder           which        include                       life       or     death          you       need


      5       to     know       what       murder           is     or           isnt               and       thats             why      we     are


      6       talking        about          it.


       7                                          In        our state                 a      person           who is accused                      of.



      8       murder        is    looking              at    a    punishment                           range       to a minimum of


       9       five    years to a maximum of                                    99        years or life.

                                                   I    want        to          talk              to    you       about        murder and
      10



              murder punishment                        because             in a capital                       murder case                    there
      11




      12
               is    always       a    possibility that                             the           jury instead                 of       finding


      13
               that    a    person          is     guilty of                     capital                murder           they may             find


      14
               that    a    person          is    only guilty                        of      murder and if                      so      you are


               going       to    be     called          upon        to           assess                punishment              so       we    know
      15



                      need        to       know    what           the           punishment                    is    and we              need       to
      16       you

               know        whether           you        can        follow                   the             law    and         follow             the
      17




               punishment              range           and       the            punishment                        range        for        murder
      18



               includes           probation                 in    this             state               if    you.       as     a     jury         set
      19




               punishment              at    10        years or                 less              then       you     have          to     decide
      20


               whether           that       sentence               will              be           served           in    prison              or    on
      21


      22       probation.


                                                   If        you          set             punishment                    over         10      years
      23



               probation              is    not        an    option                so       if         you    have        a.    15      year       or
      24


               20     or    30    year       sentence               you            dont                ever        get    to       the       issue
      25




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              of    probation.           You      only get                      to     probation            if                   back
       1

                                                                                                                  you       go

      2
              and    decide       10   years       or        less               is     appropriate.

       3
                                             So    ifyou                       have        decided        that        five       six

      4
              seven        eight       nine       or     10        is           appropriate               then        you    decide

       5      whether       this       is    to        be     served                   in       prison           or   served        on


       6      probation.


       7                                     A lot           of        people               think      probation            is   just


      8       a    slap    on    the   wrist           and        I        guess            maybe        some     people         have


      g       a    right    to    look      at    it     that                  way.


     10
                                             Also        I    want                 you       to    make      sure       that      you


     11
              understand           the       distinction                             between             probation                and


      12      parole.

      13
                                             Probation                            is       what     happens           before      you


      14      go    to    prison       parole                is what                  happens          after you get              out


      15
              of    prison.


      16
                                             So     if       you               serve        a    prison          sentence         not


      17      completely          served          they        let               you        out    on     parole.


      18
                                             If    you have been found                                   guilty of a crime


      19
              and    the        jury   or        Judge        decide                   that         you      should          have    a



     20       probated          sentence          instead                  of        going        to     prison.       you       dont

     21       go    to    prison       you       serve        probation                         first.


     22
                                             So        we         are                talking           about          probation.

              Probation          conditions                 are                determined              by     the       court       or
     23



              Judge        you    the       jury       will                decide            whether         the       person       is
     24



     25       guilty whether                he should go to prison                                     or be probated             but




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       1

              the     Judge          sets    the        probation                     conditions.

      2
                                                  They include                        the fact                   that       the defendant

       3
              has        to     report       to     the       Probation                               Department                  it    can       be

       4
              weekly           or    monthly            he has to remain in a specified                                                  county

       5
              where        he    lives           he has to           support his dependents                                             undergo

       6
              random urinalysis                         hes entitled                                  to       have     somebody check

       7
              on    him at           his    home         at   his office                              and        if    he   violates             any

       8      of    his        conditions           that        probation                             can       be    revoked.


       9                                           If     its        revoked                          its         done      in     a    hearing

      10      without            a    jury         its          just              between                       the     Judge          and       the


      11      defendant              and     his    lawyer           and              the             States            lawyer.


      12                                           You        as      the                      jury            put     the        person           on


      13      probation               the        Judge     sets         the               term.


      14                                           And the way                        I        kind of            explain          to people


      15       is   if     I    give       you    probation you                           dont                 have    the    same rights


      16       that       other        people           have.         You                 only             have       the     rights             that


      17       I    give       and    if    you do something                              that             I    tell    you       not       to you


      18       go    to       prison.            Its very possible                                     for        a    person          to   be     on


      19       probation             10    full     years            the           last day                      of    that       probation

      20       maybe          that     person       tests          positive                           for       cocaine           use        I    can


      21       revoke          his probation               and send him to prison                                            for       10   years

      22       so    he        spends       10    years         on     probation                               and    he     screws         up on

      23       the       last        day     and         hes         gone.                            So        its         not        always       a


       24      cakewalk.


       25                                          Sometimes                     it            is      quite           appropriate                 on




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       1

              many    occasions                  and          sometimes                         frankly                it    is     not.       So

              thats why we
       2
                                               have       a   jury to                make                  that    determination.

       3
                                                  Im          sure             you             are             saying       to    yourself

       4
               Wait    a   minute                Judge           you       are             saying that murder                           is    the

       5
              intentional             taking of a life                            without                       legal       justification

       6
              and    now    you       are        telling           me          somebody can                         be       probated.

       7                                          Yes..          Thats                    what             Im     telling          every one.

       8      of    you.


       e                                          You          notice                when                  I    talk        to    you     about

      10      murder       is    --        I    didnt            talk            about                 motivation                 the     State

      11      does     not       have            to       prove            why                 a       murder              occurred          and

      12      frankly           it        doesnt              matter                      if           a       murder       occurred           it


      13      occurred.              It        either         happened                     or it               didnt         happen.          Why

      14      it    happened          is        immaterial to the issue                                           of       whether      it    did

      15      or    didnt happen                 but motivation                                very well being something

      16      a jury looks                to when they                  set punishment                                 that motivation

      17      could be out of                    love          hate             it         could be                a mercy          killing

      18      it    could be a stalking                           you could have                                 one of          the meanest


      19      people       that       you        ever         met commit-the murder.it could                                                   be


      20      somebody          that           committed           the            murder because                             of    some      very

      21      unusual       circumstances.


      22                                          I       have      heard                  many                murder cases             in    the

              last    10   years and                      have      heard
      23                                              I                                    many reasons                      that murders


      24      occur.        I    have           heard murder cases                                         where       I    think    life      in


      25      prison is not enough and                              I     have              heard cases                      murder cases




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       1
              where     I    think           probation            is           appropriate.

       2
                                                   There         is        going              to       be    some          of     you       out

       3
              there     telling me that                     you could                        never          give       probation             in

       4
              a murder case              and       there         s    going              to      be some          of you telling

       5
              me that        you could                 never      give              life          in    a murder             case.           If

       6
              thats         the       way     you       truly           feel             we      are        not       going       to    take

       7
              exception            with           you    but         to            be    on       any        jury       involving             a


       8      murder case              where        probation                      is    an      issue       you        are going            to


       9      have     to    be       able        to    tell      us           that          you       can       think       of    a    case

      10      where         you        think            probation                       is       appropriate                    you         can

      11      consider           it     and       give     it.


       12                                          You     also have                     to       be    able          to    tell       us    if


       13     you     see    a        case        where    you           think               life       is       appropriate                you

       14     can     consider           it       and     give        it.


       15
                                                   Considering                          it         means          more       than       just


       16
               Okay.         I        have        considered                   probation               now        lets          get     down

       17     to    putting this                  guy     away.

       18                                          When     I     say Consider probation                                           I    mean

       19      actually          consider              giving         it           in    a       given       case.


      20                                           Something                       like          and    I    have          heard       it    in


      21       another       case             a    person         is           going             to    buy        a    new      car         the


      22       person       makes        $30000            a     year                   he    wants          a    $300000              Rolls


       23      Royce        he can       certainly               consider                    buying it                but he doesnt


       24      have    the       ability           to     buy        it            he    cant buy                 it.


       25                                          And     when                I    talk         about           your       ability          to




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       1
              consider         probation                 Im        not         talking                   about      your ability                to


                                                                                                                                               Im
       2
              consider         that          Rolls Royce                then              go buy             something           else

       3
              talking       about             in    order to                   be     qualified you                        have      to        not


              only consider                  it    but                         it         in an appropriate
       4
                                                          giving                                                                  case         and

       5      if    you   cant               just       tell       us.

       6
                                                    Now        what              is         murder                 what     is       capital

       7      murder

       8                                            I    have told                   you what                 murder        is.


       9                                            Capital             murder                     is    murder       plus.


      10                                            A capital                   murder                   occurs      if     the      murder


      11
              occurs       during             the       commission                        of        another          offense              if     a


      12      person      is        burglarizing                   a    home              and           commits       a    murder         its

      13      capital      murder.


      14                                            If.a       person                 is           robbing          another          person

      15      and    kills           its           capital              murder                          if   a     person         kills          a


      16      fireman      or        policeman             while               on         duty when                that     fireman or


      17      policeman             is       on    duty        its             capital                   murder.           If    a    person

      18      hires       another             person           to      commit                  a    murder          thats capital

      19      murder           if        a     person           kills                two            or       more         people       in        a


      20      criminal         episode              or    transaction                          thats             capital         murder.


      21                                            So     capital                    murder                  is     a     murder               an


      22      intentional                killing          that         occurs                during the commission                              of


      23      another      offense.


      24                                            Now        I       told you                     earlier that                you might


      25      find    a person               guilty of murder but not capital                                                   murder and




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              that could very well happen where                                                     find
       1

                                                                                          you                 the    person      may

       2
              have committed              a murder          but maybe                         not   the       other offense


                             didnt
       3
              maybe     he                    do or try            to do a                    robbery         or burglary or

       4
              an     arson       you     might         find          the           person            didnt commit                 the

       5
              murder       but     he     committed             arson                  for      robbery          so   you        have

       6
              kind    of     two    charges           in    a      capital                    murder.           You       have    the

       7.
              underlying charge                     the    robbery burglary                                or whatever            and.


       8      then    the    death.            So    if    you find                    as      to capital            murder you


       9      have    to     find       the    murder        during the                         other         offense       and if


      10
              you    find    just one           or the          other occurred                           its        not    capital

      11      murder       and      you       go     back       and             determine                 the       appropriate

      12      punishment.

      13                                       Thats why                   I    talked              to you       about      taking

      14       into consideration                   the     full            range              of   punishment.

       15                                      If     you       did            so      find         a    person       guilty       of


       16      capital       murder you              find       that            murder occurred                      during the

       17      commission           of        another            offense                       then        you       dont         set


       18      punishment          by    determining the                           number           of     years you will

       19      answer      some     questions              there will                         either be two               or three.


      20       questions         submitted            to    the           jury.


      21                                       Now         for purposes                        of       these questions            we


      22       are    assuming          that        you    found                aperson                 guilty       of    capital


       23      murder.        The       first       question                will              ask   you       whether       or not


       24      you    believe       that        the       defendant                    will         be    a    danger       in    the


       25      future.




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                                                  If              believe                       the        defendant             will
       1

                                                        you                                                                                 be    a

       2
               continuing            danger            to    society                   in           the        future          you     answer

       3
               Yes.

       4                                          If        you             dont                    think           he         will        be     a

       5
              continuing             danger        in       the        future                   you        answer          No.
       6                                          If        you      answer                         No         you       dont          go       any

       7       further          if    you answer                 Yes            go to the next                           question               the

       8       second         question           may    or        may          not             be        in    the       trial        because


       9
               I   dont        have       enough        of       the          facts                 to     know        whether         or       not


      10
              it    will       be    in the        trial          but         the              second          question              inquires

              as    to whether             or not           the    defendant                          did the killing
     .1                                                                                                                                    or if


      12
              he     didnt            whether               he     anticipated                                 or      intended             that


      13      somebody be             killed.


      14                                          And       if    you           determine                      Yes             then    you       go

      15
              to    the       third question                     and        the           third question                         is    --       let


              me back         up     and       explain a little                                bit        by    the                   look
      16                                                                                                                 way     I               at


      17
              our    law        if    a    person           is    convicted                          of       capital           murder          our

              law    basically              says        that           the            appropriate
      18                                                                                                                 punishment              at


      19
              that    point          is    life        because               there can                        only be           one    of       two


      20      punishments                  life        or     death                   so            conviction                 of     capital

      21
              murder          means       life     in       prison             period.


                                                  If    the        State wants                             to             further
     .2                                                                                                             go                      they

              have    a       right       to     seek       the      death                                                                  have
      23                                                                                   penalty                so     once        you

              found       a   person        guilty of              capital                      murder we                know        the best
      24



      25
              thats           going       to      happen          to         them               is        life.           If     the       State




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       1
              wants        death       then        they         have              to         convince                you     beyond      a


       2      reasonable doubt                that         the appropriate punishment                                         is death


       3      and    they do that by submitting those                                                  questions           and trying

       4      to    prove       that       answer          should               be        Yes.

       5                                         The       law provides                           that the answer of                 No
       6      and the           State       has    the         burden               like           in       the      first       part   of


       7      the      trial         the    State          has       the          burden               of    proving          beyond     a


       8
              reasonable doubt                all       of the              elements                   of    the offense             they


       9      have      to    prove        beyond          a    reasonable doubt                                 that      the     person


      10
               is   guilty and             in the          punishment                     part of                a capital        murder


      11
               trial     they        have    to prove                that          the            answers to those first


       12
               two questions               Yes         and      if      they prove                      beyond         a   reasonable


       13
               doubt       to    you       and     you         answer                Yes               then          the     result     is


               death.
       14




       15
                                                  That         sometimes put                           a jury in a dilemma.


       16
               You take         an    oath    as       a    juror to                  return your verdict                           based


       17
               on    the     law     and the           evidence                      you          found          a    person       guilty


       18
               of   capital          murder            you      believe                   that         the        evidence         proves


       19
               that     the      person       will         be    a danger                         to    society            so you    have


       20
               to answer         Yes          you believe                       that          person             intended        to kill


       21
               or caused           the      death          you       answer                  that           Yes.

       22                                         Now           you             know              that           those       two     Yes

               answers           equate           to    death               but           there             is       something       down
       23


               inside        you         there         is       something                         about          that       defendant
       24



               there is          something             you      have             heard             during the               trial    that
       25




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                         makes                     not                               convinced                           death
       1

              just                      you                   really                                         that                     is

      2
              appropriate              so     you      have        got           a     dilemma.               You       have       taken

       3
              an    oath      to     base        your verdict                     on        the       law and evidence                so

       4.     to              life
                    give                you have             got      to         change           one       of    those answers

       5
              to    No.
       6
                                                  You        are      violating                       your        oath     that       is


       7
              wrong      so we         are       going       to give              a third             question           it    s    kind.


       8      of    an    escape         valve           the       third question                            is    based       on    all


       9      the        evidence                based        on         the            blameworthiness                       of     the


      10      defendant            based on mitigating circumstances                                                do you think


      11      that       he    should            or    shouldnt                      die         and    if        you    answer       we


      12      dont think                theres           enough                  evidence              to    justify          sparing

      13      his life          hes executed                    if       you           say       Yes         thats        based       on


      14      certain          facts         and       you     dont                  have         to    tell        us   what        the


      15      facts       are but           if    you        say you know                         I    think        theres          some


      16      mitigating               circumstance                  and             you         answer           that    question

      17       Yes        then       its         going        to     be          a     life       sentence.


      18                                          A lot        of       people                  have    told me          --I        have


      19      done-16         of     these        --     a   lot      of          people          have       told me that             if


      20      they       find      a    person          guilty of                    capital            murder          they       think


      21      that       the       appropriate                sentence                      is     always           going      to     be


      22      death.


      23                                           Thats           what                we       call        somebody           thats

      24      what       we   say       They           are death                  prone           and if           you are death


      25       prone      and you            believe          anybody                   guilty of                capital       murder




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       1
               should       always          be        given        the         death                    penalty        you        are     not

       2
              going        to    be    qualified for                    this.          jury.

       3
                                                  The     law requires                              that       at the        end of          the

       4
              capital           murder           the     guilt           or        innocence                     stage           that        you

       5      reexamine           all       of     the        evidence                     before              you     answer           those

       6      questions               they       are     not       automatic.


       7                                          If     the       fact           that              a     person       is     guilty          of.



       8      capital           murder       is        always       going to cause                               you         regardless


       g
               of    the        facts        to        answer          those                   questions               to    result           in


               death       then       there       would         be       no       need                  for     those       questions
      10


               there       would       be        absolutely                  no       need               for    witnesses                just
      11




      12
               execute          everybody              guilty of              capital                     murder.           And        thats

      13
               not    the       way    we    do         you    have           to       be           able        to    reexamine              the


      14
               evidence          because          the        State           has       the              burden         like        I    said

       15
               its     presumed             that        its        life           but               the        State       wants        death


       16
               so    they       have    to       prove        to    you           that              death        is    appropriate.


       17
               And    if        you    think           its       appropriate                              in    every        case        they


       18
               dont        have       much       to     prove       to        you do they

       19
                                                  So     thats               why           we        are       going        to     talk       to


      20       you    and       thats why we want you                                  to           open up and share                    your


      21
               opinions           with       us        and     frankly                     I        dont         care        what        your


      22       opinions          are     and       I    dont meanto                                 be     rude       by    that        but    I



               very    much care             that       you     tell           us          what           those opinions                 are.
       23


               I    dont want            anything             out       of        you               that       you    wouldnt want
       24


               out    of    a    jury       if    you were              on        trial.                   I    just        want       you    to
       25




                                                                                                                                             139
                                                               LLOYD    E.   BILLUPS   CSR.         149
                                                                   cRicNL     C0uR1   Avow
                                                                       7671.CICUL     of   1   CT
                                                                       MT.   RFASW.    TEXAS
    Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 143 of 156 PageID #: 1746

                  be    fair           with    us        if    you       can           do     it          welcome        aboard           and
          1




          2
                  if    you            cant     well            see       you          down           the        line        in   another

          3
                  trial.


          4                                           Okay.              Lets talk about                              opinions          for      a


          5
                  moment               lets talk about                    O.J.             Simpson we                  all     heard      his


          6.
                  case            havent        we        we    have          read            we      have        heard        about       it.


           7                                          Do       you       have          your           mind made              up   whether.


          8       hes guilty or-not

           9                                          If       you       do        you       couldnt              be    on     that       jury


.         10      but         you       know     I       dont think                     any          of    us     really know              for


          11      sure.            I    think    we       all        have          a   good          idea        of    what       happened


          12
                  but     I       dont know           that          we     know            what       happened           out       there.


          13
                                                      We11            hear          one       news         report one             day      the


          14      next day             we hear       a    news        report saying that the other news


          15      report           was    false          and        then       well             hear           the     Judge       say     all


          16      of    the        reports       are          false.


          17                                             The        only people                     that        are    going       to     know


          18      what        happened          are           the    jury.          and       until             the    trial       is     over.



          19      then        I    guess        well           all       know          but          during        that       trial        that.


          20       jury       is       going to          hear        the      evidence                    and    thats what they


          21       are     going         to     base          their verdict                         on.         They    are       going       to


          22       have       to       put     out    of        their mind what                            they        have       heard       or


          23
                   read       and        what    their              friends             have          told        them       and     thats

                   what       you        are    going           to    have             to      do         in    this     case        or    any
          24



           25      other case.




                                                                     LLOYD    E.   BILLUPS   CSR 149                                          140
                                                                          amacwlccuar       RGom
                                                                            76TH   AEOCw    DOWT
                                                                              ML PJA   W.    rows
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       1
                                             If     you         have                    read          something              about        Mr.


       2      Wardlow        you     have    got        to     disregard                            it      if    you       have      heard

       3
              something            from your        family                    or        friends              disregard              it     if


       4
              you    cant disregard                it    then you are biased and if                                               you are

       5      biased         you    dont belong                   on           this                 jury.         We    have        got    to


       6      leave     our        biases    and        prejudices                            out         in the        hallway          when


       7      we come        into this           jury room and                               sometimes we                  cantdo          it.




       8       and if    you        cant     tell        me and                    if       you       can         great.          But     you


       g       base your verdict on the evidence                                                    and     not your          opinions

      10       not    your gut        feeling base                            it        on          the    evidence.


      11
                                             All        right.                      We          are        going       to     bring you


               back     individually              for     the            questioning.                             When        you     leave
      12




      13
               here    today we will              contact                you by telephone                               and tell          you


      14       when     to    be    back.         Our        first                 session                 will       be     on   Tuesday


      15
               and    even     though       you         are       the              second                 group       you     still       may


       16      be    in the        first    section            because                         we     are        going to         put     all


       17      these     questionnaires                  together                           and       let     the       lawyers          look


       18      at    them then        start       calling and they                                    wont necessarily be

       19      in numerical            order        they          may               or may                not     be.


      20                                         None     of          you               are         going        to     be    scheduled


      21       today         you    will    be     called               Monday.                       If     you       get    a   call      on


       22      Monday        and we        ask    you        to        be           here             Tuesday           and you        cant

               we    will     work     with       you     and            continue                     working           with      you     and
       23



               when we        bring you back                 for individual                                 discussion we will
       24



       25      work     and        schedule       with         you.                     I      dont mean that you can



                                                                                                                                           141
                                                             LLOYD      E.    BILLUPS       CSR.    149
                                                                  c     c     iccuaraýom
                                                                      76TH.    WICLALDRRICT

                                                                       MT. F E/SANT.        TEXAS
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      1
               tell    me    Well look                      I    dont            have                anytime between                   now and

      2
               December                you       are       going         to          have             to       find       some        time for

       3
               us but we          will       work with you and when you come back                                                              well

       4
               bring        three       in       the       morning               and           three             in       the    afternoon.

       5       If    you    arein           the       afternoon                  I       hope          we      get        to    you        it   may

       6       take     five      minutes for a                        juror                  it      may take                 two    or three


       7       hours       per juror when we start talking                                                     to you          individually.


       8
               when        you    start           opening              up         and            we        get        a       feel    for       you


       9       sometimes           we       can       realize            that               you           shouldnt               be    on       this


      10       case     and excuse                you and             sometimes we                             may talk             to you for


      11
               two     or    three          hours          before           a        decision                  can        be    made.


      12
                                                      So    if     we           bring                in    two        or       three       people


      13
               in     the    morning and                   talk        to       each             of        those          people       for.      two


      14
               hours        you        afternoon                people            may                get       bumped           and    have       to


      15
               come     back           we    will          work        for            that            not        to       happen           I    will

               do     everything             I    can           to work              with you                   but       I    do have          some
      16


               --     some time constraints                            and           I     hope            that       each of you will
      17



               be     as    patient              in     the       upcoming                       weeks           as       you        have       been
      18




      19       today.


      20
                                                      Theres               a         place                in     the          questionnaire


      21
               where        you        were        asked          if        you             plan            to    be          out     of       Titus


      22       County.            If    so       Im        sure you                  have             already filled                   it       out

      23
               if     you have          some       kind          of    a        trip we                   are not             going to make


       24      you     miss your                 trip      to     come           talk                to     us        we       are    going       to

               let     you       take       that        trip           we        are           not         unreasonable.
       25




                                                                 LLOYD     E.   BILLUPS      CSR 149                                             142.

                                                                        76TH.L       c1Aa.015IRICT


                                                                         MT.e.EASANT.texas
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 146 of 156 PageID #: 1749


                                                  This trial              will          probably                  last two      weeks
      1




      2
               we    have       tentatively              set    it         for          November                   the    14th       as    a


                                seriously doubt                                   will          go           it    will
      3
               date        I                                   if      it                                                     probably


                                            November                              even           December.
      4
               be    the       end    of                       maybe

       5
                                                  So    when    you           talk             to       us        individually            if


       6
               you    have        some      vacation           plans              let          us       know       when       they       are


       7
               going       to    be    and    well work around                                 the vacation               plans           we


       8       are     going          to    try     to    find             12        people              that          will     all       be


       9       together              for    two    weeks        without                    having                 to    worry        about


      10       outside          influences             or plans.


      11                                          All right.                 I    believe                I    have       pretty well


      12       covered          everything.


      13                                          Mr.    Old         do          you           have      anything              you wish


      14       for me          to cover       with        the       jury that                       I   havent            covered

       15                                                                  MR.          OLD                  Nothing           at        this


       16      time            Your Honor.

       17                                                                  THE         COURT                  Mr.      Townsend

       18                                                                  MR.         TOWNSEND                        Nothing           Your


       19      Honor..


       20                                                                  THE          COURT                     Thank       you    again


       21       for your             patience.          You will                 be      hearing                  from us.          If    you


       22       dont hear from                    us    dont worry about                                     it    and    in    looking


          23    at     the           questionnaire              some               of           you               frankly       we        may


                eliminate                                  at        the           questionnaires.                                  If    you
          24                          by     looking


          25    dont           hear        from    us    and        you           want           to      call           the    District




                                                           LLOYD     E.    BILLUPS    CSR 149                                             143
                                                                oFAg4L COURT         RBOQIHI

                                                                    76TH.Llacw.      DIARNCT


                                                                     Mr.   PLEASW.    MW
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1




                  Clerks Office               --       I    know they                  dont           like       what    Im       telling
          2

                  you     --    but     you       have       a     right               to           call    them       and     ask   them

           3
                  where        you    stand.

           4
                                                      Bobby            who        do          you     want.them           to call         at

           5
                  the     District           Clerks Office

           6
                                                                                THE           DISTRICT           CLERK         They can

                  call anybody
           7
                                             in    there.


           8
                                                                                THE             COURT              You       can        call

           9
                  anybody        in the District                      Clerks Office and                            tell      them that


                                                                                  on Wardlow                 case       and you want
          10
                  you are a prospective                          juror

          11       to    know    if    the        jury has             been            selected.


          12                                          Im         not      going               to      call       you    and tell         you

          13       that    you        have    been          dismissed                        but      if     you       havent        heard

          14       from us       within           a    few       weeks            and          you         get   curious          pick    up

          15       the    phone       and     call          or    come          down.


          16                                           If    theres                    no       questions              Im      going      to

          17
                   excuse       you    all.


          18
                                                      You may turn in your questionnaires                                                 if


          19
                   you    need        to     redo           the        questionnaires                            after       we    talked

          20       please       do    so otherwise                     turn them                      in and       I    will      see    you

          21       in one       of    those           individual                 sessions.


          22                                           Have       a    good              afternoon.


          23



          24                                           Recess.

          25




                                                                  LLOYD   E.    BILLUPS      CSR.   149                                  144
                                                                       aMc       couar aýoareý

                                                                        76TH    ACICUL   Of9RICr

                                                                          Mr.   PEAS   WI.   rove
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                                               The following                        occurred         after the panel
       1




       2
               of    potential          jurors    was      dismissed

       3




       4                                                              THE          COURT            Lets       get     on the

       5
               record.


       6                                     Officer             let         me see this questionnaire.


       7                                     Have     you            had          any          problem filling            this


       8       out

       9                                                              THE           POTENTIAL            JUROR            Yes

      10       sir.


      11
                                                                      THE             COURT              What        is     the


       12      problem filling              it    out      just                  not           understanding         some     of


       13
               the    questions

       14                                                             THE          POTENTIAL             JUROR         Yes.


       15                                                             THE             COURT               Do     you      have


       16      problems           reading      some   of       these

       17                                                             THE          POTENTIAL             JUROR         Yes.


       18
                                                                      THE          COURT           Can you read this


       19
               sentence           right   here        see         thats                    Number    1     can    you     read.



      20       what     that       says        Indicating

      21                                       The    Court believes based                                upon    what      the


      22       juror        has    told me and         my observation                             that    hesimpaired

       23      in     his    ability      to     read.


       24                                      Mr.    Old            Mr.         Townsend            do you have            any


       25      objection           to   excusing       the            juror



                                                       LLOYD
                                                                                                                            145
                                                                E.    BILLUPS     CSR. f149
                                                           omc         COURT     fiýOmm
                                                               76TH   ACK   AL   019RICr

                                                               MT.RFAsANr.TOM              -
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 149 of 156 PageID #: 1752

      1                                                            MR.              TOWNSEND                     None           Your.


      2        Honor.


      3                                                               THE          COURT                 Mr.   Old

      4                                                               MR.          OLD             None.


      5                                                               THE          COURT                 Sir we      are going


      6        to   excuse     you    and    you    dont                 have              to     fill     that      out.


      7
                                            Thank       you            very much.


      8
                                            Now     I    do need your --                                 do    you   have your


       9       juror    card with         you

                                                                       THE          POTENTIAL                 JUROR        Yes.
      10



                                                                       THE          COURT                Let   me    take       that
      11




               and we       will   turn it     in so that                     we will               know that you were
      12



               here.
      13




      14



                                            Handed          to            the         Court.
      15




       188-19
      16


                                                                       THE           COURT                Thank      you.        You
      17



               have     a   good   day.
      18



                                            For the         record                         the juror number                is


                W.L.        Police.
      20



      21




      22
                                             Recess.


       23


                                                                        THE           COURT                Let       the    record
          24


                reflect        that    theres             no              prospective                         jurors       in     the
          25




                                                                                                                                  14 6
                                                        LLOYD    E.    BILLUPS      CSR.    149
                                                           omc         AL COUftr   AýOR1

                                                                76TH   AXKl        C950a
                                                                 Mr.   RFASMtr.    TDUi4
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 150 of 156 PageID #: 1753                                                              1
                                                                                                                                                     I




       1
               courtroom              that        the    State                 and          Defense          is    present             and

       2       Defendant          is    ready.


       3                                          Mr.    Old

       4                                                                      MR.           OLD            Mr.     Wardlow             has


       5       authorized me                on     his       behalf              to         enter into             an    agreement


        6
               with    the State             subject          to the                approval               and acceptance                  of


        7
               the    Court            that       as     to        juror              questionnaires                     and      as       to


               answers on the first                      page        which              I   will       quote which                refers
       8


               to    the    death           --    With         reference                       to     the        death penalty
        9


               which       of    the     following                 statements                    would           best    represent
       10


               your    feelings.
       11




                                                  And        its              instructed                   that     they          circle
       12



               that    which          does.
       13




       14
                                                  He     has        authorized me                          on     his    behalf            to


       15
               agree       to    question           only people                       who        answer          2      or     3.

       16
                                                  Now          I        inquire                  of        the    Court           if       we


       17
               exhaust          the    twos       and    threes                without               getting a jury would


       18
               it    bethe Courts instruction                                         to       go     to    1 4         5    and       6    or


               to    bring       in more           jurors
       19




       20
                                                                              THE       COURT                   Depends           on       the


               agreement          between           the       State              and           Defense.            If       the    State
       21



               and    Defendant             want        to    only             talk         to      twos     and threes                then
       22


               we    will       eliminate every                     one           off          this        panel     except            twos
       23


               and threes             and        when    those            people               are     gone we          will       get       a
       24


               new group.              If        theres            an     agreement                   to    talk        to only            the
       25




                                                                                                                                           147
                                                              LLOYD      E.   BILLUPS   CSR.   149
                                                                    omaracouaraýoarer
                                                                      76TH    AXACM   DORM
                                                                        Mr.   PKAW     TDW
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          1
                  twos        and   threes       at this       time we                will          put       the rest at the

          2       end     of    the   line       and make        a         decision                 at   that       time..


          3                                       Mr.    Townsend

           4                                                               MR.         TOWNSEND                         Lets           just


           5       leave       it   with    twos       and threes.


           6                                                               THE         COURT                   And           agree         to


           7      eliminate the             ones        fours              fives              and    sixes


           8
                                                                           MR.        OLD                Judge           my      choice


           9
                  would        be not      to    eliminate them                      at       this       time           by    the      time.


                  we     exhaust          the    twos    and     threes                 we      will          be. in         a   better
          10




          11
                   position to know whether                     we want                 to or not.                  I    think some


                   of   them will          be eliminated             anyway merely by their answers
          12




          13
                   and    I    would       like    to    question                some           jurors         before             I    make


          14
                   those       agreements.


          15
                                                                           MR.       TOWNSEND                  Let me back                 up

          16       your       agreement was             going    to          be       just          the       twos

          17
                                                                           THE        COURT               Lets go                off       the
.


                   record..
          18




          19




                                                   Off     the        record                  discussion.
          20



          21.




          22
                                                                           MR.          OLD              Our        offer             is    to


                   question         twos        and threes         as        they             appear          on    the       shuffled
          23


                   list       in    the    order they           are         in       so        far       as    we       can      for       the
           24


                   convenience             of    the    parties.
           25




                                                                                                                                           148
                                                           LLOYD     E.    BILLUPS   CSR 149
                                                                omcw.       COURT   RRTORl

                                                                   76TH    AXXM     01AR1CT

                                                                     Mr.   REASW.    MM
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 152 of 156 PageID #: 1755                                                         1
                                                                                                                                                1




       1
                                                                          THE       COURT                 What       you want         to


       2
              do    then        is     Mr.    Old      is     to          shuffle                our       list          after       the

       3       shuffle          is     done     we    will               only          schedule                    the    twos       and

       4       threes          we    will     not    dismiss anyone                             from the             other      list

       5      we     talk       to     twos    and     threes                  and      then          when          the    twos       or


       6       threes       are      exhausted        if     we           dont have                   a    jury there             will


       7       be    a    decision          made     as    to       whether                     to   talk          to    the    ones.


       8       fours           fives    and sixes or to                        get          a   new       panel

       9
                                                                          MR.        OLD             That           is   my offer.

               Yes.
       10



                                                                          THE       COURT              Mr.         Townsend          the
       11




               ball is          in your       court.
       12




       13
                                                                          MR.       TOWNSEND                   I   dont believe

       14
               I    can    go    along with           that.                I     would           go       along          with   it    if


       15      you add the ones                along       with the twos                         and       threes.          I   would


       16      agree      with        the    whole     deal          as        he      stated             if       you    added      the


               ones       to    the    twos     and    threes.
       17




       18
                                                                          THE         COURT                    Lets        let       the


               Defense          and     the     Defendant                 have          another                conference            and.
       19




       20
               then       well        get     back    on    the           record.


                                                Off    the         record.
       21




       22



                                                Off        the       record                 discussion.
       23



       24



       25
                                                                          MR.        OLD             Your Honor                 so   far




                                                                                                                                     149
                                                           LLOYD    E.    BILLUPS   CSR 4149
                                                                Oimc       COU   N RBpiTHI
                                                                   76TH   JUDKI   WSIR1CT

                                                                    W. WASIW.TDAS
Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 153 of 156 PageID #: 1756

      1

                we   are    willing          to        go    on    the              twos           and       threes    with.      the

      2
                agreement that was                     defined          on          the          record.


                                                                                       COURT
      3
                                                                        THE                                  Unless     there      is

      4
                further agreement since the State is not willing to agree

       5
                Im     going to have              Mr.       Wardlow             entirely                    shuffle    the    list

       6        I    understood             Mr.        Townsend                 agrees                  to     the    Defendant

       7
                shuffling        the        questionnaires.

       8                                          I    want       the          record                  to    reflect       that    we

       9        have    approximately 147                    questionnaires they                                    are in about


      10        four    different            stacks            five             stacks                 upside       down     on   the


      tt        Defense      Counsel          table          and      at        this              time        Mr.    Wardlow       if


      12        you would         like       to       just    sort           of        realign them                   you may      do


      13        so   now    if    you wish             but    dont              look              at    the    names.


      14                                          Do    we    have            them               all    now

       15                                                                   THE        BAILIFF                I   dont know        if


       16       they    are      all    here          or not.


       17                                                                   THE        COURT                Four more people

       18       Is   that     all      of    them

       19                                                                   THE          BAILIFF.                 Theres      still


       20       more

       21




       22                                             Off    the       record                    discussion.


          23



          24                                          Recess.

           25




                                                             LLOYD     E.   BILLUPS     CSR 149                                   150

                                                                     76TH   JAICt   L CISIRIC1

                                                                      Mr.   REAW.      mint
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       1
                                                                         THE          COURT            Okay.    Lets        get

       2
               back      on   the     record.


       3                                     Let the          record                      reflect      that the shuffle

       4       has       been       done        that       the                 States             attorney           Defense

        5
               Attorney            were   present         with             the            Court        while   we    watched

        6      the       Defendant         do       his     own                shuffle.                 The    shuffle       is


        7      complete.


        8                                       I   want      the              District               Clerk    to    provide


        9      copies         of    the   first      25     jurors to                          each    side    we    will    go


       10
               in    a   numerical         order on           the              new         shuffle       unless      theres


       11
               an    agreement reached                 otherwise.


       12
                                                So we are in recess                              until    1030 Tuesday.


       13




       14                                       Record closed                             for    October       6th    1994.

       15




       16                                       Whereupon                      Court             was     recessed      until


       17
               1000       a.m. October               11th            1994.

       18




       19




       20



       21




       22



       23



       24



       25




                                                                                                                             151
                                                          LLOYD     E.   BILLUPS      CSR 149

                                                                  76TH   AOI   UL O   S   CT

                                                                   Mf. PIEASANf.   MM
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       1
              STATE    OF TEXAS

       2      COUNTY    OF TITUS

       3




       4                                  I      Lloyd               E.             Billups               CSR       149     and


       5      Official       Court    Reporter            in              and               for    the    76th      Judicial


       6      District        State       of    Texas                do           hereby            certify         that    the


       7       above    and     foregoing              contains                             a     true       and     correct


               tranacriiption of          the proceedings                               in the above-styled                 and
       B



               numbered      cause        all    of    which                    occurred            in       open   court    or
       9


               in chambers      on    October.6                 1994               and           were    reported     by me.
      10



                                           I          further                           certify               that          this
      11




               transcription         of   the    record               of          the           proceedings         truly and
       12



               correctly      reflects          the    exhibits                             if    any     offered      by    the
       13




       14      respective      parties.


       15
                                           WITNESS            MY           HAND              this        N            day     of


       16      January       1995.


       17




       18
               LLOYD    E. BILLUPS       149    O1FFTCWft COURT                                                 REPORTER
               76TH.   JUDICIAL DISTRICT   STATE OF TEXAS
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                                                      LLOYD    E.    BILLUPS       CSR 149
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Case 4:04-cv-00408-MAC Document 44-12 Filed 12/11/17 Page 156 of 156 PageID #: 1759

       1
              Certification    Number    of     Reporter            149


       2
              Expiration Date     of   Certification                12/31/96


       3      Business Address         Drawer         1868
                                       Mt.    Pleasant          Texas     75456-1868
       4

               Telephone   Number      903/577-6735
       5

               Transcribed   By        Tandra         K.   Gibson
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